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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA

                               Case No. 3:21-cv-00448-BJD-LLL

 THE OKAVAGE GROUP, LLC
 on behalf of itself and all others
 similarly situated,

                 Plaintiff,

                  v.

 UNITED WHOLESALE MORTGAGE, LLC
 and MATHEW ISHBIA, individually,

            Defendants.
 ______________________________________/

  DEFENDANTS’ MOTION TO DISMISS SUPPLEMENTAL CLASS ACTION
       COMPLAINT PURSUANT TO RULES 12(B)(2) AND 12(B)(6)
           AND MEMORANDUM OF LAW IN SUPPORT




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          Defendants United Wholesale Mortgage, LLC (“UWM”) and Mathew Ishbia

  (“Mr. Ishbia”) (“Defendants”) submit their motion to dismiss Plaintiff’s Supplemental

  Amended Class Action Complaint (“Supplemental Amended Complaint” or “SAC”)

  filed by Plaintiff The Okavage Group, LLC (“Plaintiff”), pursuant to Rules 12(b)(2)

  and 12(b)(6), and their memorandum of law in support thereof, as follows:

  I.      Introduction

          Far from shoring up its facially deficient pleadings, Plaintiff’s Supplemental

  Amended Complaint—its fourth attempt to state a claim—merely confirms that this

  case is litigation theater aimed at generating headlines and not a credible claim of

  antitrust or state law violations. Like each prior pleading, the Supplemental Amended

  Complaint liberally deploys buzzwords and selective references to events and

  circumstances in an attempt to transform a simple choice between business rivals into

  a supposed “boycott” or “attempted monopolization.” Neither theory holds water.

          Plaintiff complains of UWM’s amendment of the terms on which it does

  business with independent mortgage brokers, which UWM carried out to address its

  concerns regarding practices by Rocket Pro TPO (“Rocket”) and Fairway Independent

  Mortgage (“Fairway”). UWM believes Rocket and Fairway harm the vibrant, pro-

  consumer network of wholesale mortgage brokers that originate loans with UWM, by

  originating loans through brokers on the wholesale side and then converting the

  brokers’ customers to the retail side—all to the detriment of the wholesale channel.

          To confront these practices, UWM announced its “All-In Initiative” on March

  4, 2021, stating it had decided to end its business relationship with brokers who chose

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  to continue originating loans with Rocket and Fairway. UWM amended its Broker

  Agreement (the “Amendment”) to that effect in accordance with its contractual right

  to amend. UWM also asked some brokers to execute an “Addendum” indicating their

  intentions. The Amendment (which Plaintiff continues to describe falsely as an

  “ultimatum” and “boycott”) did not require brokers to originate any loans with

  UWM. It is terminable at any time, with or without cause, and terminating brokers

  can immediately originate mortgages with Rocket or Fairway. Both brokers who opted

  into the Amendment and those who did not continue to have access to at least 50+

  other lenders in the wholesale mortgage channel.

          This is a simple case under governing law. UWM has the right to announce the

  terms on which it will conduct business with brokers. Brokers are free to accept or

  reject those terms. Plaintiff rejected UWM’s terms in favor of Rocket and Fairway.

  Other brokers accepted UWM’s terms but are free to change their minds. Consumers

  may choose any broker(s) or mortgage company(ies) they like. Choosing between

  business rivals is not anticompetitive; indeed it is the essence of competition. The

  Magistrate Judge concluded as much in a well-reasoned, 50-page Report and

  Recommendation entered on July 27, 2022 [DE 61] (the “Report”), recommending

  dismissal of Plaintiff’s First Amended Complaint against Mr. Ishbia for lack of

  personal jurisdiction, and Plaintiff’s claims against UWM for failure to state a claim.

          The Supplemental Amended Complaint attempts to address the defects

  identified in the Report by adding references to financial reports, earnings calls,

  interviews, and other sources that Plaintiff insists demonstrate UWM’s acquisition of

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  market power and supposed anticompetitive effects for the so-called “wholesale

  mortgage market.” But Plaintiff’s supplemental allegations, and the sources they

  incorporate by reference, only confirm the implausibility of Plaintiff’s claims.

          First, Plaintiff still fails to allege facts supporting this Court’s personal

  jurisdiction over Mr. Ishbia. The corporate shield doctrine precludes application of

  Florida’s long-arm statute, and the “intentional tort” exception does not apply because

  Mr. Ishbia is not alleged to have committed any tortious conduct in Florida.

          Second, in light of Plaintiff’s supplemental allegations and referenced sources, it

  is now incontrovertible that the properly defined market is not the “wholesale

  mortgage market,” but the overall residential mortgage market. UWM has never held

  a market share above 11% of that market. Most of Plaintiff’s antitrust claims (Counts

  II-III, V-VI, XI-XII, and XIV-XV) thus fail for lack of a properly defined market.

          Third, Plaintiff has not cured any of the pleading deficiencies identified in the

  Report with respect to its antitrust claims. It has not alleged any horizontal agreement

  or “hub-and-spoke” conspiracy, any potential or actual anticompetitive effect, or any

  plausible risk of monopolization or specific intent to monopolize.

          Fourth, Plaintiff’s tortious interference claims (Counts VII and XVI) still fail to

  allege, among other defects, any interference with an actual and identifiable business

  relationship or any intentional or unjustified interference.

          Fifth, Plaintiff’s Florida Deceptive and Unfair Trade Practices Act

  (“FDUTPA”) claims (Counts VIII and XVII) fail to state a claim because they are

  derivative of the deficient antitrust claims and do not allege actual damages.

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          Sixth, Plaintiff’s declaratory relief claim (Count IX) is duplicative and non-

  justiciable because it seeks a declaration as to an agreement Plaintiff did not sign.

          The Court should therefore dismiss each of Plaintiff’s claims with prejudice.

  II.     Summary of Factual Allegations

          A.      UWM’s Share of the Residential Mortgage Lending Market

          Plaintiff characterizes wholesale mortgage lending as a “separate submarket” of

  residential mortgage lending. SAC ¶ 25. But the materials incorporated by reference

  into the Supplemental Amended Complaint conclusively establish that the relevant

  market is overall residential mortgage lending; that wholesale mortgage lending is just

  one channel within that market; and that UWM’s share is about 10% of the residential

  mortgage lending market, and about 38% of the wholesale channel.

          Plaintiff cites UWM’s 2022 annual report to show that UWM has agreements

  with more than 12,000 brokers. SAC ¶ 101. The same report, however, also states that

  UWM had “8% share of the overall mortgage market” in 2022, and “approximately

  38% market share in the wholesale channel[.]” UWM 10-K (March 1, 2023), attached

  as Exhibit A, at 6. 1 It describes the “[c]ompetition for mortgage loan originations” in

  the “residential mortgage market,” and states, “[m]any of our competitors are primarily

  Retail Mortgage Lenders” that participate in both the wholesale and retail channels.

  Id. at 4, 13-14 (emphasis added). The report acknowledges: “Competition in the


  1
    This Court may take judicial notice of and rely on documents “referred to in the complaint” and
  “central to” Plaintiff’s claims. See Fin. Sec. Assur., Inc. v. Stephens, Inc., 500 F.3d 1276, 1285 (11th Cir.
  2007); see also Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 322 (2007) (documents
  incorporated in the complaint by reference may be considered by the court on a motion to dismiss).

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  residential mortgage loan origination market is intense,” and includes all “[i]nstitutions

  offering to make residential mortgage loans, regardless of the channel,” including “direct

  retail lenders who market directly to homeowners[.]” Id. at 13 (emphasis added). The

  report also reflects that the referenced 12,000 brokers are associated with just 45,000

  out of 386,000 (11.6%) federally registered loan officers in the United States, of whom

  only about 33,000 (8.5%) submitted a loan to UWM during 2022. Id. at 5. 2

          Plaintiff next cites UWM’s Q4 2022 earnings call to allege that UWM is the

  number one wholesale lender and had a 54% share of the wholesale market in the

  fourth quarter of 2022. SAC ¶¶ 102, 104. What Mr. Ishbia actually said on the earnings

  call was that UWM had a 54% share “of the broker channel in the fourth quarter,” while

  acknowledging that this represented “about 11% of the overall mortgage market.”

  Transcript of UWM Q4 2022 Earnings Call (March 1, 2023), attached as Exhibit B,

  at 3-4 (emphasis added). Mr. Ishbia also said he saw the trend likely to “peak[]” at

  “about 12%,” that he did not think “UWM will stay 54% [of the broker channel]

  forever,” and that he believed “11%, 12% of the overall market is very realistic.” Id. at

  7-8, 11 (emphasis added). The “Full Year 2022 Highlights” for the earnings call

  confirmed that, for the full year, UWM’s share was “8% share of the overall mortgage

  market” and a 38% share “of the wholesale channel[.]” UWM Q4 2022 Earnings




  2
   Plaintiff takes one sentence out of context from this discussion, suggesting UWM has advantages of
  “volume” not shared by other wholesale lenders. SAC ¶ 108. The report says nothing of the kind. It
  describes how the growth of the entire wholesale channel creates a “significant opportunity” for more
  registered loan officers to join the wholesale channel, benefiting borrowers, brokers, and lenders alike
  by, among many other benefits, leveraging greater volume to deliver efficiency. Ex. A, at 5-6.

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  Announcement (March 1, 2023), attached as Exhibit C, at 2 (emphasis added).

          Plaintiff also cherry-picks and alters excerpts of a February 28, 2023 Detroit News

  interview with Mr. Ishbia, referencing a “penalty” for “working with Rocket,” and

  referring to UWM being “bigger than” Rocket since UWM “announced the

  [Ultimatum.]” SAC ¶¶ 103, 105 (changing the word “initiative” to “[Ultimatum]” to

  fit Plaintiff’s narrative). What Mr. Ishbia actually said was there was “no penalty” and

  “no fine” for working with Rocket, and that the only “penalty” is that UWM would

  not work with brokers that elected to work with Rocket. Q&A: Mat Ishbia, Detroit

  News (Feb. 25, 2023), attached as Exhibit D, at 12 (emphasis added). Indeed as the

  interview confirmed, “Brokers can stop working with UWM at any time without

  penalty.” Id. (emphasis added). Mr. Ishbia also acknowledged that UWM was

  “competing” with retailers for consumers “shop[ping] for their mortgage.” Id. at 13. 3

          Lastly, Plaintiff isolates and mischaracterizes Mr. Ishbia’s statements in the Q4

  2022 earnings call that UWM has “great control of our margins” and “we do control

  the margins” as a purported admission that UWM “is able to control price in the

  market.” SAC ¶ 109. Again, Plaintiff is wrong. Addressing potential investor concerns

  about the “Game On” initiative in which UWM temporarily cut its margins to 50 basis

  points in response to “extremely competitive” pricing, Mr. Ishbia stated that UWM

  viewed an “annualized margin” of “75 to 100 basis points” as “what you can expect


  3
   Plaintiff also misquotes Mr. Ishbia as referring to UWM “‘dominat[ing]’ the wholesale markets.”
  SAC ¶ 102. What he actually said, in response to a question about stock prices, is that he does not pay
  attention to stock prices, noting that “My job is to dominate every day at UWM, take care of our team
  members, take care of our clients, take care of our shareholders.” Ex. D, at 13-14.

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  in a really purchase heavy market or a higher rate environment,” and affirmed UWM’s

  commitment to “control” its margins within that range to ensure “very, very

  competitive pricing” to brokers, while benefiting investors. Ex. B, at 6-8.

          B.      Plaintiff Is a Mortgage Broker in a Vertical Relationship with
                  Wholesale Mortgage Lenders Like UWM, Rocket, and Fairway.

          Plaintiff is a mortgage broker who did business with UWM for less than a year

  pursuant to a Broker Agreement it signed with UWM on or about November 20, 2020.

  See SAC ¶¶ 17, 68-69; Broker Agreement, attached as Exhibit E. Plaintiff alleges it also

  has a business relationship with Rocket and Fairway. SAC ¶¶ 68-69. UWM is a

  wholesale residential mortgage lender, as are the wholesale divisions of Rocket and

  Fairway. SAC ¶¶ 16, 20, 27, 29. Unlike UWM, Rocket and Fairway also have retail

  mortgage lending divisions with captive loan officers that deal directly with consumers

  and bypass independent brokers. Id. ¶¶ 21, 30-31. The relationship between Plaintiff

  and wholesale mortgage lenders like UWM is vertical: Plaintiff submits loans to its

  chosen lenders and acts as a commercial intermediary between the lender and the

  borrower. Id. ¶ 22.

          C.      UWM Announced the All-In Initiative to Combat Practices It
                  Believes Are Harmful to the Wholesale Mortgage Lending Channel.

          This lawsuit arises out of the March 4, 2021 announcement by Mr. Ishbia, in

  his capacity as President and CEO of UWM, that UWM was amending its Broker

  Agreement to require a representation and warranty that mortgage brokers who submit

  loans to UWM will not also submit loans to Rocket or Fairway. SAC ¶ 36. Some

  brokers were asked to sign an Addendum confirming their assent to the Amendment.

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  Id. ¶¶ 44, 54-55. UWM had the contractual right to amend the Broker Agreement, and

  a broker’s submission of any mortgage loan application to UWM after the date of the

  Amendment constitutes acceptance. Ex. E § 7.08.

          The     Supplemental   Amended       Complaint     incorporates    Mr.    Ishbia’s

  announcement of the All-In Initiative, as well as an interview he conducted on

  mortgage news outlet HousingWire later in the day. SAC ¶¶ 36-40, 51; see also

  Transcript of Mar. 4, 2021 Facebook Live Video Announcement, attached as

  Exhibit F. Mr. Ishbia stated that one purpose of the initiative was, “[w]e don’t need

  to fund Fairway [] or Rocket [] to try to put brokers out of business.” SAC ¶ 37. He

  explained UWM’s view that Rocket and Fairway were “out there hurting the

  wholesale channel” by “soliciting loan officers,” “talking negatively about brokers,”

  “going after real estate agents,” “trying to cut the loan officers,” and “solicit[ing] your

  past clients.” Ex. F at 12:14-16:11. He emphasized that “[w]hatever they want to do

  they can do [] as long as they play by the rules,” but “that’s not my business model,”

  which is “helping you win” and “[b]eing all in for brokers.” Id. at 13:18-24.

          Mr. Ishbia said there would be “no hard feelings” and brokers could “close out

  your loans” and “take care of consumers [e]ven if you [] decline[.]” Ex. F at 15:10–

  15:18. He emphasized this was a decision “going forward[.]” Id. at 15:23-16:4. He

  noted there were “73 other lenders,” and brokers would “have options” with or

  without the “two [lenders] that are out there hurting the channel[.]” Id. at 16:9-18.




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          D.      Brokers and Trade Associations Engaged in a Robust Discussion of
                  the Amendment Following Its Announcement.

          Plaintiff alleges that Mr. Ishbia’s announcement took place in public view and

  drew numerous public reactions. Plaintiff cites public comments made by brokers on

  digital forums, such as “We are ALL IN,” “unstoppable together,” “Let’s go!” and

  descriptions of brokers as “family,” and also describes instances of brokers responding

  to one another’s comments or questions and encouraging one another to sign the

  Addendum. SAC ¶¶ 41-42, 44, 49-50, 52. Plaintiff alleges that other brokers expressed

  vigorous opposition to the Amendment. Id. ¶¶ 43, 78, 80-81.

          Plaintiff alleges split views by trade associations. Plaintiff alleges the

  Association of Independent Mortgage Experts (“AIME”) issued a letter of support and

  made supportive statements during the Facebook live chat. Id. ¶¶ 45-47. Plaintiff

  alleges The Mortgage Bankers Association and the National Association of Mortgage

  Brokers issued statements of opposition. Id. ¶ 79. Plaintiff alleges that AIME and other

  trade associations have regular meetings, and at least one private Facebook discussion

  page provided “significant vehicles for communication and agreement between the

  mortgage brokers with regard to the boycott.” Id. ¶ 48. Plaintiff cites no examples of

  such “communication and agreement” via trade associations.

          Notwithstanding the many cited examples of vocal enthusiasm by brokers,

  Plaintiff insists the Amendment was “against the brokers’ unilateral self-interest” and

  describes it as “coercion” reflecting UWM’s “market power.” Id. ¶¶ 65-66, 82-84.

  Plaintiff does not identify any broker “coerced” into signing the Amendment.


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          E.      Plaintiff and Other Brokers Remain Free to Choose Their Lenders.

          Plaintiff alleges it declined UWM’s Amendment and opted instead to maintain

  its preferred relationship—with Rocket and Fairway. SAC ¶ 70. As a result, Plaintiff

  alleges its Broker Agreement with UWM was terminated and it suffered unspecified

  “direct financial injury” in the form of “lost sales and lost commissions.” Id. ¶¶ 70-71.

  Plaintiff alleges other brokers who had not acknowledged acceptance of the

  Amendment received notices of termination or suspension from UWM. Id. ¶ 64.

          Each broker had the same freedom as Plaintiff to accept or decline the

  Amendment. 4 Id.; Ex. F at 15:10–15:18. Either party can terminate the Broker

  Agreement “for any reason, with or without cause, breach or other justification, upon

  seven (7) days prior written notice[.]” Ex. A §§ 7.05, 7.06. A notice of termination

  immediately releases the broker from its commitment not to submit loans to Rocket or

  Fairway, without waiting for the notice period to elapse. See Amended Broker

  Agreement § 3.05, attached hereto as Exhibit G.

          F.      Plaintiff’s Allegations Regarding the Effects of the Amendment

          Plaintiff asserts in conclusory strokes that Defendants’ actions purportedly

  caused a shift in origination of mortgages away from Rocket and Fairway, “caused

  consumers to pay higher prices and obtain lower quality mortgages,” and resulted in

  higher costs of operation and reduced competition. SAC ¶¶ 18-19, 72-77. Plaintiff



  4
    Of course, some lenders (like major retail banks) have ceased working with mortgage brokers
  altogether, offering mortgages only through their own captive loan officer employees. Plaintiff does
  not allege these lenders are engaged in anticompetitive conduct.

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  alleges the so-called “boycott” was “highly successful,” based on public statements

  from UWM estimating that 93% of brokers presented with the Addendum agreed to

  sign it, and 11,000 out of 12,000 of UWM’s independent mortgage brokers

  participated. SAC ¶ 61. Plaintiff alleges that UWM’s loan applications increased in

  April 2021 and its funded loans increased by 20% in 2021. Id. ¶¶ 61, 63. Plaintiff also

  cites UWM’s 2022 annual report and Q4 2022 earnings call, and Mr. Ishbia’s

  interviews, as evidence of the supposed success of the “boycott.” Id. ¶¶ 62, 101-09.

          Rocket’s own press release following the announcement of the Amendment

  states, “Rocket Pro TPO has already grown its market share since UWM’s

  announcement and will continue to do so in the weeks, months and years ahead,” that

  “[m]ore than 9,000 brokers stood up and said no to UWM’s ultimatum,” and that

  Rocket “had hundreds of new brokers submit an application to partner with us

  yesterday[.]” See James Kleinman, “UWM & Rocket both declare victory in broker

  war,” HousingWire.com (Mar. 18, 2021), available at www.housingwire.com/

  articles/uwm-rocket-both-declare-victory-in-broker-war/ (last accessed Dec. 10,

  2022). 5 Like UWM, Rocket and Fairway both experienced large increases in funded

  loans from 2020 to 2021; 8.5% and 9.8%, respectively. See Rica Dela Cruz & Syed

  Muhammad Ghaznai, “Nonbank mortgage originations up 10.6% in 2021 YOY,”

  S&P       Global     Market       Intelligence     (July     13,    2022)      available     at

  https://www.spglobal.com/marketintelligence/en/news-insights/latest-news-


  5
   The Court may consider Rocket’s statement to HousingWire.com because the Supplemental
  Amended Complaint relies upon HousingWire’s coverage by reference. See Tellabs, 551 U.S. at 322.

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  headlines/nonbank-mortgage-originations-up-10-6-in-2021-yoy-71142930                            (last

  accessed Dec. 10, 2022) (based on Home Mortgage Disclosure Act data from

  Consumer Financial Protection Bureau (“CFPB”)). 6

          G.      Procedural Background and the Magistrate Judge’s Report.

          Plaintiff filed its Complaint on April 23, 2021. [DE 1]. Defendants moved to

  dismiss, and Plaintiff filed a First Amended Complaint. [DE 16, 32]. Defendants again

  moved to dismiss, which was referred to the Magistrate Judge. [DE 46, 60]. The

  Magistrate Judge entered the Report on July 27, 2022, recommending that the claims

  against Mr. Ishbia be dismissed for lack of personal jurisdiction, and each of Plaintiff’s

  claims against UWM be dismissed without prejudice for failure to state a claim. [DE

  61]. Plaintiff filed its Second Amended Complaint on November 8, 2022. [DE 69].

  Plaintiff thereafter sought leave to and filed its Supplemental Amended Complaint on

  July 19, 2023. [DE 96].

  III.    Standard of Review

          A.      Rule 12(b)(2)

          Plaintiff “bears the burden of establishing a prima facie case of jurisdiction” over

  a non-resident defendant. Morris v. SSE, Inc., 843 F.2d 489, 492 (11th Cir. 1988). This

  requires “sufficient evidence to defeat a motion for a directed verdict.” Id.

          B.      Rule 12(b)(6)

          Plaintiff must state a claim for relief that is “plausible on its face.” Ashcroft v.


  6
    The Court may take judicial notice of CFPB data. See Denan v. Trans Union LLC, 959 F.3d 290, 294
  n.3 (7th Cir. 2020); Chambers v. Nasa Fed. Credit Union, 222 F. Supp. 3d 1, 7 (D.D.C. 2016); Thorpe ex
  rel. Situated v. Walker Inv. Mgmt. Corp., 111 F. Supp. 3d 1335, 1350 (S.D. Fla. 2015).

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  Iqbal, 556 U.S. 662, 678 (2009); Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007).

  Conclusory allegations are insufficient. Twombly, 550 U.S. at 55. “The plausibility

  standard ‘calls for enough fact to raise a reasonable expectation that discovery will

  reveal evidence’ of the defendant’s liability.” Chaparro v. Carnival Corp., 693 F.3d 1333,

  1337 (2012) (quoting Twombly, 550 U.S. at 556).

  IV.     Argument

          A.      This Court Lacks Personal Jurisdiction Over Mr. Ishbia

          Plaintiff purports to assert eight counts (Counts X-XVII) against Mr. Ishbia

  individually based solely on his role in directing and announcing the Amendment,

  giving interviews about it, and making follow-up statements. See SAC ¶¶ 7-8, 36-40,

  42, 47, 51, 61-62, 102-03, 105, 109, 162-202. Mr. Ishbia is a Michigan resident and

  Plaintiff alleges no separate connection between Mr. Ishbia and Florida. See id. ¶¶ 6-8.

  The Magistrate Judge recommended dismissal of Plaintiff’s claims against Mr. Ishbia

  for lack of personal jurisdiction based on Plaintiff’s failure to allege a personal

  connection to Florida outside of Mr. Ishbia’s role as chief executive officer of UWM.

  Report at 18-21. The Supplemental Amended Complaint has not cured this defect.

          This Court considers whether: (1) personal jurisdiction exists under Florida’s

  long-arm statute, Fla. Stat. § 48.193; and (2) the exercise of that jurisdiction “would

  violate the Due Process Clause of the Fourteenth Amendment[.]” Louis Vuitton

  Malletier, S.A. v. Mosseri, 736 F.3d 1339, 1350 (11th Cir. 2013) (additional citation

  omitted); see also Report at 18-19. Plaintiff’s claims against Mr. Ishbia fail both tests.

          Florida’s corporate shield doctrine “prohibit[s] the exercise of jurisdiction under

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  the Florida long-arm statute over corporate employees whose only conduct in Florida

  was in furtherance of a corporation’s interests.” Lane v. XYZ Venture Partners, L.L.C.,

  322 F. App’x 675, 678 (11th Cir. 2009) (citing Doe v. Thompson, 620 So. 2d 1004, 1006

  (Fla. 1993)). Plaintiff still does not allege any non-conclusory connection between Mr.

  Ishbia and Florida “outside of those that are part of his job as CEO of UWM,” and

  thus has failed to allege personal jurisdiction under Florida’s long-arm statute. Report

  at 20 (citing Snow v. DirecTV, Inc., 450 F.3d 1314, 1318 (11th Cir. 2006)).

          The Magistrate Judge noted that the corporate shield doctrine “does not protect

  a corporate officer who commits intentional torts,” but found that Plaintiff had failed

  to allege an intentional tort against Mr. Ishbia. Report at 20-21 (citing Louis Vuitton,

  736 F.3d at 1355). Plaintiff has not corrected these pleading infirmities. See §§ IV.B-H,

  infra. Regardless, the intentional tort exception does not apply to a “nonresident

  employee-defendant” like Mr. Ishbia, who “commits no [tortious] acts in Florida[.]”

  Kitroser v. Hurt, 85 So. 3d 1084, 1089-90 (Fla. 2012) (emphasis added).

          Plaintiff seeks to eviscerate the intentional tort exception altogether by

  expanding it to any person posting “internet posts accessible in Florida,” insisting such

  posts comprise the requisite tortious acts “in Florida.” DE 79, at 35-36. But the line of

  precedent on which Plaintiff relies holds only that internet posts “targeted” at Florida

  residents, such as “allegedly defamatory material about a Florida resident placed on the

  Web and accessible in Florida,” may constitute tortious conduct “within Florida.”

  Internet Solutions Corp. v. Marshall, 39 So. 3d 1201, 1211, 1214-15 (Fla. 2010) (emphasis



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  added). Plaintiff has made no such allegations of targeting here. Its proposed broader

  exception extending personal jurisdiction to any internet posting merely “accessible”

  in Florida would swallow the rule, and “would not comport with” the “more

  restrictive” requirements of due process. Id. at 1207, 1213 (quoting Wendt v. Horowitz,

  822 So. 2d 1252, 1257 (Fla. 2002); Richards v. Sen, No. 07-14254-CIV, 2008 WL

  4889623, at *5 (S.D. Fla. Nov. 12, 2008)). See also Blue Water Int’l, Inc. v. Hattrick’s Irish

  Sports Pub, LLC, No. 8:17-CV-1584-T-23AEP, 2017 WL 4182405, at *4 (M.D. Fla.

  Sep. 21, 2017) (holding that exercise of personal jurisdiction based on creation of

  Internet content “accessible” in Florida “up-ends the protection of due process”); Leon

  v. Cont'l AG, 301 F. Supp. 3d 1203, 1229 n.16 (S.D. Fla. 2017) (noting “accessibility”

  of Internet content is insufficient to satisfy due process).

          B.      Plaintiff’s Antitrust Claims Rest on a Legally Unsustainable Market
                  Definition (Counts II-III, V-VI, XI-XII, XIV-XV)

          Turning to Plaintiff’s claims against UWM, as a threshold matter, the

  Supplemental Amended Complaint fails to plead facts plausibly supporting Plaintiff’s

  assertion that the relevant market or submarket is wholesale mortgage lending. That is

  fatal to all of Plaintiff’s antitrust claims other than its per se theories (addressed in §

  IV.C, infra). See All Care Nursing Serv. v. High Tech Staffing Servs., 135 F.3d 740, 749

  (11th Cir. 1998) (holding that “defining the relevant market” is a “threshold question”

  necessary for plaintiff to satisfy the rule of reason under § 1 of the Sherman Act); Levine

  v. Cent. Fla. Med. Affiliates, 72 F.3d 1538, 1551 (11th Cir. 1996) (similar); U.S. Anchor

  Mfg., Inc. v. Rule Indus., Inc., 7 F.3d 986, 994 (11th Cir. 1993) (holding that “[d]efining


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  the market” is “a necessary step” and “an indispensable element in the consideration

  of any monopolization or attempt case” under § 2 of the Sherman Act).

          The Court should dismiss an antitrust claim “for failure to plead [the] relevant

  market” where the plaintiff “fails to define its proposed relevant market with reference

  to [the] rule of reasonable interchangeability” or “alleges a proposed relevant market

  that clearly does not encompass all interchangeable substitute products[.]” JES Props.

  v. USA Equestrian, Inc., 253 F. Supp. 2d 1273, 1281-82 (M.D. Fla. 2003). The Court

  may not “absolve” Plaintiff of its “responsibility under Twombly to plead facts

  ‘plausibly suggesting’” the relevant market’s composition; “skimpy allegations” and

  “conclusional statement[s]” of the relevant market “do not meet this obligation.”

  Jacobs v. Tempur-Pedic Int'l, Inc., 626 F.3d 1327, 1338 (11th Cir. 2010) (affirming

  dismissal of antitrust claims where plaintiff failed to allege facts supporting its assertion

  that visco-elastic foam mattresses were a “separate relevant product submarket”). See

  also Simpson v. Sanderson Farms, Inc., 744 F.3d 702, 711 (11th Cir. 2014) (holding

  complaint “must contain sufficient information to plausibly define” the market).

          Plaintiff has never offered anything beyond “skimpy allegations” and

  “conclusional statements” asserting the existence of a “wholesale mortgage” market

  or submarket. Plaintiff refers to “wholesale mortgage lending” as the “relevant market

  or relevant sub-market” at issue. SAC ¶¶ 2, 20. But its only support for this

  characterization is a series of question-begging, equally conclusory assertions that

  wholesale mortgage lending: entails a “distinct group of customers”; is “recognized as

  separate” by the industry; involves “specialized vendors”; does not market “directly to

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  the consumer”; has customers that “would not readily switch to a retail mortgage

  lender for a small difference in price”; and is claimed to save customers money over

  the life of the loan. Id. ¶ 25. These bare assertions are insufficient.

          Plaintiff’s allegations are inadequate on their face because they do not address

  the reasonable interchangeability and substitutability of all residential mortgage

  loans—wholesale and retail. JES Props., 253 F. Supp. at 1281-82; Jacobs, 626 F.3d at

  1337. The bottom-line inquiry is simple: “If consumers view the products as

  substitutes, the products are part of the same market.” Jacobs, 626 F.3d at 1337

  (quoting Rebel Oil Co. v. Atl. Richfield Co., 51 F.3d 1421, 1435 (9th Cir. 1995)). Where

  two products “are close substitutes for each other—that is, consumers derive

  comparable utility from equivalent consumption of either one,” they “are reasonably

  interchangeable substitutes for each other and hence are part of the same market.” Id.

  at 1337 n.13. Defining the relevant market requires the Court to consider all reasonably

  interchangeable commodities. See United States v. E. I. du Pont de Nemours & Co., 351

  U.S. 377, 394-95 (1956). Yet Plaintiff has alleged no facts plausibly explaining why

  wholesale and retail residential mortgages are not interchangeable, or why the relevant

  residential loan market should conveniently be confined to wholesale loans.

          To the contrary, Plaintiff’s allegations point to the substitutability of wholesale

  and retail loans. Plaintiff alleges there is “no substitute for mortgage lending for most

  consumers,” and what consumers “need” is “to borrow money” and “to offer the

  home as security.” SAC ¶ 20. Wholesale and retail mortgages both readily fit this

  description. Indeed, Plaintiff alleges that its own preferred residential mortgage

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  lenders, Rocket and Fairway, originate their loans in both the wholesale and retail

  channels, thereby illustrating the reasonable substitutability of the same lenders’

  residential mortgage loan products to consumers across both channels. Id. ¶¶ 16, 30-

  33. Plaintiff itself has previously described Rocket’s and Fairway’s products as “close

  substitutes.” DE 79, at 24. Plaintiff’s perfunctory list of conclusory “[f]actors”

  supporting a “separate submarket” do not alter the analysis or plausibly suggest a

  different market composition, as Twombly requires. See Jacobs, 626 F.3d at 1338.

          Plaintiff’s new allegations in the Supplemental Amended Complaint further lay

  any lingering questions to rest by incorporating materials affirmatively demonstrating

  the only relevant market is the overall residential mortgage market. As detailed in §

  II.A, supra, Plaintiff’s supplemental allegations incorporate, inter alia:

          •       UWM’s 2022 annual report, which defines the relevant market as the
                  “overall mortgage market” in which UWM has an 8% market share,
                  describes the “[c]ompetition for mortgage loan originations” in the
                  “residential mortgage market,” and discusses the “intense” competition
                  UWM encounters for “residential mortgage loan origination” from all
                  institutions “offering to make residential mortgage loans, regardless of
                  the channel,” including “direct retail lenders”;

          •       UWM’s Q4 2022 earnings call, which refers to UWM’s 11% share of the
                  “overall mortgage market” in the fourth quarter of 2022, which was likely
                  to “peak” at “11%, 12% of the overall market,” with a market share for
                  the full year of 8% of the “overall mortgage market”; and

          •       Mr. Ishbia’s February 2023 Detroit News interview, in which he
                  acknowledged “competing” with retail lenders for consumers
                  “shop[ping] for their mortgage.”

          In sum, Plaintiff has not only failed to satisfy its burden of pleading facts

  plausibly suggesting the composition of its asserted market, but has affirmatively pled


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  facts and incorporated materials demonstrating its asserted market is implausible.

          C.      Plaintiff Fails to State a Claim for a Per Se Illegal Group Boycott in
                  Violation of Section 1 of the Sherman Act (Counts I and X)

          Counts I and X of the Supplemental Amended Complaint purport to assert

  claims of per se illegality against UWM and Mr. Ishbia for a supposed “group boycott”

  against Rocket and Fairway. The Magistrate Judge correctly found that Plaintiff failed

  to state a claim for a per se violation of Section 1 of the Sherman Act because:

  (1) Plaintiff does not allege a per se illegal horizontal agreement between UWM and

  its competitors; (2) Plaintiff does not supply sufficient facts to plausibly allege a hub-

  and-spoke conspiracy; and (3) Plaintiff does not allege adequate market power to

  support a per se violation. Report at 28-38. Plaintiff has not cured any of these defects.

                  1.    Plaintiff Does Not Plead a Per Se Illegal Group Boycott Based on
                        a Horizontal Agreement Between UWM and Its Competitors

          Plaintiff alleges that Defendants “initiated and coerced” a “per se illegal group

  boycott” that “amounted to a coerced concerted refusal to deal” with Rocket and

  Fairway. SAC ¶¶ 2, 111. Plaintiff’s factual allegations, however, fall far short of its

  claim. The U.S. Supreme Court and the Eleventh Circuit have cautioned “against the

  haphazard expansion of the ‘group boycott label’ and the concomitant imposition of

  per se liability.” Retina Assocs., P.A. v. S. Baptist Hosp. of Fla., Inc., 105 F.3d 1376, 1381

  (11th Cir. 1997) (quoting F.T.C. v. Ind. Fed’n of Dentists, 476 U.S. 447, 458 (1986)).

  “[E]asy labels do not always supply ready answers,” and the Court should be wary of

  “pigeonhole[s]” to invoke the per se rule. All Care Nursing Serv., Inc. v. High Tech Staffing

  Servs., Inc., 135 F.3d 740, 746 (11th Cir. 1998) (quotation marks and citations omitted).

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  A rule of per se illegality may be applied only to challenged conduct that “fits into a

  proscribed category without distortion[.]” Cha-Car, Inc. v. Calder Race Course, Inc., 752

  F.2d 609, 612-13 (11th Cir. 1985) (quoting M H Tire Co. v. Hoosier Racing Tire Corp.,

  733 F.2d 973, 977 (1st Cir. 1984)). Courts “should apply the per se label ‘infrequently

  and with caution.’” United Am. Corp. v. Bitmain, Inc., 530 F. Supp. 3d 1241, 1272 (S.D.

  Fla. 2021) (quoting Seagood Trading Corp. v. Jerrico, Inc., 924 F.2d 1555, 1567 (11th Cir.

  1991)). The Supplemental Amended Complaint, like its predecessor, is “confusing and

  laden with buzz words,” but does not plausibly allege a boycott. Report at 26.

          A per se claim requires Plaintiff to allege agreements that “because of their

  pernicious effect on competition and lack of any redeeming virtue are conclusively

  presumed to be unreasonable and therefore illegal[.]” Vacation Break, U.S.A. v. Mktg.

  Response Grp., 169 F. Supp. 2d 1325, 1335 (M.D. Fla. 2001) (quoting Nw. Wholesale

  Stationers, Inc. v. Pacific Stationery and Printing Co., 472 U.S. 284, 289 (1985)). There are

  “very few classes of conduct that are illegal per se.” Levine v. Cent. Fla. Med. Affiliates,

  864 F. Supp. 1175, 1181 (M.D. Fla. 1994), aff’d, 72 F.3d 1538 (11th Cir. 1996). “The

  mere allegation of a concerted refusal to deal does not suffice because not all concerted

  refusals to deal are predominantly anticompetitive.” Nw. Wholesale, 472 U.S. at 298.

  The decision to apply a per se rule turns on “whether the practice facially appears to

  be one that would always or almost always tend to restrict competition[.]” Id. at 289

  (quoting Broadcast Music, Inc. v. Columbia Broadcast. Sys., Inc., 441 U.S. 1, 19-20 (1979)).

          Here, notwithstanding Plaintiff’s endless repetition of the word “boycott,” the



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  “facts presented” are not “consistent with the traditional group boycott situation.”

  Levine, 864 F. Supp. at 1182. As the Magistrate Judge previously noted, the U.S.

  Supreme Court has limited the per se rule in the group boycott context “to cases

  involving horizontal agreements among direct competitors.” NYNEX Corp. v. Discon,

  Inc., 525 U.S. 128, 135 (1998) (rejecting application of per se rule to “an agreement by

  a buyer to purchase goods or services from one supplier rather than another” because

  the “freedom to switch suppliers lies close to the heart of the competitive process that

  the antitrust laws seek to encourage”); see also Report at 28. Plaintiff again “has not

  pleaded factual matter” suggesting that UWM’s Amendment “was a horizontal

  agreement between UWM and its direct competitors.” Report at 29. “UWM is a

  wholesale mortgage lender; there is no allegation in the amended complaint that

  UWM conspired with one of its direct competitors, such as another wholesale lender,

  to push Rocket and Fairway out of the market.” Id. at 29-30.

          Plaintiff also alleges facts plausibly identifying a procompetitive purpose for

  UWM’s actions: to preserve the wholesale lending channel. Plaintiff affirmatively

  identifies the advantages to consumers of this channel, including access to experienced

  and knowledgeable brokers and money-saving loan products. SAC ¶¶ 20-25. Plaintiff

  also acknowledges that the stated purpose of UWM’s All-In Initiative was to confront

  the problem of Rocket and Fairway putting independent brokers out of business. SAC

  ¶ 37; Ex. F at 12:14-16:11. This plausible procompetitive rationale for UWM’s actions

  prevents application of the per se rule. See Nw. Wholesale, 472 U.S. at 289.



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                  2.   Plaintiff Does Not Plead an Illegal Hub-and-Spoke Conspiracy

          Plaintiff attempts to salvage its per se claims by alleging the so-called “boycott”

  was a “hub-and-spoke” conspiracy orchestrated by UWM to facilitate an agreement

  among brokers to boycott Rocket and Fairway. See SAC ¶¶ 41-60. See Bitmain, 530 F.

  Supp. 3d at 1255-56 (describing a hub-and-spoke conspiracy); In re Disposable Contact

  Lens Antitrust Litig., 215 F. Supp. 3d 1272, 1294 (M.D. Fla. 2016) (same). The

  Magistrate Judge rejected this theory, finding the First Amended Complaint lacked

  facts plausibly suggesting brokers agreed to a boycott among themselves. Report at 32.

  At most, Plaintiff established vertical agreements between UWM and each broker, but

  no agreement among brokers, rendering the “hub-and-spoke” a “rimless wheel,”

  which “does not amount to a per se restraint-of-trade” under Section 1. Id. (quoting In

  re Musical Instruments and Equip. Antitrust Litig., 798 F.3d 1186, 1192 n.3 (9th Cir.

  2015)); see also United States v. Chandler, 388 F.3d 796, 807 (11th Cir. 2004); Dickson v.

  Microsoft Corp., 309 F.3d 193, 203-04 (4th Cir. 2002); In re Disposable Contact Lens

  Antitrust Litig., 215 F. Supp. 3d at 1291.

          The Supplemental Amended Complaint fares no better. “The critical issue for

  establishing a per se violation with the hub and spoke system is how the spokes are

  connected to each other.” Total Benefits Plan. Agency, Inc. v. Anthem Blue Cross & Blue

  Shield, 552 F.3d 430, 436 (6th Cir. 2008). Plaintiff establishes no such connection,

  instead repeating more of the same kinds of allegations already found insufficient.

  Plaintiff again alleges and provides additional examples of brokers who purportedly

  “heeded Mr. Ishbia’s clarion call to boycott UWM’s closest competitors” by

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  expressing support and enthusiasm, answering one another’s questions, and criticizing

  others who voiced opposition. SAC ¶¶ 41-44, 49-50, 52-53, 78, 80-81. Plaintiff adds a

  trade association, AIME, to the list of supporters. Id. ¶¶ 45-47 Plaintiff also alleges that

  UWM and its supporters facilitated information-sharing through Facebook forums,

  trade association forums, and industry publication live chats. Id. ¶¶ 42-43, 48-52.

          As the Magistrate Judge already concluded, neither “independent expressions

  of enthusiasm and encouragement among brokers” nor allegations that UWM

  “provid[ed] forums” or “joined in facilitating these terminations” plausibly suggest

  “concerted actions” or “an agreement among the brokers sufficient to form the rim of

  a conspiracy.” Report at 33 (citing In re Ins. Brokerage Antitrust Litig., 618 F.3d 300, 329-

  30 (3d Cir. 2010)). Likewise, it is not “sufficient that the brokers knew they were all

  accepting” UWM’s Amendment. Id. (citing In re EpiPen Direct Purchaser Litig., No. 20-

  CV-0827 (ECT/JFD), 2022 WL 101770, at *7 (D. Minn. Apr. 5, 2022)). Antitrust law

  “does not restrict the long recognized right of [a party] engaged in an entirely private

  business, freely to exercise his own independent discretion as to parties with whom he

  will deal; and, of course, he may announce in advance the circumstances under which

  he will refuse to sell.” United States v. Colgate & Co., 250 U.S. 300, 307 (1919). A party

  “has a right to deal, or refuse to deal, with whomever it likes, as long as it does so

  independently.” Monsanto Co. v. Spray-Rite Serv. Corp., 465 U.S. 752, 761 (1984). Here,

  UWM announced its Amendment, and mortgage brokers are “free to acquiesce” or,

  like Plaintiff, to decline. Vitacost.com v. Oregon Freeze Dry, Inc., No. 09-80367-CIV, 2009

  WL 10667820, at *6 (S.D. Fla. July 21, 2009); see also A & E Auto Body, Inc. v. 21st

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  Century Centennial Ins. Co., No. 6:14-CV-310, 2015 WL 12867010, at *9-10 (M.D. Fla.

  Jan. 22, 2015) (dismissing Section 1 claims because parties may exercise independent

  discretion regarding with whom they deal).

          Plaintiff’s additional examples of broker enthusiasm and identification of online

  forums where these expressions took place come no closer to alleging a connection

  among the brokers to form the rim of the wheel. Widespread enthusiasm and

  participation does not constitute a horizontal agreement to restrain trade. Plaintiff has

  alleged no facts demonstrating any “uniformity that would be unexpected or

  idiosyncratic” or “rule out the possibility” that the brokers “were acting

  independently” for their individual best interests. Quality Auto Painting Ctr. of Roselle,

  Inc. v. State Farm Indem. Co., 917 F.3d 1249, 1271-72 (11th Cir. 2019) (quoting

  Twombly, 550 U.S. at 553-54). “The Court cannot infer such an agreement from what

  is simply a unilateral business decision.” Bolinger v. First Multiple Listing Serv., Inc., 838

  F. Supp. 2d 1340, 1361 (N.D. Ga. 2012).

          Plaintiff has urged the Court to apply a “parallel conduct” and “plus factors”

  analysis to find a per se conspiracy. DE 79, at 8-15. That model is inapposite, as

  Plaintiff’s cases involve alleged “conscious parallelism” in price fixing conspiracies, in

  which “firms in a concentrated market might in effect share monopoly power” by

  “setting their prices at a profit-maximizing, supracompetitive level[.]” In re January

  2021 Short Squeeze Trading Litig., 2021 WL 5359731, at *17 n.16 (S.D. Fla. Nov. 17,

  2021). It is characterized by “complex and historically unprecedented changes in

  pricing structure made at the same time by multiple competitors” for “no other

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  discernible reason,” accompanied by “economic actions and outcomes that are largely

  inconsistent with unilateral conduct but largely consistent with explicitly coordinated

  action.” In re Disposable Contact Lens Antitrust Litig., 215 F. Supp. 3d 1272, 1294-95

  (M.D. Fla. 2016) (quoting United States v. Apple, 791 F.3d 290, 315 (2d Cir. 2015)).

          Plaintiff’s attempt to apply this model to the decisions of thousands of brokers

  to accept UWM’s Amendment defies plausibility. A market alleged to comprise tens

  of thousands of wholesale mortgage brokers across the United States, see SAC ¶ 27, is

  not “concentrated,” and even a large number of such brokers choosing to sign an

  Amendment terminable at will are not plausibly “shar[ing] monopoly power.” Nor is

  there any allegation of “complex and historically unprecedented changes in pricing

  structure,” or indeed any changes in pricing structure, as a result of the Amendment.

  Nor are Plaintiff’s allegations “largely inconsistent with unilateral conduct”; if

  anything, the enthusiastic support of UWM’s announcement among brokers is highly

  consistent with an inference that brokers unilaterally shared UWM’s concerns about

  Rocket’s and Fairway’s practices and viewed the Amendment as good for them

  individually. SAC ¶¶ 41-52.

          Plaintiff’s attempt to portray the brokers that entered into the so-called

  “boycott” as both conspirators and victims highlights the incoherence of Plaintiff’s

  “hub-and-spoke” theory. On the one hand, Plaintiff alleges that “UWM and its

  participating brokers are jointly and severally liable” for the alleged boycott. SAC ¶¶ 111,

  118 (emphasis added). On the other hand, Plaintiff insists these same participating

  brokers are members of the putative class it seeks to represent. Id. ¶ 85. The inextricable

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  conflict of Plaintiff naming its own putative class members as co-conspirators liable to

  the class to which they belong confirms Plaintiff’s conspiracy is a “rimless wheel.” See

  In re Ins. Brokerage Antitrust Litig., 618 F.3d 300, 327 (3d Cir. 2010) (rejecting “rimless

  wheel” conspiracy as “nothing more than a series of vertical relationships”); Total

  Benefits Planning Agency, Inc. v. Anthem Blue Cross & Blue Shield, 552 F.3d 430, 435-36

  (6th Cir. 2008) (“the rim holding everything together is missing”).

                  3.   Plaintiff’s Allegations Do Not Demonstrate Market Power
                       Sufficient to Support a Per Se Violation of Section 1

          Plaintiff also fails to correct the third deficiency identified by the Magistrate

  Judge—lack of market power. To guard against capricious attempts to invoke the

  “group boycott” label where per se treatment “is not warranted,” courts limit its

  application to cases in which “the conspirators imposing the group boycott possess

  ‘market power or exclusive access to an element essential to effective competition[.]’”

  Retina Assocs., 105 F.3d at 1381 (quoting Nw. Wholesale, 472 U.S. at 296). The

  Magistrate Judge concluded that Plaintiff failed to allege sufficient market power for

  UWM’s alleged anticompetitive conduct to cut off consumer or broker access to the

  wholesale mortgage channel. Report at 33-38. Plaintiff has not cured this defect.

          The “principal judicial device for measuring actual or potential market power

  remains market share[.]” U.S. Anchor Mfg., 7 F.3d 986 at 994. Plaintiff alleges that

  mortgage lending through independent brokers comprises 15.8% of residential

  mortgage loan originations and UWM has “approximately 34% market share” of the

  wholesale channel. SAC ¶¶ 26-27. Plaintiff’s new supplemental allegations incorporate


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  UWM’s 2022 annual report and Q4 2022 earnings call, both of which reflect UWM’s

  8% share of the overall mortgage market in 2022 and approximately 38% share of the

  wholesale channel. See § II.A, supra.; Exs. A-C. Even Mr. Ishbia’s most optimistic

  assessment foresaw a “peak[]” of “11%, 12% of the overall market,” with UWM’s

  share of the wholesale channel expected to decline from its year-end high. Id.

          The Magistrate Judge previously assumed without deciding that the relevant

  market is the wholesale mortgage market. Report at 36. As discussed in § IV.B, supra,

  such an assumption is no longer necessitated, as Plaintiff has not only failed to plead

  the relevant market, but has affirmatively alleged facts and incorporated sources

  demonstrating the relevant market is all residential mortgage loans. UWM’s 8%

  market share of the overall residential mortgage market facially confirms the absence

  of sufficient market power. See Bailey v. Allgas, Inc., 284 F.3d 1237, 1250 (11th Cir.

  2002) (holding a market share of 50% or less “inadequate as a matter of law”). 7

          But even retaining the earlier assumption of a wholesale mortgage market, the

  Magistrate Judge concluded that UWM’s 34% share of the wholesale channel did not

  establish market power sufficient to assert a per se theory because Plaintiff: (1) does

  not plead what percentage of the brokers in the wholesale market as a whole “joined

  the boycott”; and (2) does not plead what the effect of the alleged boycott was on the



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   See also Am. Pro. Testing Serv., Inc. v. Harcourt Brace Jovanovich Legal & Pro. Publ’ns, Inc., 108 F.3d 1147,
  1154 (9th Cir. 1997) (“[a] mere showing of substantial or even dominant market share alone cannot
  establish market power...”); Handicomp, Inc. v. U.S. Golf Ass’n, No. 99-5372, 2000 WL 426245, at *3-4
  (3d Cir. 2000) (72% insufficient); Maxon Hyundai Mazda v. Carfax, Inc., No. 13-CV-2680 (AJN), 2016
  WL 7231941, at *14-15 (S.D.N.Y. Dec. 9, 2016) (90% insufficient), aff’d, 726 F. App’x 66 (2d Cir.
  2018); Rxstrategies, Inc. v. CVS Pharmacy, Inc., 390 F. Supp. 3d 1341, 1351 (M.D. Fla. 2019).

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  relevant market. Report at 37. These defects remain.

          Plaintiff has added a section captioned “Anticompetitive Effects of Defendants’

  Conduct and Harm to Brokers and Consumers,” but it consists of nothing more than

  conclusory assertions regarding supposed anti-competitive effects from something that

  never happened—the “elimination of two of the largest” wholesale mortgage lenders—

  followed by a parade of conclusory assertions regarding lessened competition and

  injury to brokers. SAC ¶¶ 72-77. These assertions are based on nothing more than

  unsubstantiated posts and statements made by a handful of brokers and trade

  associations opposed to the initiative. Id. ¶¶ 78-81. To be sure, Plaintiff agrees there

  was no “elimination” of Rocket or Fairway. Although Plaintiff seeks to make much

  of UWM’s broker agreements, asserting they represent a “majority” of brokers and “a

  dominant portion of the market” (id. ¶ 111), the 2022 annual report incorporated into

  the Supplemental Amended Complaint reflects that these relationships cover just

  45,000 out of 386,000 (11.6%) federally registered loan officers in the United States,

  leaving Rocket and Fairway with access to the vast majority of loan officers. See § II.A,

  supra.; Ex. A. Plaintiff also alleges that Rocket has 10,000 mortgage broker partners.

  SAC ¶ 35. And Rocket has publicly stated that more than 9,000 brokers declined

  UWM’s Amendment and that Rocket gained “hundreds of new brokers” following

  the announcement. See § II.F, supra. 8


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   Plaintiff has also added a section captioned “Market Power and Barriers to Entry,” which asserts in
  circular fashion that UWM’s ability to “force” brokers to “refuse to deal” with Rocket and Fairway
  “reflects UWM’s market power.” SAC ¶ 82. An equally plausible inference, however, is that the willing
  participation of 12,000 brokers in the All-In Initiative evidences that many brokers consider the

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          In addition, Plaintiff does not address the at least 50+ other wholesale mortgage

  lenders in the market who continue to service all brokers—those who signed the

  Addendum and those who did not. See § II.D, supra. Plaintiff has also never addressed

  the brokers’ freedom to terminate their Broker Agreements with UWM at any time,

  with or without cause, and to immediately originate loans with Rocket or Fairway

  upon giving notice of termination. See § II.G, supra.

          What Plaintiff’s new allegations do not provide, and what Plaintiff has never

  provided, are the two things the Magistrate Judge said were needed: a factual

  allegation of the actual percentage of brokers in the wholesale channel who “joined

  the boycott,” and factual allegations regarding the effect on the market.

                  4.       Plaintiff Fails to Plead a Claim Against Mr. Ishbia for Per Se
                           Violation of the Sherman Act

          Plaintiff alleges no new or additional facts against Mr. Ishbia; it simply asserts

  that he “directed, authorized, and ordered” UWM’s actions and is therefore

  “personally liable” for UWM’s participation. SAC ¶¶ 162-66. Plaintiff’s per se claim

  against Mr. Ishbia therefore fails for the same reasons as the claim against UWM.

          D.      Plaintiff Fails to State a Claim for Unreasonable Restraint of Trade
                  in Violation of Section 1 of the Sherman Act (Counts II and XI)

          Counts II and XI set forth Plaintiff’s “rule of reason” claims against UWM and

  Mr. Ishbia for an alleged unreasonable restraint of trade. The rule of reason requires a

  court to “decide whether the questioned practice imposes an unreasonable restraint on



  Amendment to be in their self-interest. It is Plaintiff’s obligation to allege facts excluding this inference.
  Retina Assocs., 105 F.3d at 1381; see also Report at 33-38. Plaintiff has never done so.

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  competition[.]” State Oil Co. v. Khan, 522 U.S. 3, 10 (1997). The rule entails a three-

  step, burden-shifting analysis, with Plaintiff having “the initial burden to prove that

  the challenged restraint has a substantial anticompetitive effect that harms consumers

  in the relevant market.” Ohio v. Am. Express Co., 138 S. Ct. 2274, 2284 (2018). To fulfill

  its burden, Plaintiff may either show “the potential for genuine adverse effects on

  competition” or “an actual detrimental effect on competition.” Levine, 72 F.3d at 1551

  (citations and additional quotations omitted).

          The Magistrate Judge found the rule of reason analysis need not proceed past

  the first step, because Plaintiff did not carry its initial burden. Report at 38-41. In

  particular: (1) Plaintiff did not allege sufficient facts to support its claim that the alleged

  conduct had the potential for genuine adverse effects on competition; and (2) Plaintiff

  failed to offer a clear picture of UWM’s total market power or how UWM’s conduct

  harmed competition. Id. The same pleading deficiencies apply here.

                  1.   Plaintiff’s Allegations Do Not Plead the Potential for a Genuine
                       Adverse Effect on Competition

          To plead the potential for a genuine adverse effect on competition, Plaintiff

  must allege that UWM exercises market power in a properly defined market. Spanish

  Broad. Sys. of Fla. v. Clear Channel Commc’ns, Inc., 376 F.3d 1065, 1073 (11th Cir. 2004).

  It must further allege that the Amendment substantially foreclosed competition in that

  market. See Tampa Elec. Co. v. Nashville Coal Co., 365 U.S. 320, 327 (1961). As already

  discussed, Plaintiff has not sufficiently alleged the relevant market, or that UWM held

  market power in the relevant market. See §§ IV.B, IV.C.3, supra.


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          Plaintiff also has not alleged that the Amendment has foreclosed competition in

  the relevant market. “[F]or exclusive dealing to run afoul of the antitrust statutes,” the

  exclusivity arrangements must substantially foreclose the relevant market—i.e., they

  must significantly limit the ability of other competitors to enter or remain in the

  market. McWane, Inc. v. Fed. Trade Comm’n, 783 F.3d 814, 837 (11th Cir. 2015).

  Plaintiff alleges in conclusory fashion that there are “barriers to entry” to wholesale

  lending, and asserts based on an unidentified “2023 report” that “at least 17 firms”

  (out of more than 70) have recently exited the wholesale channel. SAC ¶¶ 83, 106. But

  Plaintiff does not allege the Amendment has substantially foreclosed the market—

  especially with at least 50+ other wholesale lenders remaining, not to mention an

  entire retail channel. See Herbert Hovenkamp, Federal Antitrust Policy § 10.8 at 391

  (1994) (foreclosure of even “a large percentage of one mode of distribution will have

  little anticompetitive effect if another mode is available”).

          Competition also cannot be foreclosed where, as here, the Amendment is “of

  relatively short duration and, crucially, can be terminated upon short notice”; such

  terms “do not—by themselves—sustain the Sherman Act claims.” Pro Search Plus, LLC

  v. VFM Leonardo, Inc., No. 8:12-CV-02102, 2013 WL 3936394, at *4 (C.D. Cal. July

  30, 2013); see also Paddock Pubs., Inc. v. Chicago Tribune Co., 103 F.3d 42, 44 (7th Cir.

  1996); PNY Techs., Inc. v. Sandisk Corp., No. 11-CV-04689, 2014 WL 1677521, at *8

  (N.D. Cal. Apr. 25, 2014). The Amendment, which includes no obligation to submit

  loans to UWM, permits brokers to submit loans to at least 50+ other wholesale lenders,

  and allows brokers to terminate at will and immediately submit loans to Rocket and

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  Fairway, is a facially lawful relationship that “generally pose[s] little threat to

  competition.” ZF Meritor, LLC v. Eaton Corp., 696 F.3d 254, 270 (3d Cir. 2012).

                  2.   Plaintiff Does Not Plead a Potential or Actual Detrimental Effect
                       on Competition

          Plaintiff likewise does not plead potential or actual detrimental effects on

  competition. The Complaint fails to allege an “actual increase in the price of the good

  or service, a decrease in output, or a decline in quality,” the hallmarks of an actual

  detrimental effect. EnviroPak Corp. v Zenfinity Capital, LLC, No. 4:14-CV-00754, 2015

  WL 331807, at *13-14 (E.D. Mo. Jan. 23, 2015). As discussed above, Plaintiff’s new

  allegations of competitive harm are conclusory and implausible, backed by nothing

  more than unsubstantiated statements online and in press releases. See § II.C.3, supra.

  Such “[b]road, unsupported allegations of actual detrimental effects” are “inadequate

  to withstand a motion to dismiss.” Sherr v. HealthEast Care Sys., 262 F. Supp. 3d 869,

  884 (D. Minn. 2017); see also Procaps S.A. v. Patheon, Inc., 845 F.3d 1072, 1084 (11th

  Cir. 2016) (“[A] plaintiff may not meet its burden of showing actual anticompetitive

  effects with mere conclusory assertions” and must “point to specific facts

  demonstrating harm to competition”); Spanish Broad. Sys. of Fla., 376 F.3d at 1074. As

  the Magistrate Judge found, Plaintiff still has not plausibly connected Defendants’

  alleged conduct to possible harm to competition. Report at 40 (citing Appleton v.

  Intergraph Corp., 627 F. Supp. 2d 1342, 1355 (M.D. Ga. 2008)).

                  3.   Plaintiff Fails to Plead a Claim Against Mr. Ishbia for
                       Unreasonable Restraint of Trade

          Plaintiff again asserts that Mr. Ishbia is “personally liable” for UWM’s actions,

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  and its claim against Mr. Ishbia thus fails for the same reasons. SAC ¶¶ 167-71.

          E.      Plaintiff Fails to State a Claim for Attempt to Monopolize in
                  Violation of Section 2 of the Sherman Act (Counts III and XII)

          Counts III and XII assert claims against UWM and Mr. Ishbia for an alleged

  attempt to monopolize in violation of Section 2 of the Sherman Act. The Magistrate

  Judge found that Plaintiff failed to state a claim for attempted monopolization because

  UWM’s alleged 34% market share of the putative wholesale mortgage market did not

  establish a dangerous probability of achieving monopoly power. Report at 42-45. That

  defect applies again here, and Plaintiff has also failed to allege anticompetitive conduct

  or a specific intent to monopolize. See Spanish Broad. Sys., 376 F.3d at 1074 (identifying

  three “distinct elements” of claim for attempted monopolization: (1) predatory or

  anticompetitive conduct; (2) specific intent to monopolize; and (3) a dangerous

  probability of achieving monopoly power).

                  1.    Plaintiff Fails to Allege a Dangerous Probability of Achieving
                        Monopoly Power.

          Plaintiff alleges that UWM has a 34% market share of the wholesale channel of

  the residential mortgage market. SAC ¶ 27. The 2022 annual report and earnings call

  incorporated into the Supplemental Amended Complaint reflect an overall market

  share of 8% of all residential mortgages, and a share of 38% of the wholesale channel.

  See § II.A, supra. As discussed above, see § IV.B, supra, the properly defined market is

  all residential mortgages. But even assuming, as the Magistrate Judge assumed

  without deciding, that the relevant market is confined to the wholesale channel,

  UWM’s 38% market share falls far short of evidencing a dangerous probability of

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  achieving monopoly power. See Report at 43-44. A “dangerous probability of success

  arises when the defendant comes close to achieving monopoly power in the relevant

  market.” Gulf States Reorg. Grp., Inc. v. Nucor, 721 F.3d 1281, 1285 (11th Cir. 2013)

  (citing Levine, 72 F.3d at 1555). A 38% market share does not plausibly indicate such

  a dangerous probability. See U.S. Anchor Mfg., 7 F.3d at 1001 (holding that market share

  of “less than 50 percent” indicated “no dangerous probability of success”); see also Gulf

  States Reorganization Grp., Inc. v. Nucor, 822 F. Supp. 2d 1201, 1237 (N.D. Ala. 2011).

          The Supplemental Amended Complaint still contains no allegations plausibly

  indicating that UWM has come anywhere close to achieving a “dangerous

  probability” of monopoly power. Although Plaintiff attempts to bolster his claim by

  altering quotes from Mr. Ishbia’s interviews, see SAC ¶¶ 62, 102-03, 105, 109,

  Mr. Ishbia himself has said he foresees a “peak” market share of 11% or 12%, and

  anticipates a decline from UWM’s high in the last quarter of 2022. See § II.A, supra.

  One competitor passing another in market share, even by “unfair means,” does not

  indicate a dangerous probability of monopolization. Spanish Broad. Sys., 376 F.3d at

  1076 (citing Mfg. Research Corp. v. Greenlee Tool Co., 693 F.2d 1037, 1043 (11th Cir.

  1982)). And, as already shown, Plaintiff has cherry-picked Mr. Ishbia’s use of the word

  “dominate” and references to “control of our margins” improperly to infer a power to

  “control price in the market”—when in fact Mr. Ishbia was explaining why UWM had

  to cut its prices in response to “extremely competitive” pricing. Id.

          Even were it assumed that UWM might achieve a 50% to 60% market share,



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  that still would not establish a dangerous probability of success in the absence of

  significant barriers to entry. See Moecker v. Honeywell Intern., Inc., 144 F. Supp. 2d 1291,

  1308 (M.D. Fla. 2001) (citations and quotations omitted) (stating that even “high

  market share” will not raise an inference of monopoly power “in a market with low

  entry barriers”); Paycargo, LLC v. CargoSprint, LLC, No. 3:19-CV-85-TCB, 2019 WL

  5793113, at *5 (N.D. Ga. Nov. 4, 2019) (collecting cases). Plaintiff has added

  conclusory assertions of supposed “barriers to entry” such as a sophisticated electronic

  platform, qualified personnel, licensing requirements, and substantial funds. SAC ¶¶

  83-84. But Plaintiff also alleges that wholesale mortgages account for “hundreds of

  millions of dollars” in loans annually, providing strong motives to enter even at high

  cost. Id. ¶¶ 16-17. And Plaintiff has never disputed that there are 50+ other competitors

  already in the market, even crediting its claim of 17 recent exits. Ex. F at 16:9-18.

  Plaintiff thus lacks a plausible allegation of barriers to entry.

                  2.   Plaintiff Fails to Allege Anticompetitive Conduct or a Specific
                       Intent to Monopolize.

          Plaintiff’s monopolization claim also fails on its other elements. As discussed

  above, Plaintiff has failed to allege that Defendants’ conduct was anticompetitive. See

  §§ IV.D.1-2, supra. Plaintiff also has failed to allege, beyond a boilerplate recitation,

  that Defendants had a specific intent to monopolize the wholesale channel. SAC ¶

  137. Indeed, Plaintiff concedes it and every other broker remain free to submit loans

  to 50+ other lenders regardless of whether they agree to the Amendment, and every

  broker who consents to the Amendment can terminate at will. See § II.F, supra.


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                  3.    Plaintiff Fails to State a Claim Against Mr. Ishbia for Attempted
                        Monopolization

          Plaintiff again alleges that Mr. Ishbia is “personally liable” for UWM’s actions,

  and its claim against Mr. Ishbia thus fails for the same reasons. SAC ¶¶ 163-67.

          F.      Plaintiff’s Claims Under the Florida Antitrust Act Follow the
                  Sherman Act Claims and Fail for the Same Reasons (Counts IV, V,
                  VI, XIII, XIV, XV)

          Counts IV, V, VI, XIII, XIV, and XV assert violations of the Florida Antitrust

  Act against UWM and Mr. Ishbia, mirroring Plaintiff’s Sherman Act claims. In

  interpreting the Florida Antitrust Act, federal precedent interpreting the Sherman Act

  is determinative. See All Care, 135 F.3d at 745 n.11 (“Federal and Florida antitrust laws

  are analyzed under the same rules and case law.”); St. Petersburg Yacht Charters, Inc. v.

  Morgan Yacht, Inc., 457 So. 2d 1028, 1032 (Fla. 2d DCA 1984) (“The Florida legislature

  has, in effect, adopted as the law of Florida the body of antitrust law developed by the

  federal courts under the Sherman Act.”). Accordingly, Plaintiff fails to state a claim

  under the Florida Antitrust Act, and Counts IV, V, VI, XIII, XIV, and XV should be

  dismissed. See Report at 6 n.4.

          G.      Plaintiff Fails to State a Claim for Tortious Interference with
                  Business Contracts and Prospective Economic Advantage (Counts
                  VII and XVI)

          Counts VII and XVI assert claims for tortious interference. The Magistrate

  Judge recommended dismissal of Plaintiff’s tortious interference claim because

  Plaintiff failed to allege that existing customers ended their business with Plaintiff as a

  result of Defendants’ alleged conduct. Report at 45-48. Plaintiff has still made no such


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  allegations, dooming its amended claims. SAC ¶¶ 141-48, 189-95.

          First, under Florida law, 9 Plaintiff has not alleged Defendants’ interference with

  “a business relationship evidenced by an actual and identifiable understanding or

  agreement which in all probability would have been completed if the defendant had

  not interfered.” Ethan Allen, Inc. v. Georgetown Manor, Inc., 647 So. 2d 812, 815 (Fla.

  1994) (citation omitted); see also Int’l Sales & Servs., Inc. v. Austral Insulated Prods., Inc.,

  262 F.3d 1152 (11th Cir. 2001). Plaintiff does not allege that any identified existing or

  potential customers ended their business with Plaintiff due to UWM’s actions.

          Second, Plaintiff’s claim is incoherent because Plaintiff alleges that wholesale

  mortgage lenders “do not work directly with consumers/borrowers”; but rather, that

  mortgage brokers “choose from a variety of wholesale lenders” to “select the mortgage

  product” fitting the customer’s needs. SAC ¶¶ 20, 22. Plaintiff does not plausibly allege

  a “disruption” of its business relationships with consumers based on the unavailability

  of one lender.

          Third, Plaintiff fails to allege facts demonstrating Defendants’ “intent to damage

  [Plaintiff’s] business relationship and a lack of justification for doing so.” Romika-USA,

  Inc. v. HSBC Bank USA, N.A., 514 F. Supp. 2d 1334, 1339 (S.D. Fla. 2007) (quotation

  marks omitted). Plaintiff incorporates UWM’s March 15, 2021 announcement in

  which Mr. Ishbia enumerated UWM’s lawful justifications for its actions. Ex. F at




  9
    Defendants assume, without conceding, that Florida law governs Plaintiff’s tortious interference
  claim. See SAC ¶¶ 15, 17-18; Fla. Steel Corp. v. Whiting Corp., 677 F. Supp. 1140, 1141 (M.D. Fla. 1988).

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  12:14-16:11. A company “may take steps to protect its business interests without

  liability for tortious interference” so long as it “does not engage in improper conduct.”

  Romika-USA, Inc., 514 F. Supp. 2d at 1339; Living Color Enters., Inc. v. New Era

  Aquaculture, Ltd., No. 14-62216-CIV, 2015 WL 1526177, at *7 (S.D. Fla. Apr. 3, 2015).

          Fourth, “an action for tortious interference will not lie where a party tortiously

  interferes with a contract terminable at will.” Greenberg, M.D. v. Mount Sinai Med. Ctr.

  of Greater Miami, Inc., 629 So. 2d 252, 255 (Fla. 3d DCA 1993); see also Wackenhut Corp.

  v. Maimone, 389 So. 2d 656, 658 (Fla. 4th DCA 1980).

          H.      Plaintiff Fails to State a Claim for Violation of Florida’s Deceptive
                  and Unfair Trade Practices Act (Counts VIII and XVII)

          Counts VIII and XVII assert claims for violation of FDUTPA, Fla. Stat. §

  501.201. The Magistrate Judge recommended dismissal because the FDUTPA claim

  was predicated on insufficient antitrust violations. Report at 48-49. The same result

  applies here, because Plaintiff’s FDUPTA claims remain entirely derivative of its

  antitrust claims. See SAC ¶¶ 151, 196; see also Hunter v. Bev Smith Ford, LLC, No. 07-

  80665-CIV, 2008 WL 1925265, at *7 (S.D. Fla. Apr. 29, 2008) (dismissing derivative

  FDUTPA claims); JES Props., Inc. v. USA Equestrian, Inc., No. 8:02-CV-01585-T-

  24MAP, 2005 WL 1126665, at *19, n.23 (M.D. Fla. May 9, 2005) (similar). 10

          The Magistrate Judge also expressed “reservations” as to whether Plaintiff


  10
     To the extent the Court finds Plaintiff’s FDUTPA claim sounds in fraud by virtue of Plaintiff’s
  allegation that Defendants made “false statements” to mortgage brokers (see SAC ¶¶ 7-8, 38-39, 56-
  57, 59, 135), Plaintiff’s failure to comply with Rule 9(b) presents additional grounds for dismissal. See
  Fid. Nat’l Fin., Inc. v. Attachmate Corp., No. 3:15-CV-01400, 2017 WL 3726687, at *3 (M.D. Fla. Mar.
  1, 2017) (requiring claims arising under FDUTPA to satisfy Rule 9(b) where they sound in fraud).

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  sufficiently pled damages to support a FDUTPA claim. Report at 49 n.17. It has not.

  FDUTPA requires “actual damages.” City First Mortg. Corp. v. Barton, 988 So. 2d 82,

  86 (Fla. 4th DCA 2008). “Actual damages” does not include “consequential

  damages,” and “competitive harm, diverted or lost sales, and harm to the goodwill

  and reputation” are consequential damages. Casa Dimitri Corp. v. Invicta Watch Co. of

  Am., Inc., 270 F. Supp. 3d 1340, 1352 (S.D. Fla. 2017) (citations and quotations

  omitted). Plaintiff only alleges consequential damages, and does so only in conclusory

  terms. SAC ¶¶ 153-54, 200-01. Plaintiff’s failure to plead actual damages requires

  dismissal. See Mukamal v. Bakes, No. 07-20793-CIV, 2008 WL 11391157, at *5 (S.D.

  Fla. May 20, 2008), aff’d, 378 F. App’x 890 (11th Cir. 2010).

          Plaintiff also fails to allege a “deceptive act or unfair practice” or causation. City

  First Mortg. Corp., 988 So. 2d at 86. The Amendment presented Plaintiff with a business

  choice, and Plaintiff declined it in favor of submitting loans to Rocket and Fairway.

  Plaintiff alleges no facts reflecting how this contractual choice was deceptive or unfair

  to Plaintiff or caused Plaintiff damages in light of its own election.

          I.      Plaintiff Fails to State a Claim for Declaratory Relief (Count IX)

          Count IX for declaratory relief is wholly derivative of Plaintiff’s other claims.

  The Magistrate Judge did not reach the claim for this reason. Report at 48 n.16. It

  should be dismissed as duplicative. See Del Prado Mall Pro. Condo. Ass’n, Inc. v. Voyager

  Indem. Ins. Co., No. 2:20-CV-838, 2021 WL 1578758, at *2 (M.D. Fla. Apr. 22, 2021);

  Auto Dealer Sols., Inc. v. S.-Owners Ins. Co., No. 8:17-CV-2525, 2018 WL 4600674, at *3

  (M.D. Fla. Jan. 25, 2018). Moreover, because Plaintiff is not a party to the

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  Amendment or Addendum, its requested declaration that they are “illegal,”

  “unlawful,” and “unenforceable,” SAC ¶ 152, is non-justiciable. See Atlanta Gas Light

  Co. v. Aetna Cas. Sur. Co., 68 F.3d 409, 414 (11th Cir. 1995) (citation omitted)

  (justiciable controversy must “touch the legal relation of parties”).

  V.      Conclusion

          For the foregoing reasons, Defendants respectfully request that the Court

  dismiss the Supplemental Amended Complaint against Mr. Ishbia and UWM in its

  entirety with prejudice; and grant Defendants any other relief it deems necessary

  including, without limitation, an award of attorneys’ fees in accordance with the

  provisions of Section 542.22(1), Florida Statutes, and FDUTPA.

  Dated: August 14, 2023                   Respectfully submitted,

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                              CERTIFICATE OF SERVICE

          I hereby certify that on this 14th day of August, 2023, I electronically filed the

  foregoing document with the Clerk of the Court using CM/ECF. I also certify that the

  foregoing document is being served this day on all counsel of record via transmission

  of Notices of Electronic Filing generated by CM/ECF.

                                          /s/ Glenn E. Goldstein
                                         GLENN E. GOLDSTEIN




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   EPS of $0.00 misses by $0.01 | Revenue of $302.43M (-50.05% Y/Y) beats by $7.33M




UWM Holdings Corporation (NYSE:UWMC) Q4 2022 Earnings Conference Call March 1, 2023
10:30 AM ET

Company Participants

Blake Kolo - Chief Business Officer & Head of IR

Mat Ishbia - Chairman & CEO

Andrew Hubacker - Chief Financial Officer

Conference Call Participants

Bose George - KBW

Eric Hagen - BTIG

Douglas Harter - Credit Suisse



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Steven Delaney - JMP Securities

Operator

Good morning. My name is Chris, and I'll be your conference operator today. At this time, I'd like
to welcome everyone to the UWM Holdings Corporation's Fourth Quarter and Full Year 2022
Earnings Conference Call. All lines have been placed on mute to prevent any background noise.
After the speakers’ remarks, there will be a question-and-answer session. [Operator Instructions]
Thank you.

Blake Kolo, you may begin your conference.

Blake Kolo

Good morning. This is Blake Kolo, Chief Business Officer and Head of Investor Relations. Thank
you for joining us and welcome to the fourth quarter and full year 2022 UWM Holdings
Corporation's earnings call.

Before we start, I would like to remind everyone that this conference call includes forward-looking
statements. For more information about factors that may cause actual results to differ materially
from forward-looking statements, please refer to the earnings release that we issued this morning.

I will now turn the call over to Mat Ishbia, Chairman and CEO of UWM Holding Corporation and
United Wholesale Mortgage.

Mat Ishbia

Thanks, Blake, and thank you, everyone, for joining us today. I appreciate you guys being here
and looking forward to going through another great quarter and an awesome year here at UWM.
2022 was great across the board. As I've been saying all along, a higher interest rate environment
is where you'll see the best mortgage companies separate even further from the rest of the
mortgage companies remaining and we definitely saw that happened in 2022.

I'm confident UWM is the best mortgage company in America because of our efficiencies and
partnership with mortgage brokers. The broker channel is the best place for consumers to get a
loan and the best place for loan officers to work, and we're seeing that happen in front of all of our
eyes.


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With that being said, UWM is not slowing down. Regardless of interest rates, we continue to
invest in our people and our technology. We continue to focus on our effort to help brokers win in
the market. Our 54% market share of the broker channel in the fourth quarter is proof for that
partnership, has never been stronger. And I'm sure everyone knows on this call, that is an all-time
market share record in mortgage and it's truly amazing accomplishment for the broker channel
and for UWM as their partner.

Before talking about the fourth quarter, I'd like to touch base on the new -- a few full year financial
and business highlights. So first off, best purchase year of all time 2022, about $91 billion. In
addition, it's our third best production year with 100 -- over $127 billion of total production. We
delivered almost $1 billion in profit in a market where most lenders lost money, were laying people
off or went out of business altogether. I'm also very proud to announce that it's our ninth
consecutive quarter paying a $0.10 per share dividend, which is close to a 10% yield at today's
stock price. I explained nine quarters ago, when we first went public, I feel comfortable paying this
dividend in various market environments, and we continue to demonstrate this in best market
conditions and even in very tough market conditions. This will continue.

Lastly and most important to me, while my competitors are cutting investments and laying off
thousands and thousands of people, we continue to invest in technology, take care of our people
and have never laid off a single team member in our 37-year history. I'm extremely proud of our
team members and the brokers we are continuing to push forward and grind and ultimately win
regardless of the market. 2023 is another huge opportunity for UWM and the broker community to
continue to separate ourselves further from our competition, invest in the future and continue to
win together as a team.

Now let's look closely at the fourth quarter. We closed $25.1 billion of production for the quarter,
about $21.7 billion of this coming from purchase. Brokers are dominant in purchase market, and
we see that continue to happen in 2023 and beyond. As I mentioned earlier, UWM has 54%
brokers market share in the fourth quarter, the highest share reading ever, up from 41% in the
third quarter. There's a 100% result of our commitment to the broker channel. Our partners
continue to improve and win regardless of the market.




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Helping our partners grow faster than the rest of the market has been a huge part of this success.
We'll remain dedicated and committed to helping the mortgage brokers across America,
dominate, provide the best service, rates and technology to their consumers, so they can grow in
their individual markets as they continue to win as well.

The fourth quarter was our second consecutive quarters in number one overall mortgage lender
America. And to add a little perspective on this, we're the -- this is the third consecutive year as
the number one purchase lender, the eighth consecutive year as the number one wholesale
lender. And as I said before, doing mortgages, look, everyone is doing mortgages, looks decent
when rates are low and having success in a purchase market continue to set us apart in high rate
purchase market, are you succeeding or are you not? That's a difference you see at UWM.

If you actually look at the market, with brokers being about 20% and us being about 54%, like
we're about 11% of the overall mortgage market which is crazy to think about while we only are in
the wholesale channel. It's great for brokers. It's great for UWM and we're continuing to win
together as a team.

Now in the fourth quarter, we showed a $62.5 million loss, but that's inclusive of about $151
million decrease of fair value of MSRs. So really operationally profitable once again. Our gain
margin was 51 basis, well within our guidance. And the momentum with the broker channel has
never been stronger in the last six months since announcing game on strategy, as a result of
more retail loan officers joining the wholesale channel than ever before.

In addition, the second largest month of all time of retail loan officers converting over was January
of this year, just 1.5 months ago. And so amazing numbers, and a lot of that stuff takes six, nine,
12 months for them to actually produce, get going, get license and switch over[ph]. So all of the
benefits have still not really come to fruition. We're really proud of the game on strategy and all
the great things that's done for the broker community and for UWM as a partner with brokers.

As you can tell, I'm excited about 2023, a year in which we can expect our competitive advantage
to continue to become clearer to everybody as we continue to invest in our people, the brokers
and our business. We know this formula works because we've seen it in similar market cycles and
every time we've emerged stronger and more dominant. Right now, it is not any different.




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Before I turn things over to Andrew Hubacker, I want to congratulate him on officially being named
our Chief Financial Officer. He's done great work since joining us over two years ago, and I'm
excited for him to continue to take this next step in his career and continue to help UWM grow and
be more successful. So Andrew, take it away.

Andrew Hubacker

Thanks, Mat. We finished 2022 strong with fourth quarter production volume on the high end of
our outlook and gain margin well within the range we expected. Our fourth quarter profitability was
impacted by negative MSR fair value marks, but we delivered strong net income for 2022 in a
challenging and volatile mortgage market.

The rising rate environment throughout the year resulted in positive MSR fair value marks, but our
core purchase business was strong in 2022 with the year-over-year increase in purchase
origination volume. We've said this before, but it's worth repeating. Our servicing portfolio remains
very strong, with a total UPB of approximately $312 billion as of the end of 2022, as newly
originated and retained MSRs largely kept pace with sales and payoffs throughout the year.

With a low ac and very low delinquencies and high asset quality, our MSR portfolio remains
strong and continues to provide balance to our business model, a recurring quarterly cash flow
stream and a strategic source of additional liquidity if and when we choose to sell our MSRs in the
bulk secondary market.

On the call last quarter, we discussed steps we took in Q3 to further enhance our access to
liquidity, which included establishing a line of credit secured by our agency MSRs. Our available
borrowing capacity on the secured facility was $750 million at the end of the year and our total
available liquidity increased to approximately $2.1 billion as of the end of 2022 compared to just
over $700 million at the end of 2021. We believe the measures we took last year and plan to
continue to take in 2023 to enhance our liquidity will allow for our continued investments in
growing both the wholesale channel and our market share.




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On the cost side, we continue to focus on prudent cost management in the current origination
environment. Excluding the impact of an incremental addition to our repurchase reserves
recorded in Q4 due to changes in estimates and increased interest expense from borrowings
under secured line of credit, total expenses decreased in Q4. Year-to-date, total operational
expenses are also down as our cost structure aligns with the current mortgage origination
environment.

Okay, turn things back over to our Chairman and CEO, Mat Ishbia, for some closing remarks.

Mat Ishbia

Yes. Thanks a lot, Andrew. Before the Q&A, I want to make a quick few points to everybody, 2023
will be the year that continues to separate the best lenders from the rest, okay? We'll continue to
support the broker channel, do everything we can to help them be successful and continue to
grow.

At UWM, we're investing in people, process, technology, continuing to deliver the best service
experience for our brokers. In fact, this year, we're expecting to have 20,000-plus loan officers out
to our campus to get trained, improve their game and continue to grow their business, including
as many of you guys know, UWM LIVE! which has been a huge success.

Many of you guys actually on the call were at last year, but you can come again this year, it's May
4. We expect to have that to be the biggest mortgage event of the year in all the industry here at
UWM, I'll be speaking at it. Tony Robbins will be speaking at it. We'll have a couple of great
brokers. There will be a great all-around event. We'd love to have a couple of you out there.

Lastly, I want to touch on [indiscernible] I think is undervalued by the investment community. We
have control of our business. The decisions we make are intentional. And for the long-term
success of the business, what I continue to tell you on these calls continues to happen quarter
over quarter over quarter. I think we continue to demonstrate having great control of our margins
and our business in general. I've consistently said that 75 to 100 of annualized margin is what you
can expect in a really purchase heavy market or a higher rate environment. And as you saw, the
full year ended in that range. And now we're back to guiding that range again for Q1

2023.



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So realize, with that said, we expect Q1 production to be between $16 billion and $23 billion, and
our margins would be in the range of 75 to 100 basis points. We have complete control of our
business, complete control of our margins, complete control of what's going on here at UWM and
that we've been consistent with our message on strategy and the results have shown that.

I want to thank our amazing team members at UWM for a great year in 2022, and we look forward
to dominating again in 2023.

I'll pause now and turn it back over to Q&A for all of you guys and look forward to answering some
of your questions.

Question-and-Answer Session

Operator

[Operator Instructions] The first question is from Bose George with KBW. Your line is open.

Bose George

Hey, good morning. So I wanted to start with a question just on market share. Obviously, a very
impressive level just in terms of both the share overall and of the broker channel. Just can you
remind us where you think the broker channel as a whole could go to? And that with your share at
54%, do you think that's peaked? And where do you think that trends?

Mat Ishbia

Yes. Thanks for the question. I appreciate it. So if you go back to the roadshow when we went on
public, and that's why I think it's important people go back and what we said then is happening
now. What I said back then was, hey, UWM could get to 40% market share in the channel and the
broker channel should be 30% of the overall market.

I said 33% by 2025, 2026, like, I stated that stuff. I still believe in those numbers. 54% is off the
charts crazy, right? 11% of the overall market, right? But what I told you back then, 40% of the
broker channel, 30% of the overall channel -- of the overall industry's brokers would be about 12%
of our market share. That's kind of what I still see the trend.




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Do I think UWM will stay 54% forever? No. But I do think UWM, 11%, 12% of the overall market is
very realistic. And if you look at what we said back [Technical Difficulty] we're a lot less impacted
by the cycle as everyone else. Like no one expected 2022, and we still made about $1 billion. We
are very competitive and very successful in market share and profitability, and we continue to pay
the dividend.

So the way I look at the market share, the broker channel will get to 30%, then eventually 33%, I
think I stated by 2025 or 2026. We will -- our belief is going to be 40%-plus of that market share.
So 40% of a bigger pie being 11%, 12% of the mortgage market in general, one out of every eight
or nine loans in America, we're pretty proud of that, especially in a purchase market.

Bose George

Okay, great. Makes sense. Thank you. And then just one on the margin guidance. Just to increase
-- does that imply that is Game On being sort of playing a smaller role in the first quarter?

Mat Ishbia

Yes. So, the way I look at it is, Game On has made a big impact. We still have very, very
competitive pricing. That's why the margins are still in that 75 to 100 range. But as I told you, I
have control of it. I decide when we want to change things and tweak things and we've done
things to help our brokers in certain ways, and we have different initiatives out there to help
brokers succeed and excel. I don’t know if it’s your phone, but – sorry, no worries, it’s all good.

And so, as you can see with Game On, our pricing is still extremely competitive. Brokers have
extremely competitive pricing, it's helping them grow their business right now. But we aren't going
to be at that investment of being at 50 basis point margins, as you saw for two quarters. I don't
expect that to continue unless I decide to do it again in the future. Right now, I have no
expectation of that. [Technical Difficulty] and I think that is just a belief because you'll see
everyone else will follow because we do control the margins in this industry.

Bose George

Okay, great. Thanks a lot.

Operator



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The next question is from Eric Hagen with BTIG. Your line is open.

Eric Hagen

Hey, good morning. Good to hear from you, guys. Maybe I've got a couple of questions. We know
that the interest rate buy-downs have been popular for borrowers that are confronting affordability
challenges. Are there any limitations that you see to continue offering that solution if rates head
even higher and just maybe how valuable is that opportunity going forward?

Mat Ishbia

Yes. Thanks for the question, Eric. Appreciate it. So the buy-down opportunity is great. It's a 2-1
buy-down 1-0 buy-down and even a 3-2-1 buy-down. And I think the key is mortgage brokers are
knowledgeable. They understand they have those options [Technical Difficulty] those are still
viable. Those will continue to be viable. Those don't go away or change. Those are very good
opportunities. And whether it affects affordability or really what they more for us to give a borrower
the consistency of a 30-year fix, but the lower rate or the lower payment for the first two or three
years or one year, depending on the buy-down of the buy-down product.

And it's been a very successful product instead of real estate agents and sellers lowering their
price, you can contribute towards a buy-down and it creates opportunity. We're seeing a lot of it,
and it's been very successful. And we're the largest purchase lender in the country, we're kind of
leading on that, and people are using it quite a bit right now.

Eric Hagen

Yes. That's really helpful detail. So there's lots of focus out there on bulk MSR supply and they're
being a pretty robust pipeline. I'm just curious how you guys are thinking about the opportunity
and sort of the value in selling MSRs against that backdrop, even how you think about doing that
versus drawing against the MSR financing that you have? Thank you, guys.

Mat Ishbia




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Yes. Thanks for the question on that, too. So, I think there is a lot more made out of this crazy
amount of supply hitting the market. I think that's a little bit more of a fun media story than a
reality. UWM's liquidity is extremely strong. We think the MSR market is actually more liquid than
you guys are recognizing and we're taking advantage of that. If we want to, we have complete
control of it.

We can either, A, tap the MSR line, as you pointed out; or B, sell MSRs, sell the -- we have all
different options. Liquidity is not a concern. [indiscernible] liquidity is always a concern in any
mortgage business. It's not a concern for UWM with a great job at our finance team and our MSR
sales team. Everyone has been doing to make sure that we don't have to think about that stuff.

And so we're opportunistic. We're in exactly the position we want to be. Our MSR book is strong.
It produces a lot of liquidity. And at the same time if we want to sell, we can sell that as well. And
so I think a lot more has been made of this [Technical Difficulty] because of who we are, that
people want to buy our servicing. And when you're a company that's maybe struggling, people
don't want to buy your service because of rep and warrants and other things. We're the strongest
mortgage company in America, period, and people know that. So for us, it's not an issue. I don't
think it's as much of an issue as people make, but maybe it's a little more for some of the weaker
counterparties.

Eric Hagen

Yes. That's helpful detail. Thanks you, guys, very much.

Operator

The next question is from Doug Harter with Credit Suisse. Your line is open.

Douglas Harter

Thanks. Just -- I apologize if this is asked, but just can you talk about how you think your market
share trends as you kind of have pulled back from gain on and how sticky kind of the additions
that -- of brokers that you have added will be?

Mat Ishbia




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Yes. Thanks for the question. So Doug, I think I talked about it even when we rolled out Game On,
that the expectation of what I consider success on it. And my expectation is Game On was not a
market share play, it obviously helped market share. It was -- let's grow the broker channel play.
Help the loan officer in the broker channel get new realties, build relationships, win more loans,
continue to educate consumers that -- and educate the markets, what you guys have it be happy
to road, it's $9,400 cheaper to go through a mortgage broker than a retail lender or a mega bank.
That's why the big mega banks, you heard as well back out. You see rocket falling through the
ground. All these companies are really struggling because they are charging so much more to
consumers.

Game On accelerates that and shows even more. And so it's going to be very interesting to watch
and see how that happens and that [Technical Difficulty] and then market share obviously went
up. Do I expect the market share to stay at 54%? No, I probably don't expect it to stay there, but I
never expected it to get there to be clear.

What we said was, “Hey, can we get over 40% and maintain in that level? We've seen this
happen before. We did this. This isn't like a new thing. We just went public last time I did it back in
2019. We've seen it. We know the stickiness. We understand how to control the stickiness and
make sure clients understand the value because it wants a loan officer. And you can call any loan
officer you want, Doug, in the mortgage, go to find at mortgagebroker.com, call loan officer and
ask them. And they'll say, once you use UWM, you realize it's faster, it's easier, it's cheaper. They
look good to dealers. They look good to consumers. Why would they not use UWM?

And so Game On helped bring a couple of those loan officers to use UWM that hadn't in a while
and they see it. They're going to see the value of UWM, and they're going to stick with us for the
long-term. We've seen it happen before. You'll see it play out. It will happen quarter-on-quarter
[Technical Difficulty] stay 54%, I don't think so, but it will be higher market share than I had before
it, absolutely without question.

Douglas Harter

Appreciate that. Thanks, Mat.

Mat Ishbia

Thank you.

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Operator

The next question is from Steve Delaney with -- who is a research analyst. Your line is open.

Steven Delaney

Thanks. Good morning, Mat and everyone at UWM. A lot of focus, obviously, on originations side
of the business, but love to talk about servicing for a bit. Rising rates where the economy really
hasn't broken from an employment standpoint yet.

But at some point, the higher rates are going to have an impact. Just curious if you're seeing any
increase in delinquency, special servicing, servicing advances that obviously follow delinquency?
And are your cost per unit on the servicing side of the business -- are you seeing any pressure
there that those are moving higher? Thanks.

Mat Ishbia

Yes. So thank you for the question and the focus on the servicing, I understand that is important.
And so what we've done differently is this, it's just not been effective, no impact at all, right? And
so our delinquencies. One thing that people don't give us credit for us, although we're the largest
lender in the country, I focus on being the best lender in the country. We've been the best for
years. The delinquency rate at UWM is lower than almost anyone in the country. The FICO scores
of the loans UWM does is the highest in the country. So I'm not just comparing to other nonbanks,
I'm looking at banks, nonbanks, credit unions. We are the lead on this. And so our delinquency
rate is less than one -- the numbers are just aren't impacting. So lower delinquency rates we
have, better credit quality, which we have, not doing the loans like we don't go below [Technical
Difficulty] lower credit scores. They're trying to do -- they're doing riskier loans. We just don't do it.
And so therefore, my servicing costs stay low.

My delinquencies stay low. My concerns about employment going -- unemployment going up,
impacting -- it's less of an impact. We're like the same thing on the [indiscernible]. We're less
cyclical. We're less impacted. We're a little bit more protected on the same exact thing because of
our business strategy and business model on the type of loans we do.

Steven Delaney




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That's helpful. And just one last comment and question, I guess, is, look, it's been widely
publicized that you've been successful in your bid to acquire a leading NBA franchise. So
congratulations on that interesting and exciting part of your life. I guess from an investor
standpoint in UWMC, what could you say to your investors or would you, if you can, what impact,
if any, on that successful business opportunity. What impact could that have on your equity
commitment to UWMC going forward because of that new opportunity? Thank you.

Mat Ishbia

So thank you for the question. So first off, yes, really excited about the Phoenix Suns and Phoenix
Mercury as something completely outside of UWM and been a lifelong dream and something I'm
excited to be involved with. With that being said, there's actually zero impact. Actually, I'd reverse
that and say there's probably a positive impact on UWM and my leadership here, not only the
notoriety of me, but the broker channel in general and educating consumers. I have a bigger
platform personally, more people following me, more people listen to me, more people learning
and being educated by brokers. It's only going to help. It's not taking any more of my time.

I actually can argue that I spend more time trying to research to find the right thing and getting
lucky enough to get the Suns and Mercury was like of the lead. But I actually think I have more
time on my hands now that I'm not chasing a team and trying to find the right thing for me and
then I actually can focus on UWM. And so it will have zero impact is probably what I would say,
but I would probably say, on the reverse side, a positive impact on UWM in the broker channel
and consumers with the new platform we have. Thank you.

Steven Delaney

Thank you. Appreciate it.

Blake Kolo

Are there any other question. I feel like there is some in the queue. May be --

Mat Ishbia




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Operator. Is there any other question. I see some in the queue. If not, we can close the meeting
now. But I want to make sure I answered those couple of questions that are out there. One again.
Operator, are there -- it looks like there is questions in the queue. I see couple of different analyst.
I don't know if you can open up the line for -- it looks like Kevin Barger. I hope he can speak.

All right. Well, I think there's some issue with the operator. If anyone wants to reach out. I see
Kevin, I see a couple of questions there. You can reach out to Blake Kolo. He's Business Officer,
Head of Investor Relations. You can also -- I'm happy to jump on a call. But I guess I'll close with
this.

Amazing 2022 UWM. 2023, I'm so optimistic about and excited about the opportunity ahead. We
are the biggest and best mortgage company in the country. We will maintain that and continue to
grow and dominate, take the market share, continue to help brokers win and help consumers
across the board and UWM and our investors are going to be excited about it with the dividend
and all the great things we've got going. So thanks for the questions. We're excited about 2023
[Technical Difficulty].
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       hueyuh1                                                                                                           01 Mar. 2023, 11:56 PM

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       Mat Ishbia comments concerning the dividend:

       I'm also very proud to announce that it's our ninth consecutive quarter paying a $0.10 per share
       dividend, which is close to a 10% yield at today's stock price. I explained nine quarters ago, when we
       first went public, I feel comfortable paying this dividend in various market environments, and we
       continue to demonstrate this in best market conditions and even in very tough market conditions. This
       will continue.

       Like no one expected 2022, and we still made about $1 billion. We are very competitive and very
       successful in market share and profitability, and we continue to pay the dividend. So the way I look at
       the market share, the broker channel will get to 30%, then eventually 33%, I think I stated by 2025 or
       2026. We will -- our belief is going to be 40% plus of that market share.

            Reply             Like (1)


                  kingRIG2.0                                                                                              02 Mar. 2023, 4:54 AM

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                  @hueyuh1 you still have to wonder how long can they keep paying that dividend

                       Reply             Like (2)




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                 hueyuh1                                                                                  02 Mar. 2023, 9:08 AM

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                 @kingRIG2.0 True. Interesting reading the transcript and how Ishbia kept referring to himself
                 as the one making all the rules for the company and the industry. He certainly comes across as
                 a mix of self-confident, pompous, and a showman.

                      Reply             Like (1)



         D       desicon                                                                                  02 Mar. 2023, 1:36 PM

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        UWM Holdings Corporation Announces Fourth Quarter & Full Year
                               2022 Results

          UWM Remains America's #1 Overall Mortgage Lender in the Fourth Quarter
      Fourth Quarter Loan Origination Volume of $25.1 billion, including Purchase Volume
                                        of $21.7 billion
                            $931.9 million in FY 2022 Net Income

     March 01, 2023 08:30 AM Eastern Standard Time

     PONTIAC, Mich.--(BUSINESS WIRE)--UWM Holdings Corporation (NYSE: UWMC) (the "Company"), the publicly traded
     indirect parent of United Wholesale Mortgage (“UWM”), today announced its results for the fourth quarter and full year
     ended December 31, 2022. For the second consecutive quarter, UWM is the number one overall mortgage lender in the
     U.S. Total loan origination volume for the fourth quarter was $25.1 billion, of which $21.7 billion was purchase volume. The
     Company's net income for 2022 was $931.9 million and diluted earnings per share was $0.45. For 4Q22, the Company
     reported a net loss of $62.5 million, inclusive of a $150.8 million decline in fair value of MSRs, and diluted loss per share of
     $(0.03).

     Mat Ishbia, Chairman and CEO of UWMC, said, "2022 was a historic year for UWM. Becoming the #1 overall mortgage
     lender in America, while originating mortgage loans exclusively through the wholesale channel,Cookies     Settings
                                                                                                       is a validation of our
     unrelenting commitment to the broker channel. We also delivered earnings of $931.9 million and have continued to reward
     our shareholders with consistent dividends. In 2023, we will continue to invest in technology to serve the broker channel
     and products that put brokers in a position to win. As we have done in other purchase-centricAccept
                                                                                                    markets,Allwe'll grow market
                                                                                                                  Cookies
     share and emerge stronger to better capitalize on the next boom."

     Fourth Quarter 2022 Highlights


         Originations of $25.1 billion in 4Q22, compared to $33.5 billion in 3Q22 and $55.2 billion
         in 4Q21
         Purchase originations of $21.7 billion in 4Q22, compared to $27.7 billion in 3Q22 and
         $24.5 billion in 4Q21
         Net loss of $62.5 million in 4Q22 compared to $325.6 million of net income in 3Q22 and
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         $239.8 million of net income in 4Q21
to enhance site navigation, analyze site usage, and assist in our marketing efforts.
         Total (https://services.businesswire.com/cookie-policy)
 Cookie Policy  gain margin of 51 bps in 4Q22 compared to 52 bps in 3Q22 and 80 bps in 4Q21
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             equity of $3.2 billion atDocument
                                       December102  Filed 08/14/23
                                                31, 2022, comparedPage  269
                                                                   to $3.4    of 357
                                                                           billion    PageID 1579
                                                                                   at September
       30, 2022 and $3.2 billion at December 31, 2021
         Unpaid principal balance of MSRs of $312.5 billion with a WAC of 3.64% at December
         31, 2022, compared to $306.0 billion with a WAC of 3.44% at September 30, 2022, and
         $319.8 billion with a WAC of 2.94% at December 31, 2021
         Ended 4Q22 with approximately $2.1 billion of available liquidity, including $886.2 million
         of cash and self-warehouse, and $1.25 billion of available borrowing capacity, which
         includes $750 million under a line of credit secured by agency MSRs, and $500 million
         under an unsecured line of credit
         Achieved 11% share of the overall mortgage market and 54% share of the wholesale
         channel for 4Q22


     Full Year 2022 Highlights


         Originations of $127.3 billion in 2022, compared to $226.5 billion in 2021
         Record purchase originations of $90.8 billion in 2022, compared to $87.3 billion in 2021
         Net income of $931.9 million in 2022 inclusive of a $284.1 million increase in fair value of
         MSRs, as compared to $1.6 billion of net income in 2021 inclusive of $587.8 million
         decline in fair value of MSRs
         Total gain margin of 77 bps in 2022 compared to 114 bps in 2021
         Largest wholesale mortgage lender in the U.S. by closed loan volume eight years in a
         row, with approximately 38% market share of the wholesale channel for the year ended
         December 31, 2022
         Achieved 8% share of the overall mortgage market for the year ended December 31,
         2022




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    Production and Income StatementDocument    102 Filed
                                   Highlights (dollars       08/14/23
                                                       in thousands,     Page
                                                                     except      270 of
                                                                            per share   357 PageID 1580
                                                                                      amounts)
                                  Q4 2022           Q3 2022                  Q4 2021                 FY 2022             FY 2021
     Loan origination
     volume(1)                $25,126,844       $33,464,480              $55,194,365            $127,285,461         $226,503,692
     Total gain
     margin(1)(2)                      0.51%             0.52%                      0.80%                    0.77%            1.14%
     Net income (loss)        $     (62,484)    $     325,610            $       239,826        $       931,858      $   1,568,400
     Diluted EPS                      (0.03)             0.13                       0.11                     0.45             0.66
     Adjusted diluted
     EPS(3)                            N/A               0.16                       N/A                      0.45             N/A
     Adjusted net
     income(3)                      (53,308)          254,294                    177,215                719,415          1,206,407
     Adjusted
     EBITDA(3)                      60,393             (1,392)                   206,567                282,402          1,418,337
        (1) Key operational metric (see discussion below)
        (2) Represents total loan production income divided by loan origination volume
        (3) Non-GAAP metric (see discussion and reconciliations below)


     Balance Sheet Highlights as of Period-end (dollars in thousands)
                                                    Q4 2022              Q3 2022                Q4 2021
     Cash and cash equivalents                 $       704,898       $           799,534    $         731,088
     Mortgage loans at fair value                    7,134,960               5,031,068           16,909,901
     Mortgage servicing rights                       4,453,261               4,305,686               3,314,952
     Total assets                                   13,600,625               11,890,083          22,528,358
     Non-funding debt (1)                            2,880,178               2,146,157               2,158,911
     Total equity                                    3,171,693               3,392,033               3,171,001
     Non-funding debt to equity (1)                       0.91                      0.63                    0.68
        (1) Non-GAAP metric (see discussion and reconciliations below)


     Mortgage Servicing Rights (dollars in thousands)
                                                     Q4 2022                       Q3 2022                    Q4 2021
     Unpaid principal balance                  $     312,454,025             $     306,016,670          $     319,807,457
     Weighted average interest rate                           3.64%                         3.44%                    2.94%
     Weighted average age (months)                              16                              14                       9


     Operational Highlights


         Achieved highest ever Net Promoter Score of +90.0 in 4Q22, up from +87.1 in 4Q21
           Our 0.85% 60+ days delinquency and our 0.65% forbearance rates, as of December 31,
By clicking2022, are
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                        Cookies”, you agree          the industry
                                               the storing of cookiesaverages   of 2.0%1 and 0.70%,2
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     Product and Investor Mix - UnpaidDocument   102 Filed
                                      Principal Balance       08/14/23(dollars
                                                        of Originations Pagein271  of 357 PageID 1581
                                                                               thousands)
     Purchase:                              Q4 2022           Q3 2022           Q4 2021           FY 2022             FY 2021
           Conventional                    $15,030,972        19,246,298       $16,643,586      $ 62,274,030        $ 63,026,794
           Government                         6,135,366         7,592,116          4,996,092       23,773,422          14,833,808
           Jumbo and other                      484,098           854,925          2,861,921         4,782,879          9,395,143

     Total Purchase                        $21,650,436        27,693,339       $24,501,599      $ 90,830,331        $ 87,255,745


     Refinance:                             Q4 2022           Q3 2022           Q4 2021           FY 2022             FY 2021
           Conventional                    $ 2,254,680          3,935,550      $25,032,327      $ 27,059,252        $120,152,065
           Government                         1,005,048         1,640,127          3,586,086         7,834,636         12,034,583
           Jumbo and other                      216,680           195,464          2,074,353         1,561,242          7,061,299
     Total Refinance                       $ 3,476,408          5,771,141      $30,692,766      $ 36,455,130        $139,247,947

     Total Originations                    $25,126,844        33,464,480       $55,194,365      $127,285,461        $226,503,692
     1 Source: CoreLogic (as of November 2022); 2 Source: Mortgage Bankers Association.



     Mat Ishbia, Chairman and CEO of UWMC, also said, “I want to give a huge thank you to everyone at UWM. It is because
     of the dedication of our team members and the broker community that 2022 was a historic year. Rest assured, we will not
     relax in 2023 as there is still much work to be done.”


     First Quarter 2023 Outlook


     We anticipate first quarter production to be in the $16 to $23 billion range, with gain margin from 75 to 100 basis points.

     Dividend


     Subsequent to December 31, 2022, for the ninth consecutive quarter, the Company's Board of Directors declared a cash
     dividend of $0.10 per share on the outstanding shares of Class A common stock. The dividend is payable on April 11,
     2023, to stockholders of record at the close of business on March 10, 2023. Additionally, the Board approved a
     proportional distribution to SFS Corp., which is payable on April 11, 2023.

     Earnings Conference Call Details


     As previously announced, the Company will hold a conference call for financial analysts and investors on Wednesday,
     March 1, at 10:30 AM ET to review the results and answer questions. Interested parties may register for a toll-free dial-in
     number by visiting:


          https://conferencingportals.com/event/YModynrv


     Please dial in at least 15 minutes in advance to ensure a timely connection to the call. Audio webcast, taped replay and a
     transcript will be available on the Company's investor relations website at https://investors.uwm.com/.


     Key Operational Metrics


     “Loan origination volume” and “Total gain margin” are key operational metrics that the Company's management uses to
     evaluate the performance of the business. “Loan origination volume” is the aggregate principal of the residential mortgage
     loans originated by the Company during a period. “Total gain margin” represents total loan production income divided by
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                       volume for theyou agree to
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     Non-GAAP    Metrics
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    The Company's                         Document
                  net income for periods prior to the first 102
                                                            quarter Filed
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                                                                            does not reflect      272 ofincome
                                                                                             a significant 357 PageID     1582
                                                                                                               tax provision,
     since UWM (the Company's accounting predecessor) is a pass-through entity not subject to federal and most state income
     taxes. For periods commencing with the first quarter of 2021, the Company's net income does not reflect the income tax
     provision that would otherwise be reflected if 100% of the economic interest in UWM was owned by the Company.
     Therefore, for comparison purposes, the Company provides “Adjusted net income,” which is our pre-tax income adjusted
     for a 23.03% and 23.56% estimated annual effective tax rate for the periods during 2022 and 2021, respectively. “Adjusted
     net income” is a non-GAAP Metric. "Adjusted diluted EPS" is defined as "Adjusted net income" divided by the weighted
     average number of shares of Class A common stock outstanding for the applicable period, assuming the exchange and
     conversion of all outstanding Class D common stock for Class A common stock, and is calculated and presented for
     periods in which the assumed exchange and conversion of Class D common stock to Class A common stock is anti-dilutive
     to EPS.


     We also disclose Adjusted EBITDA, which we define as earnings before interest expense on non-funding debt, provision
     for income taxes, depreciation and amortization, stock-based compensation expense, the change in fair value of MSRs
     due to valuation inputs or assumptions, the impact of non-cash deferred compensation expense, the change in fair value of
     the Public and Private Warrants, the change in Tax Receivable Agreement liability and the change in fair value of retained
     investment securities. We exclude the change in Tax Receivable Agreement liability, the change in fair value of the Public
     and Private Warrants, the change in fair value of retained investment securities, and the change in fair value of MSRs due
     to valuation inputs or assumptions, as these represent non-cash, non-realized adjustments to our earnings, which is not
     indicative of our performance or results of operations. Adjusted EBITDA includes interest expense on funding facilities,
     which are recorded as a component of interest expense, as these expenses are a direct operating expense driven by loan
     origination volume. By contrast, interest expense on non-funding debt is a function of our capital structure and is therefore
     excluded from Adjusted EBITDA.


     In addition, we disclose “Non-funding debt” and the “Non-funding debt to equity ratio” as a non-GAAP metric. We define
     “Non-funding debt” as the total of the Company's senior notes, lines of credit, borrowings against investment securities,
     equipment note payable, and finance leases and the “Non-funding debt to equity ratio” as total non-funding debt divided by
     the Company’s total equity.


     Management believes that these non-GAAP metrics provide useful information to investors. These measures are not
     financial measures calculated in accordance with GAAP and should not be considered as a substitute for any other
     operating performance measure calculated in accordance with GAAP, and may not be comparable to a similarly titled
     measure reported by other companies.


     The following tables set forth the reconciliations of these non-GAAP financial measures to their most directly comparable
     financial measure calculated in accordance with GAAP (dollars in thousands, except per share amounts):


     Adjusted net income                         Q4 2022         Q3 2022          Q4 2021          FY 2022           FY 2021
     Earnings before income taxes                $(69,258)       $330,381        $231,836         $ 934,669        $1,578,241
     Impact of estimated annual
     effective tax rate of 23.03% and
     23.56% for periods during 2022
     and 2021, respectively                        15,950          (76,087)         (54,621)       (215,254)          (371,834)

     Adjusted net income                         $(53,308)       $254,294        $177,215         $ 719,415        $1,206,407




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   Case 3:21-cv-00448-BJD-LLL
    Adjusted diluted EPS      Document 102 Filed 08/14/23 Q3
                                                          Page
                                                             2022273 of 357 FY
                                                                            PageID
                                                                               2022 1583
     Diluted weighted average Class A common stock outstanding                                 92,571,886                  92,475,170
     Assumed pro forma conversion of Class D common stock (1)                                1,502,069,787              1,502,069,787

     Adjusted diluted weighted average shares outstanding (1)                                1,594,641,673              1,594,544,957


     Adjusted net income                                                             $            254,294           $         719,415
     Adjusted diluted EPS                                                                               0.16                      0.45


     (1) Reflects the pro forma exchange and conversion of antidilutive Class D common stock to Class A common

     stock.


     Adjusted EBITDA                           Q4 2022        Q3 2022           Q4 2021             FY 2022               FY 2021
     Net income                                $(62,484)     $ 325,610          $239,826           $ 931,858             $1,568,400
     Interest expense on non-funding
     debt                                        43,611           29,786             25,417            132,647               86,086
     Provision for income taxes                   (6,774)             4,771          (7,990)               2,811              9,841
     Depreciation and amortization               11,713            11,426            10,422             45,235               35,098
     Stock-based compensation
     expense                                       2,055              1,986           2,014                7,545              6,467
     Change in fair value of MSRs due
     to valuation inputs or assumptions          71,865          (373,232)       (65,104)              (868,803)           (286,348)
     Deferred compensation, net                      461           (8,468)           (2,135)               7,370             21,900
     Change in fair value of Public and
     Private Warrants                                 54               (755)         (5,161)             (7,683)             (36,105)
     Change in Tax Receivable
     Agreement liability                              —                  —            8,537                3,200             11,937
     Change in fair value of investment
     securities                                     (108)             7,484              741            28,222                1,061

     Adjusted EBITDA                           $ 60,393      $     (1,392)      $206,567           $ 282,402             $1,418,337


     Non-funding debt and non-funding debt to equity                  Q4 2022                Q3 2022               Q4 2021
     Senior notes                                                 $     1,984,336        $    1,983,099        $    1,980,112
     Borrowings against investment securities                            101,345                114,875                 118,786
     Secured line of credit                                              750,000                       —                     —
     Equipment note payable                                                    992                1,266                   2,046
     Finance lease liability                                               43,505                46,917                 57,967
     Total non-funding debt                                       $     2,880,178        $    2,146,157        $    2,158,911
     Total equity                                                 $     3,171,693        $    3,392,033        $    3,171,001
      Non-funding debt to equity                                           0.91                    0.63                    0.68
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   Case   3:21-cv-00448-BJD-LLL
    This press release and our earnings call Document      102 Filed
                                             include forward-looking      08/14/23
                                                                     statements.        Page 274 ofstatements
                                                                                 These forward-looking 357 PageID
                                                                                                              are 1584
     generally identified by the use of words such as “anticipate,” “believe,” “estimate,” “expect,” “intend,” “may,” “plan,”
     “potential,” “predict” and similar words indicating that these reflect our views with respect to future events. Forward-looking
     statements in this press release and our earnings call include statements regarding: (1) our position amongst our
     competitors and ability to capture market share; (2) growth of the wholesale and broker channels, the impact of our
     strategies on such growth and the benefits to our business of such growth; (3) our growth to remain the leading mortgage
     lender, and the timing and drivers of that growth; (4) the benefits and liquidity of our MSR portfolio; (5) our beliefs related to
     the amount and timing of our dividend; (6) our “Game On” strategy and its impact on our business and industry; (7) our
     foundation and strategies for success and growth and the drivers of that growth; (8) our expectations related to production
     and margin in the first quarter of 2023; (9) our “All-In” initiative and its impact on our business and industry; (10) our
     performance in shifting market conditions and the comparison of such performance against our competitors; (11) our ability
     to produce results at or above prior levels and strategies for producing such results; (12) our position and ability to
     capitalize on opportunities and the impacts to our results; (13) our investments in technology and the impact to our
     operations and financial results; and (14) our purchase production and product mix. These statements are based on
     management’s current expectations, but are subject to risks and uncertainties, many of which are outside of our control,
     and could cause future events or results materially differ from those stated or implied in the forward-looking statements,
     including (i) UWM’s dependence on macroeconomic and U.S. residential real estate market conditions, including changes
     in U.S. monetary policies that affect interest rates; (ii) UWM’s reliance on its warehouse facilities and the risk of a decrease
     in the value of the collateral underlying certain of its facilities causing an unanticipated margin call; (iii) UWM’s ability to sell
     loans in the secondary market; (iv) UWM’s dependence on the government-sponsored entities such as Fannie Mae and
     Freddie Mac; (v) changes in the GSEs, FHA, USDA and VA guidelines or GSE and Ginnie Mae guarantees; (vi) UWM’s
     dependence on Independent Mortgage Advisors to originate mortgage loans; (vii) the risk that an increase in the value of
     the MBS UWM sells in forward markets to hedge its pipeline may result in an unanticipated margin call; (viii) UWM’s
     inability to continue to grow, or to effectively manage the growth of its loan origination volume; (ix) UWM’s ability to
     continue to attract and retain its Independent Mortgage Advisor relationships; (x) UWM’s ability to implement technological
     innovation; (xi) UWM’s ability to continue to comply with the complex state and federal laws, regulations or practices
     applicable to mortgage loan origination and servicing in general; and (xii) other risks and uncertainties indicated from time
     to time in our filings with the Securities and Exchange Commission including those under “Risk Factors” therein. With
     respect to expectations regarding the share repurchase program, the amount and timing of share repurchases will depend
     upon, among other things, market conditions, share price, liquidity targets and regulatory requirements. We wish to caution
     readers that certain important factors may have affected and could in the future affect our results and could cause actual
     results for subsequent periods to differ materially from those expressed in any forward-looking statement made by or on
     behalf of us. We undertake no obligation to update forward-looking statements to reflect events or circumstances after the
     date hereof.


     About UWM Holdings Corporation and United Wholesale Mortgage

     Headquartered in Pontiac, Michigan, UWM Holding Corporation (UWMC) is the publicly traded indirect parent of United
     Wholesale Mortgage, LLC (“UWM”). UWM is the nation’s largest home mortgage lender, despite exclusively originating
     mortgage loans through the wholesale channel. UWM has been the largest wholesale mortgage lender for eight
     consecutive years and is also the largest purchase lender in the nation. With a culture of continuous innovation of
     technology and enhanced client experience, UWM leads the market by building upon its proprietary and exclusively
     licensed technology platforms, superior service and focused partnership with the independent mortgage broker community.
     UWM originates primarily conforming and government loans across all 50 states and the District of Columbia. For more
     information, visit uwm.com or call 800-981-8898. NMLS #3038.




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   Case 3:21-cv-00448-BJD-LLL Document 102 CORPORATION
                              UWM HOLDINGS Filed 08/14/23 Page 275 of 357 PageID 1585
                                          CONSOLIDATED BALANCE SHEETS
                                 (in thousands, except shares and per share amounts)


                                                                                 December 31,          December 31,
                                                                                       2022                2021
     Assets
     Cash and cash equivalents                                                   $        704,898      $      731,088
     Mortgage loans at fair value                                                       7,134,960          16,909,901
     Derivative assets                                                                        82,869              67,356
     Investment securities at fair value, pledged                                         113,290             152,263
     Accounts receivable, net                                                             383,147             415,691
     Mortgage servicing rights                                                          4,453,261           3,314,952
     Premises and equipment, net                                                          152,477             151,687
     Operating lease right-of-use asset, net
     (includes $102,322 and $104,595 with related parties)                                104,181             104,828
     Finance lease right-of-use asset
     (includes $26,867 and $28,619 with related parties)                                      42,218              57,024
     Loans eligible for repurchase from Ginnie Mae                                        345,490             563,423
     Other assets                                                                             83,834              60,145
           Total assets                                                          $     13,600,625      $   22,528,358

     Liabilities and Equity
     Warehouse lines of credit                                                   $      6,443,992      $   15,954,938
     Derivative liabilities                                                                   49,748              36,741
     Secured line of credit                                                               750,000                     —
     Borrowings against investment securities                                             101,345             118,786
     Accounts payable, accrued expenses and other                                         439,719             523,988
     Accrued distributions and dividends payable                                          159,465                  9,171
     Senior notes                                                                       1,984,336            1,980,112
     Operating lease liability
     (includes $109,473 and $111,999 with related parties)                                111,332             112,231
     Finance lease liability
     (includes $27,857 and $29,087 with related parties)                                      43,505              57,967
     Loans eligible for repurchase from Ginnie Mae                                        345,490             563,423
           Total liabilities                                                           10,428,932          19,357,357
     Equity:
     Preferred stock, $0.0001 par value - 100,000,000 shares authorized,
     none issued and outstanding as of December 31, 2022 or 2021                                  —                   —
      Class A common stock, $0.0001 par value - 4,000,000,000 shares
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     outstanding as of December 31, 2022 and December 31, 2021,
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     respectively                                                                                 9                   9
   Case
    Class3:21-cv-00448-BJD-LLL
          B common stock, $0.0001 par Document     102 Filed
                                      value - 1,700,000,000    08/14/23 Page 276 of 357 PageID 1586
                                                            shares
     authorized, none issued and outstanding as of December 31, 2022 or
     2021                                                                                      —                —
     Class C common stock, $0.0001 par value - 1,700,000,000 shares
     authorized, none issued and outstanding as of December 31, 2022 or
     2021                                                                                      —                —
     Class D common stock, $0.0001 par value - 1,700,000,000 shares
     authorized, 1,502,069,787 shares issued and outstanding as of
     December 31, 2022 and December 31, 2021, respectively                                   150              150
     Additional paid-in capital                                                              903              437
     Retained earnings                                                                   142,500          141,805
     Non-controlling interest                                                           3,028,131        3,028,600
            Total equity                                                                3,171,693        3,171,001
              Total liabilities and equity                                       $     13,600,625   $   22,528,358




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   Case 3:21-cv-00448-BJD-LLL Document 102 CORPORATION
                              UWM HOLDINGS Filed 08/14/23 Page 277 of 357 PageID 1587
                                    CONSOLIDATED STATEMENTS OF OPERATIONS
                                (in thousands, except shares and per share amounts)


                                          For the three months ended                         For the year ended
                                                    September                          December
                                December 31,            30,           December 31,          31,        December 31,
                                      2022              2022             2021              2022           2021
     Revenue                       (Unaudited)      (Unaudited)       (Unaudited)
     Loan production
     income                    $        129,180     $    172,402 $         442,407     $    981,988 $      2,585,807
     Loan servicing income              217,225          196,781           194,976          792,072         638,738
     Change in fair value of
     mortgage servicing
     rights                            (150,808)         236,780           (138,988)        284,104         (587,813)
     Gain (loss) on sale of
     mortgage servicing
     rights                                   —                  —            2,461               —            1,791
     Interest income                    106,837           78,210           104,601          314,462         331,770
     Total revenue, net                 302,434          684,173           605,457         2,372,626       2,970,293
     Expenses
     Salaries, commissions
     and benefits                       118,266          135,028           146,697          552,886         697,680
     Direct loan production
     costs                               17,396           20,498            25,292           90,369          72,952
     Marketing, travel, and
     entertainment                       22,976           17,730            25,334           74,168          62,472
     Depreciation and
     amortization                        11,713           11,426            10,422           45,235          35,098
     General and
     administrative                      49,668           51,649            36,467          179,549         133,334
     Servicing costs                     36,809           37,596            36,200          166,024         108,967
     Interest expense                   114,918           73,136            88,772          305,987         304,656
     Other
     expense/(income)                        (54)             6,729           4,437          23,739          (23,107)
     Total expenses                     371,692          353,792           373,621         1,437,957       1,392,052
     Earnings before
     income taxes                       (69,258)         330,381           231,836          934,669        1,578,241
     Provision for income
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                                        (6,774)              cookies on your device
                                                                             (7,990)           2,811           9,841
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     Net income (loss)                  (62,484)        325,610            239,826          931,858        1,568,400
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    Net income (loss)          Document 102 Filed 08/14/23 Page 278 of 357 PageID 1588
     attributable to non-
     controlling interest                   (62,207)          313,914                222,876         890,143         1,469,955
     Net income (loss)
     attributable to UWMC $                   (277)     $       11,696 $              16,950   $      41,715 $          98,445


     Earnings per share of
     Class A common
     stock:
        Basic                     $              —      $         0.13 $                0.17   $         0.45 $            0.98
        Diluted                   $           (0.03)    $         0.13 $                0.11   $         0.45 $            0.66
     Weighted average
     shares outstanding:
        Basic                           92,575,549          92,571,886         97,138,073          92,475,170      100,881,094
        Diluted                       1,594,645,336         92,571,886     1,599,785,759           92,475,170     1,603,157,640


     Addendum to Exhibit 99.1

     This addendum includes the Company's Consolidated Balance Sheets as of December 31, 2022, and the preceding four
     quarters and Statements of Operations for the quarter ended December 31, 2022, and the preceding four quarters for
     purposes of providing historical quarterly trending information to investors.




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                               Document 102BALANCE
                                             Filed 08/14/23
                                                     SHEETS Page 279 of 357 PageID 1589
                                 (in thousands, except shares and per share amounts)


                                        December         September                                           December
                                             31,             30,              June 30,       March 31,             31,
                                            2022             2022              2022              2022             2021
     Assets                                             (Unaudited)      (Unaudited)         (Unaudited)
     Cash and cash equivalents          $    704,898     $    799,534     $      958,656     $    901,174    $     731,088
     Mortgage loans at fair value           7,134,960        5,031,068         5,022,806         4,824,165       16,909,901
     Derivative assets                        82,869          385,348            125,079          241,932           67,356
     Investment securities at fair
     value, pledged                          113,290          115,079            125,193          138,417          152,263
     Accounts receivable, net                383,147          556,153            350,090          617,608          415,691
     Mortgage servicing rights              4,453,261        4,305,686         3,736,359         3,514,102        3,314,952
     Premises and equipment, net             152,477          152,172            153,971          151,206          151,687
     Operating lease right-of-use
     asset, net                              104,181          101,377            102,533          103,670          104,828
     Finance lease right-of-use
     asset                                    42,218            45,667            50,179           53,857           57,024
     Loans eligible for repurchase
     from Ginnie Mae                         345,490          310,149            309,577          384,002          563,423
     Other assets                             83,834            87,850            82,467           60,820           60,145
     Total assets                       $13,600,625      $ 11,890,083     $ 11,016,910       $ 10,990,953    $22,528,358

     Liabilities and Equity
     Warehouse lines of credit          $ 6,443,992      $ 4,712,719      $ 4,497,353        $ 4,076,829     $15,954,938
     Derivative liabilities                   49,748          215,330             93,958          115,430           36,741
     Secured line of credit                  750,000                —                    —               —               —
     Borrowings against investment
     securities                              101,345          114,875            118,786          118,786          118,786
     Accounts payable, accrued
     expenses and other                      439,719          846,905            470,589          823,143          523,988
     Accrued distributions and
     dividends payable                       159,465          159,465            159,461          159,460             9,171
     Senior notes                           1,984,336        1,983,099         1,982,103         1,981,106        1,980,112
     Operating lease liability               111,332          108,591            109,811          111,010          112,231
     Finance lease liability                  43,505            46,917            51,370           54,945           57,967
     Loans eligible for repurchase
     from Ginnie Mae                         345,490          310,149            309,577          384,002          563,423
      Total liabilities                    10,428,932          8,498,050       7,793,008         7,824,711       19,357,357
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    Preferred stock, $0.0001 par Document 102 Filed 08/14/23 Page 280 of 357 PageID 1590
     value - 100,000,000 shares
     authorized, none issued and
     outstanding as of December
     31, 2022 or 2021                              —                —                   —             —              —
     Class A common stock,
     $0.0001 par value -
     4,000,000,000 shares
     authorized, 92,575,974 and
     91,612,305 shares issued and
     outstanding as of December
     31, 2022 and December 31,
     2021, respectively                             9                 9                  9             9             9
     Class B common stock,
     $0.0001 par value -
     1,700,000,000 shares
     authorized, none issued and
     outstanding as of December
     31, 2022 or 2021                              —                —                   —             —              —
     Class C common stock,
     $0.0001 par value -
     1,700,000,000 shares
     authorized, none issued and
     outstanding as of December
     31, 2022 or 2021                              —                —                   —             —              —
     Class D common stock,
     $0.0001 par value -
     1,700,000,000 shares
     authorized, 1,502,069,787
     shares issued and outstanding
     as of December 31, 2022 and
     December 31, 2021                            150              150                 150           150           150
     Additional paid-in capital                   903              784                 669           542           437
     Retained earnings                       142,500          141,194          137,955           138,834       141,805
     Non-controlling interest              3,028,131        3,249,896         3,085,119         3,026,707     3,028,600
     Total equity                          3,171,693        3,392,033        3,223,902          3,166,242     3,171,001
     Total liabilities and equity       $13,600,625      $ 11,890,083     $ 11,016,910       $ 10,990,953   $22,528,358




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                         CONSOLIDATED   102 Filed OF
                                      STATEMENTS  08/14/23 Page 281 of 357 PageID 1591
                                                     OPERATIONS
                                 (in thousands, except shares and per share amounts)
                                                         (Unaudited)


                                                               For the three months ended
                                 December 31,       September          June 30,            March 31,        December 31,
                                      2022               30,             2022                2022               2021
                                                         2022
     Revenue
     Loan production income $           129,180      $    172,402    $    296,535      $       383,871      $    442,407
     Loan servicing income              217,225           196,781         179,501              198,565           194,976
     Change in fair value of
     mortgage servicing
     rights                            (150,808)          236,780          26,169              171,963           (138,988)
     Gain (loss) on sale of
     mortgage servicing
     rights                                   —                  —                —                    —            2,461
     Interest income                    106,837            78,210          62,020               67,395           104,601
     Total revenue, net                 302,434           684,173         564,225              821,794           605,457
     Expenses
     Salaries, commissions
     and benefits                       118,266           135,028         138,983              160,609           146,697
     Direct loan production
     costs                               17,396            20,498          25,757               26,718            25,292
     Marketing, travel, and
     entertainment                       22,976            17,730          20,625               12,837            25,334
     Depreciation and
     amortization                         11,713           11,426          11,181               10,915            10,422
     General and
     administrative                      49,668            51,649          39,909               38,323            36,467
     Servicing costs                     36,809            37,596          44,435               47,184            36,200
     Interest expense                   114,918            73,136          57,559               60,374            88,772
     Other expense/(income)                  (54)           6,729           9,562                   7,502           4,437
     Total expenses                     371,692           353,792         348,011              364,462           373,621
     Earnings before
     income taxes                        (69,258)         330,381         216,214              457,332           231,836
     Provision for income
     taxes                                (6,774)           4,771               769                 4,045          (7,990)
      Net income (loss)                  (62,484)         325,610         215,445              453,287           239,826
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     controlling interest                (62,207)        313,914         207,079               431,357           222,876
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    Net income (loss)          Document 102 Filed 08/14/23 Page 282 of 357 PageID 1592
     attributable to UWMC       $           (277)    $       11,696   $        8,366   $         21,930    $         16,950


     Earnings per share of
     Class A common
     stock:
        Basic                   $             —      $         0.13   $         0.09   $            0.24   $            0.17
        Diluted                 $           (0.03)   $         0.13   $         0.09   $            0.22   $            0.11
     Weighted average
     shares outstanding:
        Basic                         92,575,549         92,571,886       92,533,620         92,214,594          97,138,073
        Diluted                     1,594,645,336        92,571,886       92,533,620       1,594,284,381       1,599,785,759




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                             BUSINESS


Q&A: Mat Ishbia, United Wholesale
Mortgage CEO, on Gilbert, Rocket and
the Phoenix Suns
John Niyo and Breana Noble The Detroit News
Published 11:00 p.m. ET Feb. 25, 2023        Updated 12:03 a.m. ET Feb. 26, 2023




Key Points
      On the Phoenix Suns: "I'm not sitting here planning to win. We’re gonna go try to win right now. And then we'll try
      to win again next year, and then we'll try to win the year after that."
      On Rocket: "Rocket Mortgage doesn't do the right thing. They're not run well. And Dan Gilbert knows I think that."

      On Gilbert: "You guys saw what a class act that was. You know his character. It was public."




Note: Q&A is a Sunday feature on detroitnews.com. If you'd like to recommend a subject,
email Special Projects Editor Kelley Root at kroot@detroitnews.com.

Mat Ishbia is as persistent as he is impatient.

That’s evident in the Detroit-area native’s success in the business world, where he turned his
father’s small business into the nation’s No. 1 mortgage lender as CEO of United Wholesale
Mortgage. It likely plays a role in the 43-year-old’s roiling rivalry with fellow Detroit
billionaire Dan Gilbert and his Rocket Cos. Inc., as well. And it helps explain how Ishbia, a
former walk-on for Tom Izzo’s 2000 national championship team at Michigan State,
managed to fast-track his pursuit of a professional sports franchise, culminating in the
record $2.28 billion purchase of a majority interest in the NBA’s Phoenix Suns and WNBA’s
Phoenix Mercury.

The News sat down with Ishbia recently to discuss the Suns, the Kevin Durant trade and his
competition with Rocket and Gilbert. (The transcript has been edited for clarity and length.)

Question: Your brother told a story at your introductory press conference with
the Suns, joking about how he realized before you did that you weren’t going to
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be NBA players. But the point of his story was about your persistence. How did
that translate for you in business, and also with your pursuit of a pro sports
team?

Answer: Yeah, maybe it’s the thought of not really knowing that I wasn't able to be good
enough to be there. So with the work ethic, and the grind, I didn't let anyone else take away
my dream. I had the dream of becoming an NBA player, and I was gonna work extremely
hard. And to my parents’ credit, and even my older brother, they didn't tell me I couldn't do
it. They just said, ‘OK, keep going out there and practice all day.’ But that was my mindset.

And that's the same thing here in the mortgage business at UWM. No one said you couldn't
be the largest mortgage company in America. They just said, ‘OK, have fun with that.' You
know, like, there's Wells (Fargo) and there's Chase and all these big companies out there.
How are you gonna pass them, or pass Rocket Mortgage? So a little bit of that is believing in
myself and no one telling me I couldn't, and then it's working hard to accomplish that goal.

Q: When you finished at Michigan State, did you think about getting into the
sports business? (Ishbia graduated from MSU's Eli Broad College of Business in
2003.)

A: No, I was planning on going into coaching. I was gonna be a coach. I got offered a job and
ended up coming to my father's little mortgage company instead. And I’m happy I did, happy
it worked out. But sports had been my whole life. So of course I was going to stay in sports. I
didn't know what a mortgage was. I wasn't thinking about going into mortgages. I didn't even
know my dad had a mortgage company. My dad's a lawyer, he just had a small little company
on the side, just like he had a couple other little companies. So my (original) thought was
basketball, basketball, basketball ... and then I went into mortgages. And now I’ve got a way
to get back into basketball.

Q: When did this way back into basketball become a reality in your mind, not
just a far-fetched thought?

A: Maybe 5-6 years ago. Probably in 2016 or ’17, I started realizing, ‘Gosh, we're pretty
successful here at UWM.’ I’ve got a great team of people. Could one day, in 15-20 years, a guy
buy an NBA team? That started to cross my mind, like, maybe it's possible? Teams kept going
up in value quicker than I expected. But then I started making more money quicker than
maybe I had expected, too, and here at UWM we grew faster than expected. And so we were
able to catch up to that opportunity.

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Q: The process of buying a team, how much work went into that, once you
realized it was a realistic goal?

A: A lot of work, because it's not just like, ‘Oh, there's something for sale, let’s go buy it.’
There's only 30 NBA teams in the world, right? And 20 of them are never going to sell,
because that’s just the way it is. They’re owned by families and it’s just generational. So
there's 10 that maybe will sell and Phoenix wasn't one that we thought would sell until
obviously what happened. (Last September, the NBA suspended owner Robert Sarver for one
year and fined him $10 million after a lengthy investigation found he’d fostered a toxic
workplace environment with the Suns.) And so as soon as it became available, that was the
target.

I looked at the Denver Broncos. (The Ishbias were among a handful of serious bidders for the
NFL franchise, which was sold to an ownership group headed by Walmart heir Rob Walton
for $4.65 billion in January.) And I learned a lot through that bidding process, knowing that
it was really slotted to Rob Walton a little bit. Not that it was slotted … I'll just say he was the
frontrunner, and I was in there for the opportunity. And I learned so much going through
that process that it prepared me to know how to go get this team.

But it was also years of legwork. Meeting other NBA owners, spending time with the
commissioner, finding out (and) learning about the process, flying around the country to
spend time with different people, getting on Zoom meetings. Having dinners with NFL and
NBA owners to just learn, one, is this possible; and two, is this what I really want to do with
my time outside of UWM? And so it was a long process. It was a lot more complex than
people recognize or realize. But I'm really excited that we got all the way to the finish line.

Q: What did you learn that surprised you in all that fact-finding you did?

A: You know, what was really great was how welcoming they were. The NBA owners probably
get people saying they want to buy a team all the time. But they were all welcoming, friendly,
and encouraged me. And they look at it as a partnership, not just like, ‘Oh, I'm coming in to
compete with this guy.’ It's like, ‘Hey, the 30 of us are partners, we work together as a team.’

For the 48 minutes we play on the court, we want to beat them, they want to beat us. But
after the game, it's like, ‘How are you doing on ticket sales?’ ‘Hey, I got this new sponsorship:
Have you done this?’ ‘You should talk to this guy or gal.’ And so that's been pretty eye-
opening, in a positive way.


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Q: You mentioned the Broncos, and the (NFL’s Washington) Commanders also
have come up for sale. Were there other attempts that you made that maybe
never went anywhere?

A: So the Commanders was never really a thing. It was just someone asked me (for) a quote
and I just said, ‘I'm always interested.’ The Denver Broncos was a thing. I knew I was coming
in behind the 8-ball on that opportunity. But I knew I could learn a lot and kind of get myself
into the mix, so that people knew I wasn't just another guy out there wanting to buy a team.
And so that was really helpful. And Roger Goodell, the NFL, everyone was first-class with
that as well. It was a great opportunity.

But no, there really weren't a bunch of (other opportunities) … like outside of my hometown
teams, which aren't for sale, right? It's like, ‘Where would you want to buy?’ And, you know,
when I (made) that list, Phoenix was the list. I have another place in Florida, so it’s like,
could Miami or Phoenix be the two options? Miami's never selling, I knew that. So Phoenix
was the option. And when it came up, it was, ‘How could this come up right now? What a
perfect time.’ This is the one I wanted, and it had a WNBA team, which is something I
wanted as well. I had already looked into how could I get involved with the WNBA in
addition to an NBA team, so this was perfect. I got the WNBA and NBA team together in one
location, one place. And Phoenix isn't a bad place to spend a little time in the winter.

Q: You mentioned the hometown teams aren't for sale. How much did you look
into the possibility of that changing at some point, or waiting for it to change?

A: So I'm not that patient. And I'm not patient (about) waiting on if something happens. I'm
patient if I know something's going to happen. But you know, for example, the Fords (with
the Lions), and the Pistons and Tom Gores, they love being an owner. Part of me, it excited
me more knowing that they love it so much. It's like, ‘Gosh, you see why they're so hard to
get: Nobody wants to sell ’em.' Because they love it. It's not about, ‘Hey, just give me more
money,’ and I'll buy it. That’s not how it works. And so it kind of excites me a little more
about being an NBA owner, or potentially one day an NFL owner, too, that they love it so
much.

The Fords have always been nothing but first class with me. Tom Gores, same thing. They
were helping me with my pursuit of the other teams, and were nothing but friendly and
positive. And same thing with Chris Ilitch locally, too. He has become a friend as well. I'm
not as much a baseball or hockey person, but I learned a lot from Chris, and he's been great
to work with.
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Q: In those conversations with other owners, what are the things you learned?
Maybe about what I don't want to do if and when I get this opportunity?

A: Well, you know, I think every owner handles it differently. So you know, Chris Ilitch
obviously lives in town, is very hands-on and involved with everything and does a great job
with that. I learned that from a baseball/hockey world. You know, the Fords, it’s the same
thing. Sheila (Hamp) is here, she goes to the office, I understand that. Tom (Gores) is distant,
he's not here, but he's still involved. And so you kind of learn a little bit about what each
does. And then I’ve got to make it my own. You know, I've talked to a lot of the owners from
other NFL, NBA teams … and heard their perspective on things that they liked doing, what
they enjoy about being an owner. What's the one thing they would have done differently
when they bought a team than they did? What's some advice they’d give me? What’s the one
thing you would never do? I've asked a lot of these questions, and kind of put together kind of
what I think and then I put my own spin to it.

This is just like in the mortgage business: I'm a little different than others. I do things my
own way. But I take other people's guidance and ideas and apply my way of doing things.
And so it has been extremely helpful meeting all these owners. Not just the ones that are
local, but throughout the country they have been so great to me.

Q: You didn't waste any time with the trade deadline. (The Suns made a
blockbuster deal Feb. 9 to acquire former NBA MVP Kevin Durant from the
Brooklyn Nets.) You sort of put your imprint on this right away.

A: Yeah, I mean, so Kevin Durant's one of the best players in the world, right? And the reality
is, you guys know me around here, I'm not much of a patient person. I’m not gonna sit there
and say, ‘Well, let's develop over the next 5-7 years. Like, I'm not planning to win. We're
gonna go try to win. And I had an opportunity to get Kevin Durant, along with Devin Booker,
Chris Paul and DeAndre Ayton — and I’m not gonna mention every name, but I have a lot of
other great players that people don't even know the names as well on the team, and so … how
could I not take advantage of the opportunity? So we gave up a couple guys that we really
liked, which, that's part of the deal. But I'm not sitting here planning to win. We’re gonna go
try to win right now. And then we'll try to win again next year, and then we'll try to win the
year after that. And we're gonna try to compete at the highest level, just like I do in the
mortgage business.

It’s not sitting there with a nine-year plan to become the No. 1 mortgage lender. I'm gonna
outwork everyone every day and do my best to put us in position to be successful in the
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mortgage business. And I'm gonna try to do that in basketball as well. So without question, I
knew what I was going to do when that opportunity came. I didn’t know if it was gonna be
Kevin Durant or something else, but we were going to try to upgrade our team to be
competitive now. And we already had a great team, by the way. We were a top team out there
in the West. But getting Kevin Durant is something different.

Q: That's a trade that could have happened last summer. They talked, but it
didn't go very far. What changed?

A: Well, we wanted Kevin Durant, you know? And I wanted Kevin Durant on our team. Devin
Booker and Kevin Durant are two of the top 10 players in the NBA, and you got Chris Paul
leading ‘em, we got a great team We’ve got a young guy in DeAndre Ayton. And so the way I
looked at is, I’m not planning to win, we're gonna go try to win. And we might not win, right?
That's gonna happen. Someone could get hurt. Something can happen on our team. And
there's 29 other amazing owners out there that are working hard to try to win every single
year, too. But we're going to compete and, like I said, I'm not going to back down, or wait and
think about it. Like if there's an opportunity to go and be aggressive and be successful, we're
going to. And a lot of times, other people focus on money and how much this is going to cost
in the luxury tax and these things. Money follows success. I'm not a person focused on
money. I'm focused on going and winning, being successful. Create an amazing fan
experience. Do great things in the community. Win. And guess what? Money will follow.
Right? I'm not focused on money. Money has never driven me. It's never been my focus.
Winning and being successful has been the focus. And usually when you do those things.
money will follow.

Q: You mentioned the luxury tax. It's viewed as a barrier by some, but maybe
not so much by you?

A: It's something to be conscious of, and it's very expensive. You’re writing a big check. But
how much is that smile on the 12-year-old kid’s face worth? How excited can the city of
Phoenix be if we win a championship? How does it make Devin Booker's career better — or
Chris Paul's — getting Kevin Durant next to them? Like, how do you measure those things?
I'm not big on ROI (return on investment): ‘You spent this money, what’d you get for it?’ This
is the right thing to do. Without question, it’s the right thing to do. James Jones, our general
manager, was completely supportive. He wanted to do it. We made the decision as a team,
and it's the right decision for our team. And now how the outcome goes, we're gonna find
out. I’m gonna be watching just like you. I can’t go out there and play. I’m not any good. So

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we're gonna watch it. But it was the right decision, without any question, and it's exactly my
style of how I do things.

Q: You showed up, got introduced as owner, and then you guys went to work,
with calls back and forth. What was that whole process like for you?

A: Well, it was a lot of fun. A lot of fun. The process started before that day. The NBA was
good: I had the ability to control some things prior to closing. So it wasn't like it just all came
together Wednesday. I was working on it, and we were working on the opportunity for a little
while before that.

But it's so much fun sitting there looking at salary caps, understanding players, talking to the
general manager, understanding how they think of different players — outside of our team,
within our team — and understanding the NBA. I understand basketball a little bit, so I feel
like I could be a little more helpful in those conversations than maybe some other owners
that had never played or maybe are not involved as well. But I'm in the weeds. It's just like
anything. It’s not like I sat there like, ‘Hey, just call me and let me know how it goes.’ I was
involved with every detail of it.

Q: And then when it's finally done, what's the celebration like?

A: It was late at night. I got a bunch of texts and I tried to fall asleep. But, you know, working
with James Jones and (Suns VP) Ryan (Resch) … going through the details — and my brother
was involved, so talking to him to get his perspective — it was a lot of fun figuring that out
together as a team and making a decision as a team. Some people were 99% or 100%, let’s do
it. Let's do it. Some people were 50-50 or 60-40, and (we were) all talking through it together
and then making a decision and walking out the door saying, ‘We're doing this.’

Q: What’s Tom Izzo’s response? Did you call him for advice?

A: I didn't talk to him before the trade, but we texted after and I talked to him this morning
again. You know, he's a great mentor. He knows basketball inside and out, But in these
trades — and not that Izzo is somebody I’d worry about — but just in general, like, you can't
tell anybody. As soon as one person hears I’m talking to (Nets owner) Joe Tsai about Kevin
Durant, it would be all over social media within minutes. So I had to keep it extremely tight. I
didn't call anybody outside of our inner circle there about advice on it. No one could know
what was going on. Because that can that can knock the deal off. And so it was very quiet. But
I talked to Izzo about the deal after, talked to him again today, and he's really excited about it
and excited about what we got out there in Phoenix.
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Q: So Jerry Colangelo (the Hall of Fame former GM of the Suns) was on the
radio the other day and called you a “breath of fresh air” for the franchise and
its fans. What does that mean to you, and how do you see yourself changing
things there?

A: It’s great. I mean, Jerry Colangelo was a legend out there in Phoenix, and really
throughout basketball. I got to have lunch with him a couple of weeks ago when I was out
there and heard his stories and what he went through and a little bit about the Phoenix Suns’
history. Which is important, (because) in order to take someplace into the future, you’ve got
to understand where it came from. So I spent a lot of time with him on that. I really enjoy my
relationship with him and look forward to continuing it going forward. Him saying confident,
positive words means a lot to me, and I think it means a lot to the fans out there, because
everyone reveres him in such a positive way.

Q: You mentioned Tom Gores owning the Pistons while living elsewhere. How
are you going to juggle all this?

A: One day at a time in balancing it. You know, I took the pressure off myself (by saying) I
don't have to be at every game. So if I get to 15-20 home games and 10 road games — the
games that are in Indiana or Milwaukee or Chicago or wherever it may be, and obviously the
ones in Detroit — I can balance it. You know, it's more than just going to the games. There's
work in the office, It's trying to change the culture in a positive way. Spending time with the
people in Phoenix with the Mercury and the Suns. So, yeah, I'll balance it one day at a time. I
love, love, love UWM and what I do here, That's not changing. I'm the CEO and chairman of
this place. And that's not changing anytime soon. I love it. And so my time here will be
consistent. And then how do I figure out time (in Phoenix). More of a balancing act is with
my three kids. I flew back late Saturday night, (deciding) not to stay for the Super Bowl while
it was in Phoenix, because I had three games to coach with my sons and my daughter
(Sunday, Feb. 12) in Michigan. So I prioritize my kids, I prioritize UWM and the Phoenix
Suns and Mercury all together. And I'll make sure I can balance it.”

Q: You talked about building the culture, and putting your imprint on things
there. Is that harder to do from a distance? Do you have people here that you’re
planning on bringing with you to Phoenix?

A: I'm gonna listen, learn, figure out what's going on first. No one from UWM is going out
there. UWM is its own entity and own company that's focused on dominating the mortgage
world. Being the No. 1 mortgage company, it's a lot of work to stay there and continue to win.
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And so we're gonna keep doing that at UWM. So nobody's leaving UWM to go out there, just
like I'm not leaving UWM to go out there. But will I find people that can relate? Will I have
my awesome chief marketing officer from Michigan giving advice to the one in Phoenix, and
vice versa? I'm sure we can trade notes and help each other out. But we're not moving
anybody out there. UWM is UWM, and it’s UWM strong the way it is. And the Phoenix Suns
and Mercury, we'll figure it out. I'll spend time, I'll evaluate, I'll get the right people. They’ll
understand the culture. We’ll get the Phoenix Suns and Mercury leadership out to UWM.
They can walk through here and see how it is. And we'll start to collaborate as a team and use
each other's resources. But that's kind of where I’m starting.

Q: Do you see this newfound presence in Phoenix as advantageous for UWM
itself?

A: Absolutely. It's great. The Arizona market in general was one of UWM's best markets. We
have some of our top clients in the country out there. Being able to be out there and spend
time with them a little bit more when I'm out there, or I go to a game, I bring one of them
with me. That's all positive stuff, working with the mortgage brokers and elevating the broker
channel. This puts the broker channel just like going public elevated the broker channel,
owning the Suns and Mercury will elevate the broker channel. And so we're excited about
that opportunity. I think it will help UWM and maybe do events out at Phoenix Suns or
Mercury games, right? Can we do different things? Possibly we can. Maybe I have in, maybe
one of these players can speak at a mortgage event sometime. All positives. There's nothing
negative to the broker channel or UWM.

Q: UWM made a lot of revenue ($925 million) from going public, how did that
contribute to becoming the No. 1 largest mortgage lender in America?

A: Well, going public helped UWM in many ways to become the No. 1 overall lender in the
country. First, it put mortgage brokers on the map. It helped elevate UWM's brand. It helped
elevate UWM's name throughout the industry. At the same time, it gave us access to
liquidity, access to things that we didn't have as a private company, which I was able to with
my leadership team here use in the right way to catapult our growth even more. That's how
we became the No. 1 mortgage company in the country. We've been No. 1 in wholesale for
eight straight years, and now the No. 1 overall lender, and so that's been a process. Not it's
like, not only do we have to maintain, we have to continue to excel and build our business,
not just for the refi market, but for the purchase market, which obviously went in our
direction, because rates went up, and so the (loan refinancings) have slowed down, and the
purchase market is the game right now.
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Q: When you talk about the liquidity obtained and using it "the right way," what
specifically was the right way?

A: Well, just investments, right? How do you invest in our people? A lot of other places have
money, but they laid off people. We don't lay off people. I invested in our people. A lot of
people spend money on buying tech. We invested it in our tech by building our tech with our
people, and so investing our money, rather than spending our money, or saving our money is
the difference. And so, having that liquidity, having access to capital that we just didn't have
as a private company. We didn't have any other investors. This is just me, my brother, my
dad. It's really hard to build a company of this size without any outside capital, and we were
able to do that now bringing in a little bit of capital to the company that could help catapult
our growing, and it did.

Q: We've seen other lenders in the market offer layoffs and buyouts, because of
the shape the market is in. Obviously, UWM's workforce has shrunk (to 7,000
from more than 8,000 a year ago). How were you able to stave off those
decisions of taking actions to reduce the workforce?

A: Because we're a family company. You don't lay off your family. You don't lay off your
brother, your cousin, your sister. You take care of family. Companies that lay off people,
sometimes they have to. I understand that, but it's not who we are. At UWM, we'll never do
that. And so, yeah, we have less people, because I used to hire 400 or 500 people a month.
Now, I hire 80 to 100 people a month, and naturally, if a lot of people, a couple hundred
people leave a month, and you only hire 80, your team member count goes down. If you hire
500, it goes up, and so it's just a balance. The way we look at it is, we take care of our family,
we take care of our people here. Our people are our greatest asset. Rule No. 1: We will never
lay people off. We don't offer buyouts. That's just a fancy word for layoff. They're laying
people off and saying if you don't do this — that's what other companies are doing. That's
fine. That's what they decide. I don't believe in it. I think that's the owner and CEO's job to
make sure you don't have to lay people off. And I'm not frowning upon other companies that
have to do that, because they have to do it sometimes, but we make sure we don't have to,
and we won't here at UWM.

Q: Having 100 people leave per month, that's not a concerning statistic?

A: Not at all when you have 7,000, 8,000, 9,000. Just do the math. A hundred actually is
low. I've got 50 people a month who move to relocate out of state. People have babies. People
get married. People move out of town. That's not a concerning stat at all. Zero concern. It's
https://www.detroitnews.com/story/business/2023/02/25/mat-ishbia-united-wholesale-mortgage-on-suns-rocket-gilbert/69903934007/       10/14
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just managing how many people we need at the company, and hiring continuously, which we
do. We hired 100 people last month. We'll hire another 100 people this month, just hiring the
right people with the right jobs. At the same time, developing our team members to become
the best version of themselves.

Q: You have been vocal about actions taken by competitor Rocket Mortgage with
respect to their offering of buyouts, and you've taken steps like the "All In"
initiative. Can you speak to being so vocal in that competitive nature against a
leading competitor like that?

A: Rocket Mortgage doesn't do the right thing. They're not run well. And (Rocket founder
and chairman) Dan Gilbert knows I think that. They know I think that. I think that’s why
they let their CEO go (on Feb. 13). I think they’ve struggled for a while. My opinion is my
opinion, and I’m very positive and confident in my opinion that it’s accurate, that Rocket
Mortgage doesn’t do the right thing by their people. They run a really good business. They’ve
been profitable and successful. I’m not going to not comment on that. I’m not going to say
negative things about that. They've been successful. But they don’t take care of their people,
and when they try to say that they do like UWM, it frustrates me. And then they lay off
thousands of people when they’ve made $1 billion in a quarter. It’s just not the right thing to
do. I’ve been vocal with it. You guys know my opinion of Dan Gilbert and Rocket Mortgage.
That’s not going to change. Just keeping it real. (Editor's note: Rocket recorded net income
of $1 billion in Q1 of 2021 and offered two rounds of buyouts that year that reduced its
workforce by 6,000.)

Q: Was there reason for (the Gilbert-owned Cleveland Cavaliers) to abstain
from that vote (by the NBA Board of Governors on Ishbia's purchase of the
Suns)?

A: I'm sure there were reasons. You guys always wonder what I think about him. You guys
saw what a class act that was. You know his character. It was public. It's public now, so it
made me happy to see it, because it was not a surprise at all.

Q: What are your thoughts on the initiative being called the "Bully Shield"
response to the All In plan?

A: It's Rocket Mortgage silliness. When they're losing, they like to just keep complaining
about things. Two years ago, we came out with the All In initiative. You guys reported on it.
What did they tell you? 'This is so great for Rocket. They're growing to grow. All the brokers
are going to choose them.' That's what they told you. Then what happened? Two years later,
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now they're coming up with new things. 'I can't believe this happened. This is not fair.' The
thing is, we do what's best for brokers. We always will at UWM. We always will. Brokers love
working with UWM, because we take care of them. We're partners. The Bully Shield? There's
no penalty. They're so focused on, 'Oh, there's a fine.' How much have we collected from
brokers? $0. There's no fine. The penalty for working with Rocket and UWM is you don't get
to work with UWM. And nobody is willing to take that chance. That's what Rocket doesn't
understand. They do understand it. They just like to market it and spin it, so you ask
questions like that, which make people feel good. But it's very clear, and we enjoy beating
them, and we'll continue to beat them until rates drop, and they'll be happy and tell you how
good they did when rates drop again.

(Editor's note: A UWM spokesperson clarified that UWM requires brokers to pay at least
$50,000 or $5,000 per loan submitted to Rocket, whichever is greater. Brokers can stop
working with UWM at any time without penalty.)

Q: Don't you have three court cases and litigation against brokers who had
signed the addendum and continued to submit mortgages to Rocket?

A: Yeah, they no longer work with UWM. That's the penalty. Once you have brokers that
don't work UWM, they lose out. That's why of the 12,000 brokers, 11,500 all stayed with
UWM. And then since then, a couple hundred more have joined in with UWM that stayed
with Rocket. It's not because I'm better looking or I'm nicer, it's because we're a better
mortgage company, and everyone knows that in the mortgage industry.

(Editor's notes: UWM is seeking $2.8 million from America’s Moneyline Inc., $310,000
from Mid Valley Funding & Inv. Inc. and $110,000 from Kevron Investments Inc., which
does business as Westlake Mortgage Group. UWM's original ultimatum had March 15,
2020, as the deadline. By then, it had 10,400 confirmed broker partners, down from 12,000
after 300 brokers declined to accept the addendum and others didn’t respond. Today, the
company has approximately 12,000 brokers.)

Q: Overall, how would you say the result of the All In initiative has come from
it?

A: What do you think? When we announced the initiative, they were more than twice my size
overall, not wholesale, overall. Now I'm bigger than them at UWM. So, how do you think it
worked? Do you think Jay Farner's spinning nonsense was right? Do you think that Dan
Gilbert's crying was right? Or was what I told you was going to happen happened? Because
we take care of our brokers. It's not about UWM. It's about the broker channel. We've been
https://www.detroitnews.com/story/business/2023/02/25/mat-ishbia-united-wholesale-mortgage-on-suns-rocket-gilbert/69903934007/       12/14
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very consistent with that all the way through, and everything I told you guys would happen
has happened. Eventually, you'll start to believe what we say rather than the rhetoric that
Dan and Rocket likes to spin out there all the time, the Bully Shield, and all these silly things.
It's not what's real.

Q: Obviously mortgages are a significant financial step for a lot of people. It's
the largest purchase that somebody will make in their lifetime. Given the
rhetoric we're seeing between you guys, what is the message that's sending to
folks who are looking to purchase a mortgage?

A: Hopefully it sends them a message to shop for their mortgage. The average consumer that
goes through a broker saves $9,400 versus going through a big bank or Rocket Mortgage-
type company. $9,400. If they pay attention to nothing else I’ve said, how does that not get
written? 'Cause Rocket pays you guys enough marketing? How does that not get written?
$9,400 cheaper. That's not my data. Government data. $9,400 cheaper for a consumer to go
through a mortgage broker. Like, all day. It's better for the consumer. I think it's great that
we're competing, and that people know about it. The more notoriety it creates, the more
people realize you should go to FindAMortgageBroker.com, a local mortgage broker. And do
you know what happens? They end up saving a lot of money for their family. We just did
good work for the people across America.

Q: UWM's stock is currently trading at less than half of the $10 of the original
(special-purpose acquisition company) level. Is there a timeline for when
investors can expect to see that valuation rise, or how you are looking at
targeting that?

A: You know, I pay zero attention to the stock price. The stock price will follow our success.
The stock price gets pushed down by the market sometimes. I know a lot of stocks are down.
Definitely mortgage-related stocks are down. Money follows success. We're going to keep
winning every day. We're the largest mortgage company. We're profitable. We're successful.
In one of the worst years in history, we made about $1 billion. I think we're doing OK. The
shareholders now are getting an amazing dividend. So, I think that they like that the stock
price is I don't know what it is, $4, $4.50, whatever the number is they get a 40-cent (yearly)
dividend, which is about 10%, which you can't get that money anywhere. People love it.
People are buying it, and they're happy. When the stock price follows our success, and it goes
to $8, $10, $12, $14 in the next two, three, four years, it will. But I don't pay any attention to
it. My job is to dominate every day at UWM, take care of our team members, take care of our

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clients, take care of our shareholders. Money will follow. We're focused on winning and
success right now.

Q: One of the things analysts have said that is challenging the valuation is that
institutional investors are more hesitant to invest, given the amount of stock
available is so small, and it makes it more of a day-trading stock. Is there any
plan to address that?

A: You're exactly right. Most people don't understand that is why the stock has not done as
well. There's not enough float is what they call it. The problem with that is I am the one that
has all the other shares. And I am not willing to sell them at this price. I was barely willing to
sell them at $100 a share. I'm not willing to sell at this price. I understand that if I sell some,
it will create a positive where institutional investors can come in and invest and put money
in, and then that will raise the price up, but I don't need any money right now. For me to sell
shares at $4 or $5 or wherever it's at doesn't make financial sense for me, and I know where
this company is going. I run it every day, all day every day. I know the stock price is going to
be $10, $12, $14 in a couple years. I know it. We're going to keep dominating, winning,
building our business, making a lot of money, so at that point, I'll sell shares. Maybe they'll
talk me into doing it a little bit sooner than that, but definitely not at $4.

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     1                    IN THE UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
     2                        JACKSONVILLE DIVISION

     3                               CASE NO. 3:21-CV-00448

     4
            THE OKAVAGE GROUP, LLC,
     5      on behalf of itself and
            all others similarly
     6      situated,

     7                 Plaintiff,

     8           v.

     9      UWM HOLDINGS CORPORATION and
            MAT ISHBIA, individually,
    10
                      Defendants.
    11                                          /

    12

    13

    14                  TRANSCRIPTION OF FACEBOOK LIVE VIDEO

    15                               March 4, 2021

    16

    17
                  Transcribed by Mary Ann Collier, a Court
    18      Reporter and Notary Public for the State of Florida.

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     1                   Hi there.    I'm Mat Ishbia, president and CEO

     2           of UWM.     Welcome to Facebook Live.         Thanks for

     3           being here with us.        We're so excited to have you

     4           join.     We've got some big announcements.

     5                   I've got a couple of big things I'm excited

     6           to tell you about, state of the industry, a new

     7           jumbo loan and even more.          But before I wanted to

     8           just say thank you.        Proud to be part of the

     9           family, the broker family.          I'm all in with you

    10           guys; you're all in with us.           I'm proud to be

    11           part of it and excited about our future together

    12           as a team, as a family.

    13                   Now, as you guys know, I'm out there as much

    14           as possible, broker family.          Faster, easier,

    15           cheaper.     We're all in for mortgage brokers,

    16           helping independent mortgage companies succeed,

    17           whether it's the national press or on national

    18           television, or, you know, I'm always put out,

    19           findamortgagebroker.com, help the brokers win,

    20           brokers are best for consumers, brokers are best

    21           for realtors.       Super Bowl commercial.        We did

    22           that.     Helped you grow.      We're all in.       There's

    23           no other way to say it.         You know, educating

    24           realtors and consumers.         We're helping them

    25           realize that you're the best place to go, the


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     1           independent mortgage companies, the mortgage

     2           brokers.

     3                 And so our goal, my goal, 33 percent mortgage

     4           broker market share by 2025.           Right now it's

     5           anywhere between 17 and 22 percent, depending on

     6           what numbers you look at.          But brokers are

     7           growing and we're gonna to grow together as a

     8           family.

     9                 You guys have a huge advantage over retail,

    10           because you have options.          You have options of

    11           different lender's, return times, pricing, and

    12           you're always going to have options.             There's 75

    13           amazing wholesale lenders out there, 75 amazing

    14           wholesalers doing.        There may be more in the

    15           future.

    16                 Options are key.        You have an advantage,

    17           because it's faster, it's easier and it's

    18           cheaper.     Technology investment.         And what we're

    19           trying to do as brokers, and you guys know this,

    20           is help you dominate, help make you invincible.

    21           Give you access to marketing, give you access to

    22           technology, so you can compete with the biggest

    23           lenders in America.

    24                 We're here to help support you so you can

    25           continue to win.       Because we already know you're


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     1           cheaper, you have a better price, because you're

     2           in wholesale.      How to make it faster and easier,

     3           and that' what we're going to continue to invest

     4           in.

     5                   I've got some big technology rollouts coming

     6           soon.     But we're not going to talk about that

     7           stuff today.      I have three big things I want to

     8           talk about today with you guys.            First thing is

     9           this.     Prime jumbo.     The UWM prime jumbo is back.

    10           We're pivoted to a simplified, easy, one-stop

    11           product, where you can run it though DU, and,

    12           boom, just like high balance nationwide, you're

    13           good to go.      Run it through DU.        There's a couple

    14           overlays, but a lot less, because Appendix Q,

    15           right, that's going away where you don't have to

    16           follow this.      So we have less overlays than those

    17           high balance nationwide and jumbo bank buster.

    18                   But now you have one program called the Prime

    19           Jumbo with amazing pricing.          Right?     Two million

    20           dollar loan amounts, up to an 89.99 LTV on

    21           purchases and rate and terms, and probably over

    22           80 on cash out.       We're trying to get that just so

    23           that the last little piece will work out.

    24                   This has come alive March 17th.          One product,

    25           run through DU, simplified, great pricing, 45


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     1           ETI, 89.99 LTV.       Brokers, we're going to win.

     2           We're going to help those jumbo borrowers,

     3           because pre-COVID, we were great on jumbo and you

     4           were great on jumbo.        We kind of backed off on it

     5           during COVID.      Now it's back.       Now we have the

     6           full suite of products, again, at UWM, from FHA,

     7           to the VA, to the conventional.            Of course, as

     8           guys know it now, prime jumbo is back in about

     9           two weeks, March 17th.         So be on the lookout.

    10           We're real excited about that opportunity.

    11                 Now, speaking about products, Conquest, one

    12           of the best products in America.            Consistently

    13           has been great.       Help brokers close loans fast.

    14           Help you win retail loans.          It's been great.

    15           It's had its time and place.           It's been

    16           successful, very successful.           But now we're going

    17           to pivot.     We're going to pivot here at UWM.

    18           We're all going to pivot together.

    19                 Conquest will still be out there, but our

    20           regular programs, our elite programs, our

    21           non-elite programs, our regular conventional,

    22           FHA, VA, all those programs, those are going to

    23           be the focus, simplifying the rate sheet, making

    24           our rate policies, our rate sheet policies

    25           better, to use it the way we always had it.


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     1           That's back.

     2                 And on top of it, the pricing's substantially

     3           sharper across the board.          IPO 61 is over.       The

     4           61 base points is now in the rate sheet.              All

     5           right?    IPO 61 is over.       Sixty-one base points in

     6           this rate sheet, like I just said, self-employed

     7           now that matters.        Three properties, you're good.

     8           Right?    There's no more complexities.

     9                 It's simple.      Use our regular pricing, elite

    10           and non-elite, you're good to go with UWM, 61

    11           base points in the pricing.          Lock plus 12 is now

    12           in there, too.       You can lock on 30, 45, 60 day

    13           locks.    Whatever you want.        There's higher rate

    14           ranges, so if you want to have a little more

    15           premium on there, it's out there.

    16                 Also, I'm throwing in more pricing, another

    17           40 to 50 base points on top of the 61.              We are

    18           going to be, if you look at the pricing that's

    19           going to come out, so we're probably the best

    20           price with everyone else chasing us, which is

    21           great, I'm fine with that.          We're not going to

    22           try to be the best price.          We are going to try to

    23           be very consistent.

    24                 You know, the 61 base points is in.             Another

    25           40 to 50 on top of that, we are going to grow


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     1           together.     2.99, 2.875, those are real rates

     2           right now.     The refi boom didn't go anywhere.

     3           It's still here.       Take advantage with UWM.

     4           Purchases have been off the charts right now.

     5           We're blowing up our purchases.            Now you can use

     6           them on all your loans with UWM.

     7                 You want investment properties, right?              You

     8           couldn't do that on Conquest.           Now you're good.

     9           Investment price.        There's no 18 month

    10           requirement anymore.        That's done.      That was

    11           Conquest.

    12                 You can do all your loans with UWM,

    13           investment properties, cash outs, you know,

    14           higher rate ranges, lower ranges, whatever you

    15           need, self-employed, you don't need a 760 FICO, a

    16           740 FICO.     Self-employed, you're good to go.

    17                 Our high balance pricing's really sharp.                Our

    18           15 year pricing is really sharp.            We're going to

    19           knock these loans out extremely fast.             It's what

    20           it's for.     Guess what?      We're closing these loans

    21           this month, every one of these loans.             Bring them

    22           on in.    Let's dominate.       Let's finish the quarter

    23           strong.     Let's continue to grow as a team.            We

    24           went public.      We talked about that.         We had

    25           access to resources.        It's time to turn it on.


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     1           It's game on for all of us.

     2                 Now, like I say, we're going to be consistent

     3           on pricing across the board.           Our competitors are

     4           going to follow us, so even the brokers that

     5           don't use UWM, they got a big boost, because all

     6           the other brokers, all of the lenders, excuse me,

     7           will follow our pricing.          So if you look at

     8           pricing yesterday and look at it tomorrow, watch

     9           the difference and watch how everyone else is

    10           just sharpening.       Keep up with UWM, so we're

    11           helping the whole broker channel.

    12                 Why would we do that?         Because we're

    13           separating retail from wholesale.            Enough of this

    14           talk that retail is close to competing with us.

    15           It's over.     It was a moment in time.          The market

    16           was crazy.     Margins were different.          That's a

    17           moment in time.

    18                 Brokers are dominating.          We're taking over

    19           the market.      There's no stopping brokers.           We're

    20           going to win together as a family.            I'm all in,

    21           you're all in, we're all in together.

    22                 So look out for the rate sheet, 12:15 p.m.,

    23           you know, a couple minutes from now.             It's going

    24           to be out there.       It's live.      Get ready.     Our

    25           competitors will follow us.          Now, whether you


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     1           work with us or not, everyone's getting the

     2           advantage.

     3                   If you're a broker, you know who you just

     4           lost?     Retail.    The retail losses, they're

     5           struggling.      They're going to struggle, because

     6           we just widened the gap, service, technology,

     7           pricing, it's all there with UWM.            Let's dominate

     8           together.

     9                   We're all in.     We're going to continue to

    10           talk about findamortgagebroker.com.             We're going

    11           to continue to help you grow.           We're all in for

    12           brokers.     Faster, easier, cheaper.         Educate

    13           realtors.     Help everyone win.        We want to

    14           continue to help        you have a significant

    15           advantage over the retail channel.            So our

    16           pricing's sharp.        Look at it.     It's going to be

    17           great.

    18                   Now, I have another big announcement before

    19           we go, because I got a couple big things.               You

    20           know, there's three big things.            One is jumbo,

    21           prime jumbo is huge.        It's going to be great.

    22           But pricing's game over.          Right?    Let's do this.

    23           Let's take it to another level.            We're excited

    24           about it.     Hoping you are, too.

    25                   Take a look at it.      Everyone is going to be


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     1           excited.     We're going to take loans.          We're

     2           dominate for you.        Help you.     Now, there's no

     3           float downs, just to be clear.           You can't float

     4           down loans, you can't switch.           It's renew locks,

     5           you know, that's what the new pricing's for.                  But

     6           we're going to grow together as a team, as a

     7           family.     And so we're very excited about this.

     8                 Now, before we get to the last point, and I'm

     9           talking about you growing, you succeeding, before

    10           I get to the last point, pricing's great.                We

    11           talked about success track is coming back.

    12           Training, coaching, helping you get better.

    13                 I want to just point out a couple of things.

    14           We've been doing it virtually, but back in May

    15           and June, coming up in May and June, we're going

    16           back out here.       You're welcome to come back out.

    17           We have hundreds of people here a week.

    18           Obviously, we will do the social distance, make

    19           sure everyone's feeling comfortable and safe.

    20           But we're getting ready to go.           We're going to

    21           dominate together.

    22                 So on top of that we added a partner services

    23           team, so you guys know.         It's brokers are trying

    24           to do a lot of retail branch services or whatever

    25           they call it.      We have partner services.          You


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     1           need help recruiting new LOs?           We got you.      You

     2           need help with licensing?          We got you.      You need

     3           any help with culture, training, we got it.

     4           Marketing and branding, you need help with your

     5           website, we got it.        Technology.      We are trying

     6           to make the brokers invincible.            Our technology,

     7           your team, our services, we're going to win

     8           together.

     9                   Now, the last thing I want to talk about

    10           before we go, and this is a big one, it's

    11           important, because, listen, big goals, big goals,

    12           big responsibilities on all of us.            Thirty-three

    13           percent mortgage broker channel by 2025.              We're

    14           going to get there as a family.            What's going to

    15           stop us?     Nothing's stopping us.         We're getting

    16           there.     We're getting there together so you guys

    17           know.

    18                   Now, what can slow us down?         One thing is if

    19           the loan officers don't come to the broker

    20           channel or even leave the broker channel and go

    21           to the retail channel.         That would hurt us.        That

    22           would hurt you and that would hurt all of us

    23           together.

    24                   Or let's think about it, purchases where we

    25           all dominate.      What if real estate just stopped


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     1           referring business to brokers?           What if they try

     2           to cut the loan officers and the brokers out?

     3           Right?     Or if a consumer came to a broker and

     4           then left and never came back.           Never referred

     5           people to you.       Bad experience with a broker.

     6           You know, what can we do?          Those things would

     7           hurt us.

     8                 Well, let me talk about something.             There's

     9           two companies out there that are hurting the

    10           wholesale channel.        Right?    At UWM we only grow

    11           if you grow.      I've got no chance.        I got 8500

    12           plus people here.        We win when you win and all of

    13           us win together.

    14                 But there's two companies out there hurting

    15           the wholesale channel.         Specifically, Fairway

    16           Independent.      They have a wholesale company

    17           called Fairway Independent Wholesale.             They're

    18           out there soliciting loan officers and talking

    19           negatively about brokers right now.             They're

    20           calling, trying to steal your loan officers, they

    21           are soliciting them,        they are aggressive and

    22           they're not doing right by the broker channels.

    23                 But some of our brokers are still referring

    24           them loans, sending them loans.            That's not good.

    25           Loan officers, we don't want them leaving.                We


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     1           want them coming to us, not leaving.             Fairway

     2           Independent is out there trying to hurt the

     3           wholesale channel.

     4                   The other company is Rocket Mortgage.

     5           They're going after real estate agents.              They're

     6           trying to cut the loan officer out.             They're

     7           paying real estate agents to get licensed and

     8           then paying them 50 basis points.            I don't know

     9           what this is.      It's not my job to figure that

    10           out.     Paying them 50 base point and cut the loss,

    11           just refer them right to Rocket's partnership

    12           team.     Cut the brokers out.       Cut the loan

    13           officers out.      That's not good.        That's not good

    14           for us.     That's not what we want.

    15                   The same thing with -- you know, we all know

    16           Rocket Mortgage solicits your past clients and

    17           solicits the -- they're -- once again, these are

    18           their business models.         Fairway Independent and

    19           Rocket Mortgage, whatever they want to do they

    20           can do.     And as long as they play by the rules,

    21           it's their rules, their world.

    22                   But that's not my business model.           My

    23           business model is helping you win.            Helping the

    24           family grow.      Being all in for brokers.          And I

    25           can't stop other people's business models.                But


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     1           what I can do, I can control my business model.

     2                 So I'm starting today and saying at UWM,

     3           we're not helping those that help them.              If you

     4           work and send loans and send business to Fairway

     5           Independent or Rocket Mortgage, which, by the

     6           way, is about 25 percent of the broker channel

     7           works with either of those lenders.             So 35

     8           percent you can just ignore this whole point.

     9           But I wanted to point out, 25 percent work with

    10           those lenders.       If you work with them, you can't

    11           work with UWM anymore effective immediately.

    12                 So you can't work with UWM if you work with

    13           those guys.      Because, you know what, I can't stop

    14           you, but I'm not going to help you help the

    15           people that are hurting the broker channel.

    16                 And that's what's going on right now.              We

    17           don't need a fund, Fairway Independent or Rocket

    18           Mortgage, to try to put brokers out of business.

    19           We don't need to do that.          If you want to do

    20           that, it's your own deal.          No hard feelings.

    21           But at UWM, you can't work with UWM anymore.

    22                 So you have until -- so, owners, you have

    23           until March 15th to sign an addendum saying

    24           you're not working with those two lenders.

    25           There's other lenders, by the way.            There's 75


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     1           great lenders.       Those lenders, I don't agree with

     2           their business practices, but these two are going

     3           after the broker channel and so we're not helping

     4           them anymore.

     5                 You have until March 15th to sign the

     6           addendum.     And if you don't sign the addendum,

     7           but, hey I'm not working with them, that's no

     8           problem.     Then you and nobody in your company

     9           will be able to work with UWM anymore.

    10                 And that's okay.        There's no hard feelings.

    11           Right?     I don't have a problem.         You can either

    12           accept the addendum, you can decline the

    13           addendum, in which case you can say I don't want

    14           to work with UWM, or you can accept it and say I

    15           have some loans to close out, because we don't

    16           want you to not close out the loans.             Close out

    17           your loans.      Take care of consumers.

    18                 Even if you were to decline the addendum and

    19           the loans you have with UWM, we're not going to

    20           hurt the consumer.        We'll close every one of

    21           those loans with you.         We're here to help and do

    22           the right thing.

    23                 But, going forward, I'm not supporting

    24           brokers with our technology, with our service,

    25           with our passion for the broker channel, with our


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     1           recruiting, with all the things that are going to

     2           hurt the rest of the broker channel by funding

     3           the competition of brokers, the competition of

     4           the wholesale channel.

     5                 So here's the question.          Are you all in?       Are

     6           you out?     Are you in or are you out?          If you're

     7           in, like I said, most of you guys don't worry.

     8           This is what I think.         There's 75 great lenders

     9           out there.     You need to have options.          But

    10           there's two that are out there hurting the

    11           channel.

    12                 And so what we think about is this.               You can

    13           pick us and the 73 other lenders or you can pick

    14           those others and not have you.           But, either way.

    15           Well, one of them has great pricing.             Well,

    16           Provident has the best pricing.            All right.

    17           There's nothing that those two lenders do for

    18           brokers that the other 73 lenders don't do.                And

    19           so today we're taking a stand.           We're saying

    20           we're all in.

    21                 Now, what's the response?          I mean, this is

    22           great for the whole broker channel, to be honest

    23           with you, because I love brokers either way.

    24           Even if you don't pick us, I still love you,

    25           because I'm supportive of the channel and excited


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     1           for the channel's growth.

     2                 But, here's the reality.          Today, after our

     3           rate sheet, or maybe tomorrow, Rocket Mortgage

     4           and Fairway Independent, you know what they're

     5           going to do?      Sharpen the price to another 100

     6           basis points.      Make it so that if they -- they

     7           just lost 80 percent of their business

     8           potentially.      Right?    Because the only thing 80

     9           to 90 percent of brokers are going to say, hey,

    10           we're sticking with UWM and the other 73 lenders

    11           that are out there trying to help us grow, not

    12           with the people that are trying to put us out of

    13           business.

    14                 So for the ten percent that stay with them,

    15           hey, they're going to get some great pricing.

    16           And then as soon as they know you're gone, UWM is

    17           out of it, they'll probably back off the pricing

    18           and change it.       But, hey, that's your decision.

    19                 That's what they're going to do.            They're

    20           going to sharpen pricing.          You want great

    21           pricing, there's a lot of great -- well, our

    22           pricing is really sharp today and it's going to

    23           be really sharp going forward.           But, like I said,

    24           these guys just lost 70, 80, 90 percent of their

    25           business, they're going to make some massive


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     1           changes right away.

     2                 And so I know that.        You know that.       But who

     3           you are all in with?        Are you all in with the

     4           brokers or are you all in with the people trying

     5           to put brokers out of business?            So today, I'm

     6           all in with you.       I'm all in with the brokers and

     7           I'm going to always be all in.           That's what we're

     8           doing.

     9                 Our pricing, extremely sharp today.             It's

    10           going to be consistently sharp.            We're going to

    11           help you win more loans.          We're going to help you

    12           grow in the purchase market.           We're not going to

    13           hurt you on the realtors; we're going to help you

    14           with the realtors.

    15                 We're not going to, you know, sever loan

    16           officers, we're going to help you get more loan

    17           officers.     We're going to help you with your

    18           consumers.     Our Plan 360, out new technology.

    19           We've got some big tech stuff coming out.               We're

    20           going to continue to invest, not hundreds of

    21           millions, billions of dollars in the broker

    22           channel and technology behind it.            That's how we

    23           got here and that's how we're all going to get

    24           there together.

    25                 So take a look at our amazing pricing. It's


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     1           out.     Jumbo is coming soon.       And then the

     2           question is, you all in?          You all in with the

     3           broker channel?       Because I'm all in.        We're all

     4           in together as a family.

     5                  Thanks for joining me.        If you have any

     6           questions, you can reach out to us.             We're

     7           excited.     Hashtag all in.       I know a lot of people

     8           are thinking right now that's how we're going to

     9           do it.     I'm all in.     You're all in.       Let's

    10           dominate.

    11                  We're going to grow the broker channel.

    12           We're going to grow every single loan officer.

    13           Watch us.     We're going to win together.           I'm

    14           excited to do it with you as a family.              Have a

    15           great day.

    16                  (End of Facebook Live video.)

    17

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     1                    CERTIFICATE OF REPORTER

     2

     3                 I, MARY ANN COLLIER, Court Reporter, do

     4      hereby certify that I was authorized to and did

     5      stenographically transcribe the Facebook Live video,

     6      and that the transcript is a true and complete record

     7      of my stenographic notes of said Facebook Live video.

     8

     9              DATED this 16th day of June 2021.

    10

    11

    12
                          MARY ANN COLLIER
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                                  WHOLESALE BROKER AGREEMENT

       THIS W HOLESALE BROKER AGREEMENT (“Agreement”) is made and entered into as of
                            ,20 _ , between United Wholesale Mortgage, LLC, a Michigan limited liability company
(“UWM”), with its office located at 585 South Blvd E., Pontiac, MI 48341, and                                _______
(“Broker”) with its principal offices located at                                     .

                                                     RECITALS:

         WHEREAS, UW M is engaged in the business of, among other activities, purchasing and/or funding mortgage
 loans on residential real estate and reselling such loans in the secondary mortgage market; and

       WHEREAS, Broker is engaged in the business of taking applications for residential mortgage loans; assisting
borrowers in pre-qualifying for mortgage loans; selecting a mortgage product and completing an application; and
processing those applications on behalf of others in exchange for a fee or other consideration; and

        WHEREAS, during the term of this Agreement, UW M will advise Broker of UWM’s various FHA, VA, USDA,
conventional, jumbo and/or non-agency mortgage loan products as well as select bond program mortgage loan
products, and Broker intends, from time to time, to offer to UW M for potential purchase and/or funding certain FHA,
VA, USDA, conventional, jumbo and/or non-agency mortgage loans as well as select bond program mortgage loans
which fall within the parameters of UWM’s mortgage loan products;

       NOW , THEREFORE, in consideration of the mutual agreements and covenants hereinafter set forth, and other
good and valuable consideration, the receipt and legal sufficiency of which is hereby severally acknowledged, UW M
and Broker hereby agree as follows:


                                                     ARTICLE I
                                                    DEFINITIONS

 All words and phrases defined in this Article I (except as herein otherwise expressly provided or unless the context
 otherwise requires) shall, for the purposes of this Agreement, have the following respective meanings:

1.01.    “Agreement” means this Wholesale Broker Agreement and any written amendments or modifications hereto
         which are made in accordance with the terms of this Wholesale Broker Agreement.

1.02.    “Bond Authority” means a federal, state or local authority established for the purpose of making residential
         Mortgage Loans to low and moderate income borrowers and issuing bonds or other obligations to fund such
         loans.

 1.03.   “Bond Program” means a qualified single family residential Mortgage Loan program of a local, state or federal
         housing authority under which residential Mortgage Loans are made available to low and moderate income
         borrowers at below market interest rates and/or upon other terms and conditions favorable to the Borrowers.

1.04. “Borrower” means the person or persons who submit a Mortgage Loan Application to Broker, receive a
       Mortgage Loan, and are liable on a Mortgage Note to UW M.


1.05.    “Closing” means the funding of a Mortgage Loan by UWM.

 1.06. “Complaint” means a consumer communication of dissatisfaction regarding a product, service and/or
       participant in the loan process.

 1.07.   “Defect” means a breach in any respect of any representation or warranty herein contained with respect to
         a Mortgage Loan or any failure by Broker to comply with any covenant or condition herein contained with
         respect to a Mortgage Loan which could reasonably be expected to result in a loss or damage to UW M or a
         subsequent purchaser of such Mortgage Loan.
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 1.08.   “Defective Loan”means any Mortgage Loan that has a Defect.

 1.09.   “FHA” means the Federal Housing Administration.

 1.10.   “Freddie Mac”means the Federal Home Loan Mortgage Corporation or any successor thereto.

 1.11.   “FIRREA”means the Financial Institutions Reform, Recovery and Enforcement Act of 1989.

 1.12.   “Fannie Mae”means the Federal National Mortgage Association or any successor thereto.

 1.13. “Formal Complaint” means a Complaint received via: (i) any means from any state or regulatory agency,
       including but not limited to Attorney General offices, Congressman offices, and the Consumer Financial
       Protection Bureau; and (ii) electronic mail, fax, or letter that is addressed to the Chief Executive Officer,
       Branch Manager, President or other member of Broker’s senior management.

 1.14.   “Ginnie Mae”means the Government National Mortgage Association or any successor thereto.

 1.15.   “Mortgage”means a valid and enforceable Mortgage, Deed of Trust, or other Security Instrument creating
         a first or second lien upon described real property improved by a one-to-four family residential dwelling,
         which secures a Mortgage Note.

 1.16.   “Mortgage Documents”means all documents and instruments required by UWM and applicable law pertaining
         to a particular Mortgage Loan.

 1.17.   “Mortgage Loan”means a loan to individuals which is secured by a Mortgage and is subject to this
         Agreement.

 1.18.   “Mortgage Loans”means each and every Mortgage Loan, which is subject to this Agreement.

 1.19.   “Mortgage Loan Application” or “Mortgage Loan Applications” means an application for a Mortgage
         Loan processed by Broker in accordance with the lending requirements of UWM, including but not limited to
         those contained in the UWM Guide, the terms of this Agreement, all applicable governmental regulations, and
         the generally accepted practices and procedures within the mortgage industry.

 1.20.   “Mortgage Note”means a written promise to pay a sum of money at a stated interest rate during a specified
         term that is secured by a Mortgage.

 1.21.   “Mortgagor” means the obligor on a Mortgage Note.

 1.22.   “Repurchase”means the obligation of the Broker to purchase a Mortgage Loan from UW M which was
         previously transferred and/or sold to UW M by the Broker.

 1.23.   “RESPA”means the Real Estate Settlement Procedures Act of 1974 (12 U.S.C. 2601, et seq.), as amended
         from time to time.

 1.24.   “Servicing Rights”or “Servicing”means the rights, title, and interest in and to the servicing of the
         Mortgage Loans and the maintenance and servicing of the escrow accounts, along with the right to receive
         the servicing fee income and any and all ancillary income arising from or connected with all such Mortgage
         Loans.

1.25.    “Training and Information Services” means the training, marketing and/or information services provided
         to Broker in furtherance of Broker’s business, including but not limited to licensing related training and/or
         discounts, sample communications and/or related templates.

1.26     “Underwrite” or “Underwriting” means the examination of a Borrower’s application, credit history, income
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         and financial resources for the purpose of determining whether to extend credit to such Borrower.

 1,27,   “USDA” means the United States Department of Agriculture or any successor thereto.

 1.28.   “UWM Guide” means all verbal procedures and requirements delivered by UWM or its representatives as
         well as those procedures and requirements contained on UWM’s website and all links incorporated therein,
         including but not limited to EASE, as amended from time to time.

 1.29.   “VA” means the United States Department of Veterans Affairs.

                                                ARTICLE II
                                          PURCHASE & FUNDING OF LOANS

 2.01. Purchase and/or Funding of Loans by UWM. UWM agrees to c o n s i d e r purchasing and/or funding
 certain Mortgage Loans from Broker, provided that all of the following requirements are met:

         (a)     Upon payment by UW M of the purchase price for each such Mortgage Loan so purchased and/or
                 funded, all rights, title and interest in and to said Mortgage Loan shall be assigned and transferred by
                 the Broker to UW M free and clear of all claims, liens and encumbrances whatsoever.

         (b)     Each Mortgage Loan shall be transferred and/or sold to UW M on a “servicing released” basis
                 meaning that Broker shall release, transfer, convey and assign in a form and manner acceptable to
                 UWM, all of Broker’s rights, title and interest in and to the Mortgage Loan, including, without
                 limitation, the right to provide mortgage servicing in connection therewith.

         (c)     All FHA, VA, conventional, USDA, jumbo, non-agency and select Bond Program Mortgage Loans
                 shall be closed in the name of UW M, unless another name is specifically authorized by UW M in writing
                 in advance of closing; and

         (d)     All such Mortgage Loans shall meet UWM’s lending requirements, including but not limited to those
                 contained in the UWM Guide, and any other terms and conditions required by UWM, in its sole and
                 absolute discretion, which may be amended from time to time.

 2.02.   UWM Loan Requirements. UW M will advise Broker from time to time regarding the types of FHA, VA, USDA
         conventional, jumbo and/or non-agency Mortgage Loan products it is interested in considering purchasing
         and/or funding (individually a “Mortgage Loan Product” and collectively the “Mortgage Loan Products”),
         including, without limitation, information concerning interest rates, loan limits, loan-to-value, ratios, points, fees
         and underwriting requirements. Any commitment from UW M to Broker to purchase and/or fund any Mortgage
         Loan or Mortgage Loans or Mortgage Loan Applications will be issued in accordance with UWM’s current
         lending policies and shall be in UW M’s sole and absolute discretion. Such commitment must be in
         writing and be signed by an authorized employee of UW M and the terms of such commitment will be
         applicable only to the Mortgage Loan or Mortgage Loans specified therein. UW M may, in its sole and absolute
         discretion, cancel or discontinue any of the Mortgage Loan Products, with or without notice to the Broker.
         UW M will attempt to give advance notice of such changes but shall have no obligation to do so. Broker
         agrees to follow all practices and procedures required by UW M, as modified from time to time, including but
         not limited to those contained in the UWM Guide, as well as those required under applicable law.


 2.03.   Pricing of Loans; Lock-in Rates.

         (a)     UW M will provide price protection for the Mortgage Loans which it agrees to purchase and/or fund
                 hereunder in the form of a written lock-in confirmation pursuant to its lock-in policies and in accordance
                 with UW M’s lending requirements. The time at which the interest rate for a Mortgage Loan is locked
                 in shall be at Broker’s option, provided, however, a Mortgage Loan with a locked in interest rate must
                 be presented to UW M for purchase and/or funding before the expiration of the lock-in period. For
                 purposes of the Agreement, the “lock-in period” shall be determined in accordance with UW M’s
                 lending requirements. If a Mortgage Loan is not presented for funding by UW M within the lock-in

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                 period, such Loan may be re-priced at the sole option of UW M. The transfer or sale by Broker of a
                 Mortgage Loan locked in by UW M during the lock-in period to another entity, shall constitute a violation
                 of the Agreement, and the Broker shall be liable, and promptly indemnify UWM, for any loss sustained
                 as a result thereof by UWM. In addition, Broker shall notify UW M immediately should any
                 commitment by UW M for a locked-in Mortgage Loan be canceled, withdrawn, or otherwise
                 determined not to be set for purchase and/or funding by UW M.

         (b)     Broker will deliver the underwriting package to UW M not later than ten (10) calendar days prior to
                 the expiration of the lock-in period.

 2.04    Broker’s Fees. Subject to all other provisions of this Agreement, including Section 7.18, broker’s fee shall be
         payable by UW M when a Mortgage Loan is closed and funded by UW M and Broker has: (a) obtained in writing
         from UW M a firm commitment for UW M’s interest rate, discount rate and ancillary fees; (b) successfully
         negotiated with the borrower(s) any fees in excess of UWM’s fees for the Mortgage Loan; and (c) negotiated
         a spread premium fee from UW M for the Mortgage Loan, if applicable. UW M’s pricing is published on a
         daily basis and is often adjusted several times throughout the day and reflects market conditions, the efficiency
         of UWM’s operations and the value of the services (including Training and Information Services) that UWM provides.
         All pricing is subject to change without notice and no Mortgage Loan is price protected until UW M has issued
         a written lock confirmation. Broker shall not be entitled to any fee if a Mortgage Loan does not fund, regardless
         of the reason. In the event that any fees negotiated by Broker exceed those payable under applicable law,
         UW M may reduce such fees to a level which is in compliance with applicable law, without notice to Broker.
         Broker’s fees are payable only after UW M has first deducted all of its fees and charges from the loan
         proceeds. If the mortgagor(s) fails to make any one (1) or more of the first three (3) mortgage payments due
         on his/their Mortgage Loan by the last day of the month in which the payment is due, then Broker shall
         promptly reimburse UWM for all amounts paid by UWM to Broker in connection with said Mortgage Loan.


                                             ARTICLE III
                                   DUTIES, WARRANTIES & REPRESENTATIONS

 3.01.   Duties of Broker. The Broker shall exercise its best efforts in connection with the performance of the
         following duties:

         (a)     Broker shall take Mortgage Loan Applications in accordance with applicable law at its offices in its own
                 name through its employees and agents;

         (b)     Broker shall comply with all procedures established by UW M from time to time for the submission
                 of Mortgage Loan Applications under the Mortgage Loan programs made available to Broker,
                 including but not limited to those contained in the UWM Guide;

         (c)     Broker shall confirm whether each Mortgage Loan Application meets the terms, conditions and
                 requirements established by UW M with respect to the Mortgage Loan programs;

         (d)     After securing the requisite authority from the applicant(s), the Broker shall secure financial and credit
                 information from the applicant(s) and analyze the income and indebtedness of the applicant(s) to
                 determine the maximum reasonable Mortgage Loan obligations that the applicant(s) can bear;

         (e)     Broker shall: (i) educate the applicant(s) in regard to the home buying and financing process; (ii) advise
                 the applicant(s) about the different Mortgage Loan programs made available by UW M; and (iii)
                 explain to the applicant(s) how the closing costs and monthly payments would vary under the each of
                 the Mortgage Loan programs for which the applicant(s) may be eligible;

         (f)     Broker shall also: (i) verify the employment of the applicant(s); (ii) verify the deposits required; (iii) initiate
                 requests for mortgage loan verifications and payoffs; (iv) order an appraisal of the property through an
                 approved appraisal management company, as required; (v) order the necessary title commitment; (vi)
                 order a mortgage survey of the property, as required; (vii) provide the applicant(s) with all notices
                 and disclosures required by law; and (viii) assist UWM in obtaining any additional information

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                reasonably required by UWM in order to consider the Mortgage Loan Applications and/or facilitate
                the closing of all Mortgage Loans;

         (g)    Broker shall communicate with the applicant(s), real estate agent(s), and UW M in an effort to keep
                them informed as to the status of the application and/or the Mortgage Loan transaction and any
                changes in the terms of a Mortgage Loan within a reasonable time, and if UW M and other lenders
                represented by Broker deny credit to the applicant, Broker will prepare and deliver to the applicant
                a denial notice meeting all requirements of applicable law;

         (h)    Broker shall assist the applicant(s) in understanding and clearing credit problems;

         (i)    Broker shall notify UWM via electronic mail sent to theadvocate@unitedshore.com within
                five (5) business days of receipt of any Formal Complaint relating to a loan application
                submitted to, underwritten and/or closed by UWM and provide a copy of the Formal
                Complaint received;

         (j)    Broker shall perform such closing services as shall be reasonably required by UWM; and

         (k)    Broker shall further: (i) maintain, and will ensure that its employees and agents maintain, the
                confidentiality o f all non-public personal information collected in connection with Mortgage Loan
                Applications; (ii) comply, and will ensure that its employees and agents comply, with all applicable
                privacy laws and other laws with respect to the completion and processing of Mortgage Loan
                Applications; (iii) maintain an information security program; and (iv) originate and process each
                Mortgage Loan in full compliance with applicable law, the requirements of investors, and other written
                communications of UW M, including but not limited to those contained in the UWM Guide.

         (l)    Broker agrees that it will not use for its own benefit or the benefit of any other person or entity, will
                hold in complete confidence in compliance with applicable law, and will not disclose to any person
                or entity (other than Broker’s employees or agents who need access to the Confidential Information,
                as defined below, for the purpose of assisting Broker in fulfilling its obligations hereunder): (a) the
                confidential information relating to UWM which it has acquired or which it may acquire during the
                term of this Agreement; (b) any information that it has received or which it may receive during the
                term of this Agreement from UWM, its employees or agents of a confidential nature; (c) all notes,
                documents or materials prepared by Broker, its employees or agents which contain, reflect or are
                based upon, in whole or in part, the information described in subparagraphs (a) and (b) above
                (collectively the “Confidential Information”). UWM makes no representations or warranties of any
                kind, express, implied or statutory, with respect to the Confidential Information. Broker will return to
                UWM or destroy upon demand, all Confidential Information acquired by Broker, its employees or
                agents, including all copies thereof. Broker will ensure that its employees and agents comply with
                the terms of this paragraph.

 3.02.   Duties of UWM. UW M shall exercise commercially reasonable efforts in connection with the
         performance of the following duties:

         (a)    UW M shall Underwrite or cause to be Underwritten every Mortgage Loan submitted by Broker
                under this Agreement, provided, however, UW M shall have no obligation to issue a commitment for
                or close a Mortgage Loan which it determines, in its sole and absolute discretion, does not meet
                UW M’s Underwriting requirements;

         (b)    UW M shall: (i) issue a loan approval if the Mortgage Loan Application complies with all UWM
                requirements, including but not limited to those contained in the UWM Guide, and UW M elects to
                accept a Mortgage Loan Application; or (ii) issue a notice of rejection in compliance with law if UW M
                determines that any Mortgage Loan Application submitted hereunder does not meet its Underwriting
                standards, in its sole and absolute discretion;

         (c)    UW M shall duly consider each and every Mortgage Loan Application submitted by Broker and may
                rely upon the materials and information supplied to it by the Broker as well as the authenticity and

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                 accuracy of all signatures appearing on documents and instruments delivered to UW M; and

         (d)     Upon the issuance of a commitment in UW M’s name to the Borrower, UWM shall generally proceed
                 with Closing of the Mortgage Loan in accordance with the terms and conditions set forth in the
                 commitment to the Borrower but UWM reserves the right, in its sole and absolute discretion, to
                 cancel the purchase and/or funding of any Mortgage Loan or Mortgage Loans for any reason which
                 UWM determines to be material, in its sole and absolute discretion.

         (e)     UWM agrees to supply such Training and Information Services as it believes in its reasonable
                 discretion will be productive and feasible to provide.

 3.03.   Broker Warranties & Representations. Broker hereby warrants, represents and covenants to UWM with
         regard to each Mortgage Loan submitted to UW M for underwriting, purchase and/or funding that the following
         are true, complete and correct in all material respects as of the date of such submission, as if such warranties,
         representations and covenants are again made by Broker on those dates and shall continue to be valid and
         accurate throughout the entire lending process:

         (a)     Broker is duly organized, validly existing and in good standing in each jurisdiction in which it originates
                 Mortgage Loans delivered to UW M pursuant to this Agreement, and Broker has complied with all
                 applicable statutes, laws, rules and regulations, orders and decrees of all federal, state, county and
                 municipal authorities in connection with all such Mortgage Loans, including, but not limited to all
                 applicable federal consumer financial laws. Broker further has qualified, registered, obtained and
                 maintains all licenses and permits, and has taken all other requisite actions required in order to originate
                 all Mortgage Loans delivered to UWM pursuant to this Agreement. The execution and delivery of
                 this Agreement and the transactions contemplated hereby are duly authorized and binding on
                 Broker. Broker shall provide UW M with documentation to substantiate such existence and/or
                 compliance upon the request of UW M;

         (b)    All Mortgage Loans which Broker submits to UW M have met all material requirements of federal,
                state, or local laws, as amended from time to time, including, but not limited to those contained in the
                UWM Guide, and (i) usury; (ii) the Federal Truth-in-Lending Act of 1969 and Federal Regulation Z
                thereunder; (iii) RESPA and Regulation X thereunder; (iv) the Federal Equal Credit Opportunity Act and
                Regulation B thereunder; (v) the Federal Fair Credit Reporting Act; (vi) the Flood Disaster Protection
                Act of 1973; (vii) the Fair Housing Act; (viii) the Home Mortgage Disclosure Act; (ix) the FIRREA; (x)
                New York Executive Law Article 15, Section 296-a; (xi) the Secure and Fair Enforcement for Mortgage
                Licensing Act of 2008, (xii) the Gramm-Leach-Bliley Act (Pub. L. No. 106-102, 113 Stat. 1338), as
                amended from time to time; (xiii) the Fair and Accurate Credit Transactions Act; (xiv) the Home
                Ownership Equity Protection Act; (xv) all rules, regulations and guidelines promulgated by the
                Consumer Financial Protection Bureau; (xvi) The Dodd-Frank Wall Street Reform and Consumer
                Protection Act; (xviii) any and all licensing requirements relating to Broker’s rights to originate and sell
                Mortgage Loans; (xix) the requirements of all governmental authorities regulating Broker; and (xx)
                any and all laws, rules, ordinances, and regulations concerning adjustable rate mortgages, negative
                amortization, and graduated payment mortgages, and Broker shall maintain in its possession, and
                make available for UWM’s inspection, and shall deliver to UW M upon demand, evidence of
                compliance with all such laws and requirements;

         (c)    Broker has no knowledge of any circumstances or conditions with respect to any Mortgage Loan
                submitted to UW M for underwriting, purchase and/or funding, that the mortgaged property, the
                Mortgagor or the Mortgagor’s credit standing could cause an institutional investor to regard the
                Mortgage Loan as an unacceptable investment, or otherwise cause the Mortgage Loan to become
                delinquent or materially adversely affect the value or marketability of the Mortgage Loan;

         (d)     With regard to FHA, VA or USDA insured Mortgage Loans, the Federal Housing Commissioner, VA
                 or USDA, as applicable, has or will issue the mortgage insurance certificate or loan guaranty
                 certificate; and all payments due for mortgage insurance premiums have been paid to the insuring
                 authority; nothing has been done or omitted, and no circumstances exist, the effect of which act,
                 omission or circumstances would invalidate the contract of mortgage insurance with the FHA,VA or
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               USDA as applicable; and the Mortgage Loan complies with the regulations of the FHA,VA or USDA as
               applicable;

        (e)    All of the appraisers who have performed appraisals in connection with the Mortgage Loans
               submitted to UW M for purchase and/or funding have been properly licensed and are currently
               approved in accordance with applicable law and any appraisal management company utilized has
               passed UWMs approval process;

        (f)    The appraisal submitted in connection with each Mortgage Loan meets the requirements of FIRREA,
               and the Underwriting for each Mortgage Loan, if performed by Broker, has been performed in
               accordance with all of the provisions of applicable law, UW M’s lending requirements, including but
               not limited to those contained in the UWM Guide, and the terms of this Agreement;

        (g)    No legal actions are pending or threatened which might reasonably affect any Mortgage Loan or the
               Broker’s ability to transfer any Mortgage Loan to UWM free and clear of all claims and liens, or
               otherwise perform its obligations hereunder, except as previously disclosed by Broker to UW M in
               writing;

        (h)    Broker is not in default with respect to any material agreement to which it is party or by which it is bound,
               and the execution and performance of this Agreement will not violate any law, or term of its
               organizational and governance documents, as amended, or any material agreement to which
               Broker is a party or by which it is bound, and will not violate or conflict with any other restriction of
               any kind or character to which Broker is subject;

        (i)    All information submitted by Broker to UW M with regard to the Mortgage Loan, including all written
               materials, is presented and warranted by Broker to be true, correct, currently valid, and genuine in
               all material respects, as to all information within Broker’s knowledge and as reported by each
               applicant and do not omit to state any facts necessary to make the statements contained therein
               not misleading; Broker has no knowledge of any circumstances or conditions with respect to any
               Mortgage Loan submitted to UWM for underwriting, purchase and/or funding, that the mortgaged
               property, the mortgagor or the mortgagee’s credit standing could cause an institutional investor to
               regard Mortgage Loan as an unacceptable investment, or otherwise cause the Mortgage Loan to
               become delinquent or materially adversely affect the value or marketability of the Mortgage Loan;

        (j)    The Mortgage Documents and all other materials submitted to UW M in connection with the Mortgage
               Loan do not contain any fraudulent information or misstatement or omission of fact, and the Mortgage
               Loan has been originated in a manner consistent with prudent mortgage banking practices and
               consistent with the guidelines and policies established by UW M, Ginne Mae, Fannie Mae, Freddie
               Mac, a Bond Authority, the FHA the USDA the VA, or other investor, as applicable;

        (k)    There are no undisclosed agreements between the Mortgagor and Broker concerning any facts or
               conditions, whether past, present or future, which might in any material way affect the payment and
               performance obligations of the Mortgagor or otherwise make the Mortgage Loan non-salable in the
               secondary market. Broker did not unduly influence or otherwise steer the Borrower into selecting a
               higher cost Mortgage Loan program;

        (l)    Broker is solvent and has adequate capitalization and financial resources to properly engage in the
               business of originating and processing Mortgage Loans;

        (m)    Broker shall promptly advise UW M of any material change concerning the Broker, including, but not
               limited to, any change in ownership, financial condition or senior management, as well as the
               termination of any manager, mortgage loan officer or mortgage loan originator;

        (n)    Broker has no interest or direct or indirect ownership of all or any part of the property subject to a
               Mortgage Loan and Broker has no ownership interest in, or familial relationship with, the seller(s),
               Borrower(s), broker(s), Realtor(s), inspectors, appraisers or other persons performing any
               settlement services relating to any Mortgage Loan and shall not receive any fees or payments, either

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               directly or indirectly, in violation of applicable law (unless such relationship has been disclosed to and
               approved by UWM in its sole discretion);

        (o)    All Mortgage Loan Applications and/or Mortgage Loans presented to UWM by Broker for
               underwriting, purchase and/or funding have been originated by Broker, and no such Mortgage Loan
               Applications and/or Mortgage Loans have been originated by a third party;

        (p)    Broker acknowledges that it does not and shall not discriminate against applicants on the basis of
               age, race, color, gender, ethnic background, national origin, religion, marital status, familial status,
               veteran status, handicap, sexual orientation, receipt of public assistance, because rights have been
               exercised by the applicant under any consumer protection law, or any other prohibited basis;

        (q)    With respect to subsections (a) through (p), inclusive, of this Section 3.03, Broker will promptly
               notify UW M if Broker becomes aware that any terms, conditions, warranties, representations or
               covenants hereunder become untrue or incomplete in any material respect in the future;

        (r)    The representations and warranties of Broker set forth in this Agreement are applicable whether
               or not non-employee contractors are used in lieu of employees of Broker in fulfilling any of Broker
               responsibilities and obligations set forth in this Agreement;

        (s)    Broker will immediately notify UW M if: (i) Broker fails to maintain any license or registration in violation
               of subsection (a) above, or if any such license or registration is cancelled or suspended; or (ii)
               Broker becomes subject to any enforcement and/or investigative proceeding by any licensing or
               regulatory authority or agency (subject to any confidentiality restrictions imposed by such licensing or
               regulatory authority or agency); or (iii) Broker is named as a party or becomes involved in any litigation;
               or (iv) Broker and/or any of its principal director(s) or owner(s) becomes the debtor in any voluntary
               or involuntary bankruptcy proceeding; or (v) Broker and/or any of its principal director(s) or owner(s)
               suffers the appointment of a receiver, custodian or trustee; or (vi) Broker and/or any of its principal
               director(s) or owner(s) has incurred or is likely to incur a material, adverse change in its/their financial
               condition; or (vii) Broker suffers a levy, execution or seizure upon material business assets

        (t)    All representations, warranties and covenants contained in this Agreement shall inure for the benefit
               of UW M and its successors and assigns;

        (u)    Broker hereby appoints UWM and its directors, officers, employees, agents, successors and assigns,
               as its true and lawful attorney-in-fact, which appointment shall be deemed to be coupled with an
               interest, without right of revocation and with full power of substitution for and in its place and stead to:
               (i) demand and control all sums due on Mortgage Loans closed and funded pursuant to this Agreement
               and to enforce all rights with respect thereto, (ii) endorse, mark, place or otherwise evidence Broker’s
               name as payee on all checks, drafts, acceptances or other form of partial or full payment delivered
               or tendered to UW M with respect to a Mortgage Loan, (iii) endorse, mark, place or otherwise evidence
               Broker’s name on all notes, Mortgages, deeds of trust, and other forms of security instruments or
               collateral and all assignments, full or partial releases or satisfactions of said Mortgages, deeds of trust,
               and other forms of security instruments or collateral for all Mortgage Loans closed and funded
               pursuant to this Agreement. Broker agrees to execute such other documents as UW M may
               reasonably request to evidence the appointment of UWM, as Broker’s attorney-in- fact.

        (v)    Broker has in full force and effect and will continue to maintain an errors and omissions policy or
               policies or mortgage bankers blanket bond covering all of its activities under this agreement, as
               required by and with terms acceptable to Fannie Mae and Freddie Mac and shall provide to UWM,
               on an annual basis or as required by UWM satisfactory evidence thereof, and Broker also has and
               will continue to comply with any and all fidelity bond and surety bond requirements of Fannie Mae,
               Freddie Mac, and/or any state agency having or claiming to have jurisdiction over Broker.

        (w)    No employee, contractor, agent or other representative of Broker, or acting on behalf of Broker is:
               (a) subject to the provisions of such Executive Order 13224 or the Office of Foreign Assets Control
               of the United States Department of the Treasury (the “OFAC Regulations”); (b) listed as a “blocked

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                 person” for purposes of the OFAC Regulations; or (c) listed on Freddie Mac’s Exclusionary List, the
                 U.S. General Services Administration (GSA) Excluded Parties List (EPL), the HUD Limited Denial
                 of Participation List (LDP List), and/or the Federal Housing Finance Agency’s (FHFA) Suspended
                 Counterparty Program (SCP) list.

         (x)     Broker will not submit a mortgage loan or mortgage loan application to Rocket Mortgage or Fairway
                 Independent Mortgage for review, underwriting, purchase, and/or funding.

 3.04.   UWM’s Warranties & Representations. UW M represents and warrants that UW M possesses all necessary
         licenses from all regulatory authorities having jurisdiction over the Mortgage Loans to engage in the activities
         contemplated by this Agreement.

3.05     Survival. All representations, warranties and covenants of Broker contained in this Agreement shall survive
         the expiration and termination of this Agreement and shall continue in effect as to each Mortgage Loan for so
         long as any amount due from the Borrower remains outstanding and unpaid. Notwithstanding the foregoing,
         upon Broker providing notice of termination of this Agreement in accordance with Section 7.06, any future
         restriction of Broker under the representation and warranty in Section 3.03(x) shall no longer apply.

                                                        ARTICLE IV
                                           POST-CLOSING DOCUMENTATION
 4.01.   Broker’s Obligation Regarding Post-Closing Documents. Broker agrees that it is responsible for assisting
         in obtaining and delivering post-closing documents required to complete closed Mortgage Loan packages
         within the time frames established by UW M in its lending requirements or otherwise. UW M, in its sole and
         absolute discretion, may exercise its option to NOT fund a Mortgage Loan if all underwriting and/or closing
         conditions are not satisfied prior to funding. Broker understands that it is not authorized or empowered to
         accept or clear any lending conditions of UW M. Broker further understands and agrees that if Broker fails,
         neglects or refuses to obtain and deliver any post-closing documents reasonably required by UW M, UW M shall
         have the unilateral right to offset the reasonable costs associated with securing such post-closing documents
         against any amounts due Broker by UW M. Broker shall upon request from UW M, exercise its best efforts to
         take all actions necessary, in a timely and accurate manner, to obtain corrections to any and all loan
         documents deemed appropriate or desirable in UW M’s sole and absolute discretion and to otherwise assist
         UW M in remedying any matter not in compliance with applicable law, regulations, or the requirements of
         UW M, including assisting UW M in obtaining recorded documentation related to a Mortgage Loan and title
         policies from closing agents, or to enable UW M to sell, convey, obtain guaranty for, or market loans. The
         failure, refusal and/or neglect of Broker to secure post-closing documentation in a timely manner shall entitle
         UW M to exercise a right of set off with respect to any amounts due Broker, and/or the right to require the
         repurchase of the Mortgage Loan in question by the Broker, in the sole and absolute discretion of UWM.


                                                ARTICLE V
                                INDEMNIFICATION & REPURCHASE BY BROKER

 5.01.   Indemnification by Broker. Broker agrees to indemnify, defend (by counsel acceptable to UW M), and hold
         UW M harmless from and against any and all liabilities, claims, losses, damages and out of pocket costs
         (“individually a “Claim” and collectively the “Claims”): (a) resulting from any breach of this Agreement; (b)
         resulting from any act or omission by Broker in connection with any Mortgage Loan subject to this Agreement;
         (c) arising from or in connection with Broker’s use of any non-industry standard form not provided or
         approved by UW M in connection with any Mortgage Loan; (d) concerning miscalculations and other errors
         which result from Broker’s independent application and processing procedures as well as for its misuse of
         forms required by UW M; (e) asserted against UW M under provisions of RESPA, including without limitation,
         claims based upon, or arising as a result of, any payments received by Broker in the nature of rate spread
         premium, service release premium, back points, discount points, broker rebates, and the like; (f) incurred or
         paid by UW M as a result of the exercise of a right of cancellation or right of recession by any Borrower in
         connection with a Mortgage Loan; and (g) extraordinary servicing costs or carrying costs related to any Mortgage
         Loan as a result of any of the following circumstances: (i) any breach of any representation, warranty or
         covenant contained herein, or any material breach of this Agreement; or (ii) if UW M is required to repurchase
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         any Mortgage Loan which it has sold to an investor, or which it has placed or pledged to a mortgage pool,
         which repurchase requirement is a result of the Mortgage Loan being classified as a Defective Loan as the
         result of any act or omission of Broker; (each a “Repurchase Event”), the Broker shall be obligated to promptly
         repurchase such Mortgage Loan. If any Claim shall be asserted or brought against UW M by reason of any
         such act or omission of Broker, Broker shall upon demand, obtain representation by legal counsel acceptable
         to UW M to defend UW M against any such Claim and Broker shall pay all costs and attorney’s fees incurred
         in such defense. All of the provisions of this Article V shall survive the closing of each Mortgage Loan
         transaction and shall inure to the benefit of UWM and future assignees of UWM.

 5.02.   Terms of Indemnification.

           (a)   Broker may be required (at UW M’s option) to remit to UW M immediately upon demand a good faith
                 advance to be applied by UWM to cover any such Claim arising from such Repurchase Event, and

           (b)   Broker may be required (at UW M’s option) to remit to UW M immediately upon demand a
                 non-refundable loan administration fee, and

           (c)   Broker shall immediately upon receipt of notice from UW M confirming the occurrence of a
                 Repurchase Event, fully reimburse UW M for the rate premium and/or service release premium
                 originally paid to Broker at the time the Mortgage Loan was purchased by UWM, whether such
                 premium was included in the gross price paid or referenced separately, and

           (d)   Broker may additionally be required to remit to UWM immediately upon demand following a
                 Repurchase Event, any additional amount to cover actual loss to UW M not otherwise reimbursed
                 by the good faith advance or loan administration fee, as outlined above. Any good faith advance
                 and additional amounts required under Section 5.02(a) and/or 5.02(b) herein in excess of actual
                 losses will be returned to the Broker upon final loss reconciliation by UW M. Broker agrees that its
                 failure to comply with the terms of the indemnification sections within this Agreement shall give UW M
                 the right to demand full repurchase of said Mortgage Loan, and upon any such demand, Broker
                 shall promptly repurchase such Mortgage Loan and reimburse UW M for all costs and expenses
                 associated therewith.

 5.03.   Right of Set-off. Broker grants UW M the right of set-off and UW M may deduct any fees, penalties, damages,
         or other sums owed by Broker to UW M hereunder from the purchase price or loan funding of any Mortgage
         Loans purchased from Broker and/or funded by UW M. Broker shall be responsible for compensating UWM
         for any tolerance cure(s) that UWM is required to make to the Borrower because of Broker’s acts or
         omissions in connection with the Mortgage Loan as determined by UWM in its sole and absolute discretion.
         UWM may also withhold, set-off and apply any fees, expenses, tolerance cures or other matters otherwise
         due and payable to Broker to any obligations of the Broker to UWM. UWM shall have the right to withhold
         any fees or payments until the Loan file is complete and the Broker has performed all of its obligations under
         this agreement.


                                                  ARTICLE VI
                                             BROKER USE OF DESKTOP
                                                 UNDERWRITER

6.01.    ARTICLE VI Definitions. Any capitalized terms used in ARTICLE VI and not otherwise defined in ARTICLE
         VI or this Agreement have the meanings given to them in the License Agreement (as hereinafter defined).
         UWM has entered into the Fannie Mae Licensed Application Master Terms and Conditions (“Master Terms”)
         and its Desktop Underwriter® Schedule and associated Redistribution Addendum thereto (“DU Schedule”
         and “Addendum”, respectively, and together with the Master Terms, the “License Agreement”) with Fannie
         Mae governing the rights and obligations of UWM and Fannie Mae with respect to UWM's use of Desktop
         Underwriter (the “Licensed Application”). Broker is an Affiliate or Subsidiary of UWM and desires to use
         the Licensed Application in connection with Prequalification Analysis, mortgage loan origination and/or
         underwriting activities.
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         All words and phrases defined in this ARTICLE VI shall, for the purposes of this ARTICLE VI only, have the
         following respective meanings:
           (a)   “Affiliate” shall mean a mortgage lending entity or Third Party Originator that performs
                 Prequalification Analyses, origination or underwriting in relation to mortgage loans intended to be
                 closed by UWM or assigned or sold to UWM.
           (b)   “Consumer Credit Data” shall mean any information obtained by Broker, either directly or indirectly,
                 which bears on a consumer’s creditworthiness, credit standing, credit capacity, character, general
                 reputation, personal characteristics, or mode of living (the “Seven Factors”) and which is used or
                 expected to be used or collected in whole or in part for the purpose of serving as a factor in
                 underwriting a Mortgage Loan Application or performing a Prequalification Analysis. Such data may
                 include, but are not limited to, data contained in: (i) residential mortgage credit reports, “in-file” credit
                 reports, or “consumer reports,” as defined in the FCRA; (ii) the Uniform Residential Loan Application,
                 including any attachments and/or supplements thereto; and (iii) any correspondence or
                 communication from the consumer or any third party which includes information relating to one of
                 the Seven Factors.
           (c)   “Mortgage Loan Application” shall mean the submission by a mortgage loan applicant of financial
                 information and identification of the specific property to secure the mortgage loan for the purpose of
                 obtaining an underwriting decision.
           (d)   “Prequalification Analysis” shall mean the evaluation of Consumer Credit Data with respect to a
                 prospective mortgage loan applicant for the purpose of evaluating such prospective applicant’s
                 qualification for mortgage financing, other than in connection with a Mortgage Loan Application.
           (e)   “Subsidiary” shall mean a mortgage lending entity more than fifty percent (50%) of whose controlling
                 interest or outstanding voting shares or securities are owned or controlled, directly or indirectly, by
                 UWM.


 6.02. License Agreement. Broker represents that it is an Affiliate or Subsidiary of UWM and that it has received
       and read the License Agreement and understands and agrees that it shall be fully obligated to comply with
       each and every provision of such License Agreement in connection with its use of the Licensed Application.

 6.03. Licensing Rights. UWM agrees that, as and to the extent set forth in this ARTICLE VI, its license rights under
       the License Agreement shall extend to Broker in connection with the Licensed Application. Broker agrees that
       the rights granted to it shall not extend to any third party, including, but not limited to, Broker's customers,
       subsidiaries and/or affiliates.

 6.04. UWM Agent. Broker expressly appoints UWM as its agent, as that term is defined in the FCRA, in connection
       with any use of the Licensed Application by Broker with respect to Mortgage Loan Applications or
       Prequalification Analyses. Broker also expressly acknowledges, understands and agrees that UWM's role as
       Broker's agent shall not extend beyond the limited purposes set forth in this Section 6.04, and for all other
       purposes, there shall be no such principal and agent relationship. Moreover, Broker shall in no way
       misrepresent to third parties the limited extent of this principal/agent relationship. Broker further
       acknowledges, understands and agrees that any recommendation rendered by the Licensed Application in
       the evaluation of Consumer Credit Data will not constitute an approval or denial of the Mortgage Loan
       Application by UWM or a commitment to lend by UWM.

 6.05. Fannie Mae Agent. In connection with the processing and evaluation of Consumer Credit Data by the
       Licensed Application for purposes of making an underwriting recommendation or performing a Prequalification

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        Analysis (if applicable), Broker expressly appoints Fannie Mae, as owner of the Licensed Application, as its
        agent, as that term is defined in the FCRA. As Broker's agent, Fannie Mae shall, and is hereby expressly
        authorized by Broker to, obtain Consumer Credit Data for the sole purpose of performing a Prequalification
        Analysis and/or making an underwriting recommendation. Broker also expressly acknowledges, understands
        and agrees that Fannie Mae's role as Broker's agent shall not extend beyond the limited purposes set forth in
        this Section 6.05, and for all other purposes, there shall be no such principal and agent relationship. Moreover,
        Broker shall in no way misrepresent to third parties the limited extent of this principal/agent relationship. Broker
        further acknowledges, understands and agrees that any recommendation rendered by the Licensed
        Application in the evaluation of Consumer Credit Data will not constitute an approval or denial of the Mortgage
        Loan Application by Fannie Mae or a commitment to purchase the loan by Fannie Mae. Broker shall disclose
        any secondary use of Consumer Credit Data that is facilitated by use of the Licensed Application to the issuing
        consumer reporting agency.

 6.06. Affiliate Relationship. If Broker is an Affiliate, Broker shall use the Licensed Application for the primary
       purpose of (i) originating or underwriting mortgage loans intended to be closed by UWM, or assigned or sold
       to UWM, and/or (ii) performing Prequalification Analyses for UWM (to the extent that the performance of
       Prequalification Analyses utilizing the Licensed Application is permitted under the License Agreement). If
       Broker is an Affiliate, Broker shall not be permitted to use the Licensed Application’s wholesale lending (“DU®
       wholesale”) functionality pursuant to this ARTICLE VI. If Broker is a Subsidiary, Broker shall use the Licensed
       Application only in connection with its own Mortgage Loan Applications and/or Prequalification Analyses
       and/or those of UWM (to the extent that the performance of Prequalification Analyses utilizing the Licensed
       Application is permitted under the License Agreement).

6.07.   Requesting Additional Consumer Reports. Notwithstanding anything to the contrary in that Section of the
        DU Schedule captioned “Use of Licensed Application,” Broker must first obtain written permission from the
        mortgage loan applicant to request additional consumer reports before using the Licensed Application as
        described below:

           (a)    With respect to Mortgage Loan Applications previously approved but not yet closed:

                         (i)     to request and receive additional Consumer Reports through the Credit
                                 Retrieval Module, when Broker is requesting such reports in connection with its
                                 own Mortgage Loan Applications and/or Prequalification Analyses, or because
                                 other circumstances exist which Broker believes justify the request for such
                                 additional consumer reports under the FCRA;

                         (ii)    to analyze or evaluate Consumer Credit Data, including Consumer Reports,
                                 when Broker determines that data obtained subsequent to its initial approval
                                 may affect its prior underwriting approval decision;

                         (iii)   to request and receive Consumer Reports and/or analyze or evaluate
                                 Consumer Credit Data when the loan applicant(s) request different loan terms
                                 or a different loan product than that originally requested by the loan applicant(s);
                                 and

            (b)   With respect to Mortgage Loan Applications previously denied by Broker, which denial decision has
                  been communicated to the applicant(s):

                         (i)     to request and receive Consumer Reports through the Credit Retrieval Module,
                                 when Broker is requesting such reports in connection with its own Mortgage
                                 Loan Applications and/or Prequalification Analyses;
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                         (ii)   to analyze or evaluate Consumer Credit Data, including Consumer Reports,
                                when (A) Broker determines that data obtained subsequent to its initial denial
                                decision may affect its prior underwriting decision, and (B) Broker intends to
                                make and communicate an offer of credit to the applicant(s) if an approval
                                recommendation decision is rendered by the Licensed Application as a result
                                of consideration of the additional data obtained.

6.08.   Intended Beneficiary. Broker and UWM acknowledge and agree that Fannie Mae is an intended beneficiary
        of ARTICLE VI.

6.09.   Termination of ARTICLE VI. ARTICLE VI shall remain in full force and effect unless terminated pursuant to
        the provisions of this Section or terminated pursuant to Section 7.06 of this Agreement. The parties
        acknowledge and agree that ARTICLE VI is subject to the License Agreement and that ARTICLE VI shall
        automatically terminate upon termination of the Desktop Underwriter Schedule and/or the Redistribution
        Addendum by Fannie Mae and/or UWM. The parties acknowledge that, pursuant to the terms of that Section
        of the Redistribution Addendum captioned “Termination of Affiliates and Subsidiaries“, Fannie Mae may, in
        its absolute discretion, immediately terminate access by Broker to the Licensed Application for any breach of
        (a) the License Agreement, (b) ARTICLE VI of the Agreement, or (c) any other agreement between Broker
        and any lender (including UWM) that has access to the Licensed Application. Upon termination of ARTICLE
        VI, the other terms and conditions of this Agreement shall continue in full force and effect unless otherwise
        terminated or amended pursuant to the terms hereof.

6.10.   Licensed Materials. Immediately upon termination of either ARTICLE VI or this Agreement, Broker shall
        cease using the Licensed Materials, and destroy or return all copies of the Licensed Materials in its possession
        to UWM. Promptly upon request from UWM or Fannie Mae, Broker shall provide UWM or Fannie Mae with
        written certification of its compliance with the foregoing, executed by a duly authorized officer of Broker.

6.11.   DU Support. UWM, and not Fannie Mae, shall be responsible for providing Broker with (i) first line support
        with respect to Broker questions and comments concerning Fannie Mae's automated underwriting guidelines
        and policies, including, but not limited to, questions concerning the interpretation and applicability of the
        Licensed Application's findings reports and questions relating to Fannie Mae's Selling Guide and (ii)
        appropriate training relating to the use of the Licensed Application and such guidelines and policies.

6.12.   ARTICLE VI Conflict with License Agreement. In the event of a conflict between the terms of ARTICLE VI
        and the terms of the License Agreement, the terms of the License Agreement shall govern.

6.13.   Assignment of ARTICLE VI Rights. Rights under ARTICLE VI may not be assigned by Broker to any other
        person(s), firm(s), corporation(s) or other entities without the prior express written consent of Fannie Mae and
        UWM.

6.14.   Notification. This Section 6.14 applies only to notices required by ARTICLE VI. All other notices required
        pursuant to this Agreement shall be provided according to Section 7.21 of this Agreement. All notices,
        requests, demands, and other communications with required pursuant to ARTICLE VI (other than routine
        operational communications) shall be in writing and shall be deemed to have been received by a party (i)
        when actually received in the case of hand delivery, (ii) one (1) business day after being given to a reputable
        overnight courier with a reliable system for tracking delivery, (iii) when sent by confirmed facsimile with a copy
        sent by another means specified in this paragraph, or (iv) seven (7) days after the date of mailing, when
        mailed by United States mail, registered or certified mail, return receipt requested, postage prepaid, and
        addressed to the recipient's contact person/address set forth below:

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         UWM:             United Wholesale Mortgage, LLC
                          585 South Blvd E.
                          Pontiac, MI 48341
                          Attention: CLIENT APPROVAL & SUPPORT


         Broker:          _____________________________
                          _____________________________
                          _____________________________
                          Attention:_____________________

         In the event that the recipient does not so specify a contact person/address, notices shall be addressed to
         the general counsel at the recipient’s corporate headquarters. A party may from time to time change its
         address or designee for notification purposes by giving the other party prior written notice of the new address
         or contact person.

6.15.    Conflict. In the event that any provision of ARTICLE VI conflicts with the law under which ARTICLE VI is to
         be construed, or if any such provision is held invalid, void or unenforceable by a court with jurisdiction over
         the parties to ARTICLE VI, such provision shall be deemed to be restated to reflect as nearly as possible the
         original intention of the parties in accordance with applicable law, and the remainder of ARTICLE VI and the
         Agreement shall remain in full force and effect.


                                                    ARTICLE VII
                                             MISCELLANEOUS PROVISIONS

 7.01.    Amendment of Agreement. Except as set forth on Section 7.08, this Agreement may not be amended
          except in writing executed by authorized representatives of both Broker and UWM.

 7.02.    Waiver Nonbinding. The failure of UW M to insist in any one or more instances upon strict performance
          of any of the covenants, agreements, or conditions of this Agreement, or to the exercise of any rights hereunder,
          shall not be construed as a waiver or a relinquishment for the future of such covenants, agreements, conditions
          or rights, and any and all waivers must be in writing and be signed by the party waiving its rights.

 7.03.    No Obligations To Make Loans. Nothing contained in this Agreement shall be construed to require UW M to
          approve, purchase and/or fund any Mortgage Loan or Mortgage Loans submitted by Broker pursuant to the
          terms hereof. Approval and funding of any such Mortgage Loan or Mortgage Loans shall be in the sole and
          absolute discretion of UWM, and said decision will be made on a loan by loan basis. Broker shall not be
          obligated to submit any particular mortgage loan applications or any minimum number of loan applications
          to UW M.

 7.04.    No Agency or Employment Relationship. With the limited exception in Section 6.04 of this Agreement, both
          parties understand and agree that it is not intended that this Agreement create or establish a relationship of
          employer and employee between UW M and Broker, nor is it intended that Broker will be UW M’s partner,
          joint venturer or agent. Broker is an independent contractor, and is hereby expressly prohibited from
          holding itself out as an agent, representative or employee of UW M or of having any endorsement from or
          affiliation with UW M.

 7.05.    Term. This Agreement is for an initial term of one (1) year and shall automatically renew for successive
          terms of one (1) year each, unless terminated pursuant to Section 7.06 below.

 7.06.    Termination. This Agreement may be terminated by either party for any reason, with or without cause,
          breach or other justification, upon seven (7) days prior written notice, and may be terminated immediately: (a)
          for breach of any covenant, obligation, or duty herein contained; or (b) for violation of any law, ordinance, statute

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          rule or regulation governing the conduct of either party hereto; or (c) upon the suspension, cancellation, or
          termination of any license or permit required by a party to conduct business and/or perform its obligations
          hereunder; or (d) if any warranty, representation or statement made by a party to this Agreement was false in
          any material respect when made or furnished; or (e) in the event a party becomes a debtor in any voluntary or
          involuntary bankruptcy proceeding; or (f) in the event that a party shall become insolvent, fails to pay its debts
          as they become due, or makes an assignment for the benefit of its creditors; or (g) in the event of a seizure,
          execution or levy upon material assets of a party; or (h) in the event of a dissolution of a party; or (i) upon
          the sale or disposition of a significant portion of the assets or equity interests of a party; or (j) in the event that
          a trustee, custodian or receiver shall be appointed in connection with material assets of a party. Termination
          shall not affect the obligations with respect to any Mortgage Loans submitted prior to such termination,
          except that UW M shall not be obligated to purchase and/or fund any such Mortgage Loans approved prior to
          termination if UW M terminates this Agreement for breach by Broker on the basis of fraud, dishonesty,
          misrepresentation, negligence or other breach of this Agreement. In addition, termination shall not affect
          either party’s obligations with respect to amounts previously owed to the other party pursuant to this
          Agreement, or Broker’s indemnification and confidentiality obligations to UWM.

 7.07.    Current Financials & Document Retention. At UWM’s request, Broker shall provide to UW M its year-end
          financial statements, including a balance sheet and income statement. If UW M acts as FHA or VA sponsor
          for Broker, copies of all closing documents for Mortgage Loans funded by UW M shall be retained by Broker
          for the time period required by FHA or VA. Broker is responsible for maintaining a complete origination file
          containing all documents that were used in processing and underwriting a Mortgage Loan.

 7.08.    UWM Amendments & Website. This Agreement, and UW M’s policies, procedures, requirements and
          instructions concerning Mortgage Loan Applications and Mortgage Loans, including but not limited to those
          contained in the UWM Guide, may be amended by UWM from time to time, and UWM will endeavor to provide
          broker with prompt notice thereof, which may occur by posting any such amendments on UW M’s website,
          which Broker is required to regularly check and monitor as a condition of this Agreement. Broker agrees that
          the submission of any Mortgage Loan Applications or Mortgage Loans to UW M after such amendment shall
          be Broker’s agreement to the amendment without further signature or consent of any kind. Any such
          amendment shall apply to pending, and/or future Mortgage Loan Applications submitted by Broker.

 7.09.    Quality Control. Broker agrees to provide UWM upon its request copies of Broker’s policies and procedures,
          training materials and other applicable documentation related to Broker’s business practices for review by
          UWM. Broker shall also permit any officer, employee or designated representative of UW M, at any reasonable
          time during regular business hours, to examine, reproduce and make audits of any of the processes
          implemented and documents in the possession or control of Broker regarding any Mortgage Loan or
          Mortgage Loan Application submitted to UWM pursuant to this Agreement. If upon the request of UW M, Broker
          fails to timely deliver all documents and records associated with or related to any Mortgage Loan or Mortgage
          Loan Application submitted to UW M pursuant to this Agreement, Broker shall give UW M and its officers,
          employees, or designated representatives reasonable access to Broker’s premises in order to allow UW M
          to retrieve, prepare, reproduce and otherwise obtain all such documents and records. Broker shall also
          make its officers, employees, and/or designated representatives available to UW M and shall cooperate with
          UW M in connection with all such examinations, audits and document and record collection activities. Further,
          Broker hereby consents and gives UWM permission to record telephone calls between employees and
          independent contractors of UWM and Broker for quality control purposes and further, Broker represents and
          warrants that it has obtained or will obtain all required consents and approvals of Broker’s current and future
          employees and independent contractors authorizing UWM to record such phone calls.

 7.10.    Unacceptable Applications & Submissions. Under no circumstances shall Broker submit any Mortgage
          Loan Applications for Mortgage Loans that could be considered to constitute a “high cost loan” or “predatory
          loan” as defined in: (a) the Home Ownership and Equity Protection Act, as amended; or (b) any other federal,
          state or local law or regulations.

7.11.    Broker Advertising & Customer Privacy. Broker may advertise to the public the availability of various loan
         programs and Broker’s services, but Broker may not, in any way, directly or indirectly identify UW M or related
         parties in any such advertising unless: (i) required by applicable laws or regulations; or (ii) UW M has, in
         advance, approved use of UW M’s name by the Broker in writing. Broker agrees to provide UWM upon its

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         request with model advertising samples in use at the time of application to do business with UWM, as well as
         to notify UWM with questions on any substantive changes to those advertisements, or of any new
         advertisements Broker uses. W ithout the prior consent of UW M, Broker shall not sell or distribute any customer
         or contact list incorporating the names, addresses or any non-public personal information of such Borrower(s) or
         Mortgagors.

 7.12.    Entire Agreement. The arrangements and relationships contemplated in this Agreement and/or any document
          referred to herein constitute the sole understanding and agreement of the parties. This Agreement supersedes
          all other agreements, covenants, representations, warranties, understandings and communications between
          the parties, whether written or oral, with respect to the transactions contemplated by this Agreement.

7.13.     Invalidity & Severability. The invalidity or unenforceability of any particular provision of this Agreement
          shall not affect the other provisions of this Agreement, and any provision determined to be invalid and/or
          unenforceable by a court or tribunal of competent jurisdiction shall be revised and reformed to make such
          provision valid and/or enforceable, if possible, to the fullest extent permitted by law, otherwise this Agreement
          shall be construed as if such invalid or unenforceable provision was omitted.

 7.14.    Benefit & Assignment. Broker may not assign its rights and/or delegate its duties and obligations under
          this Agreement without the written consent of UWM. UWM may assign its rights and/or delegate its
          duties and obligations under this Agreement to any subsidiary, affiliate or successor in interest
          without the consent of Broker. Subject to the foregoing, this Agreement shall be binding upon and inure
          to the benefit of the parties and their respective heirs, legal representatives, successors and assigns.

 7.15.    Governing Law. This Agreement shall be governed by, and construed and enforced in accordance with,
          applicable federal laws and the laws of the State of Michigan, without reference to conflict of laws principles.
          The parties to this Agreement hereby unconditionally and irrevocably: (a) submit to the exclusive jurisdiction of
          the Oakland County (Michigan) Circuit Court, or in the event that original jurisdiction may be established, the
          United States District Court for the Eastern District of Michigan, Southern Division, sitting in Detroit, Michigan
          (hereinafter the "Courts"), in any action arising out of this Agreement; (b) agree that all Claims in any action
          must be decided in one of said Courts; and (c) waive, to the fullest extent that they may effectively do so, the
          defenses of: (i) lack of subject matter jurisdiction of such Courts; (ii) the absence of personal jurisdiction by
          such Courts over the parties to this Agreement; and (iii) forum non-conveniens.

 7.16.    Attorney’s Fees. In the event a dispute arises under this Agreement between Broker and UW M, which
          dispute results in legal action being taken by one or both of the parties, the prevailing party shall be entitled to
          recover its reasonable attorney fees, costs and other expenses associated with the enforcement of its rights
          under this Agreement, and the non-prevailing party hereby agrees to promptly pay same.

7.17.     Early Payoffs. U W M i s c o m m i t t e d t o t h e l o n g t e r m p e r f o r m a n c e o f i t s l o a n s . A s s u c h ,
          s hould any Mortgage Loan delivered hereunder be paid off within one hundred eighty (180) days of the funding
          of such Mortgage Loan for any reason, Broker shall promptly deliver to UW M the greater of: (a) any credit
          for the rate paid by UW M to the borrower or Broker, in the aggregate; or (b) one (1%) percent of the amount
          of the Mortgage Loan.

 7.18.    Enforceability & Construction. Any provision of this Agreement that is prohibited or unenforceable in any
          jurisdiction shall, as to such jurisdiction, be ineffective to the extent of such prohibition or unenforceability
          without invalidating the remaining portions hereof or affecting the validity or enforceability of such
          provision in any other jurisdiction, and to this end, the provisions hereof are severable. In the event any of
          the terms or provisions contained in this Agreement conflict with those contained in other documents executed
          in connection with this Agreement, the terms and provisions of this Agreement shall govern and control. In
          the event of any conflict, inconsistency or ambiguity between the terms of this Agreement and those contained
          in any Addendum hereto or Amendment hereof, the terms and conditions of such Addendum or Amendment
          shall be deemed to govern and control. Notwithstanding the foregoing, in the event of any conflict,
          ambiguity or inconsistency between the terms and conditions contained in this Agreement and those set
          forth in the UWM Guide, the terms and conditions of the UWM Guide shall be deemed to supersede and
          control.


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 7.19.   Counterparts & Electronic Signatures. This Agreement may be executed in one or more counterparts, each
         of which shall constitute an original and all of which shall constitute the same Agreement. The parties to this
         Agreement hereby further agree that due to their distant locations and/or differing schedules, this Agreement
         may be executed via facsimile, electronic mail or electronic signature and that a facsimile or electronic
         signature of this Agreement containing counterpart facsimile or electronic or other signature shall be valid
         and binding for all purposes.

 7.20.   Notices. Any notices necessary to be given under the provisions of the Agreement will be sufficient if in writing
         and delivered personally, by U.S. certified mail, return receipt requested or by any nationally recognized
         express courier service to the addresses set forth below, or to such other address as may hereafter be
         furnished by either party to the other party by like notice, or via electronic mail if consented to by the parties;

         UWM:             United Wholesale Mortgage, LLC
                          585 South Blvd E.
                          Pontiac, MI 48341
                          Attention: CLIENT APPROVAL AND SUPPORT

         Broker:                                               ___



                              Attention:                     _____


 7.21.   No Third Party Beneficiaries. Except for Section 6.08 and Section 7.27 of this Agreement the parties to
         the Agreement do not intend to confer benefits upon any person or entity who or which is not a signatory to
         this Agreement.

 7.22.   Time Is Of The Essence. Time shall be of the essence for purposes of this Agreement as well as with
         respect to all of the documents and instruments executed in connection herewith.

 7.23.   Interpretation. This Agreement (and all agreements, documents, instruments and/or exhibits referred
         to or incorporated into this Agreement) is being entered into among competent persons, who are experienced
         in business and represented by counsel, and has been reviewed by the parties and their counsel. Therefore,
         any conflicting or ambiguous language contained in this Agreement (and all agreements, documents,
         instruments and/or exhibits referred to or incorporated herein) shall not necessarily be construed against any
         particular party as the drafter of such language.

 7.24.   JURY TRIAL AND CLASS ACTION WAIVER. BROKER AND UWM ACKNOWLEDGE THAT THE RIGHT
         TO TRIAL BY JURY IS A CONSTITUTIONAL ONE, BUT THAT IT MAY BE WAIVED. UWM AND BROKER,
         AFTER CONSULTING WITH, OR HAVING THE OPPORTUNITY TO CONSULT WITH, COUNSEL OF
         THEIR CHOICE, EACH HEREBY KNOWINGLY, VOLUNTARILY AND INTENTIONALLY, WITHOUT
         COERCION, WAIVE ALL RIGHTS TO A TRIAL BY JURY OF ALL DISPUTES BETWEEN THEM. BROKER
         AND UWM FURTHER AGREE THAT ANY PROCEEDINGS WILL BE CONDUCTED ON AN INDIVIDUAL,
         NOT A CLASS-WIDE BASIS, AND THAT ANY PROCEEDING MAY NOT BE CONSOLIDATED WITH
         ANOTHER PROCEEDING. BROKER AGREES NOT TO SUE UWM AS A CLASS PLAINTIFF OR CLASS
         REPRESENTATIVE, JOIN AS A CLASS MEMBER, OR PARTICIPATE AS AN ADVERSE PARTY IN A
         CLASS ACTION LAWSUIT AGAINST UWM. NOTHING IN THIS SECTION LIMITS BROKER’S RIGHT TO
         BRING A LAWSUIT AS AN INDIVIDUAL PLAINTIFF.

 7.25.   Authorization. Broker hereby consents and gives UWM permission to obtain information about the Broker.
         Broker agrees to provide written confirmation to UWM that is has conducted background checks on any and
         all employees and independent contractors of the Broker that include, without limitation, professional history
         information, criminal record information, credit information and other public information. Further, at UWM’s
         request, Broker agrees to provide UWM with the adjudication criteria associated with such background
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        checks as well as the results indicating conformance to such criteria. At UWM’s request, Broker also agrees
        to confirm in writing that the background checks of its employees and independent contractors produced no
        violation(s) of applicable agency guidelines as well as all federal, state and/or local laws by said employees
        and independent contractors. Broker consents to the release of information to regulators and law
        enforcement agencies about any Mortgage Loan or loan application that may be suspected to contain
        misrepresentations and/or irregularities. It is understood and agreed that Broker and its employees may be
        named as the originator or loan officers on such Mortgage Loans, whether or not Broker or its employees
        are implicated in any allegations of wrongdoing. Broker hereby releases and agrees to indemnify, defend
        and hold harmless UWM from and against any and all liability for damages, losses, costs and expenses that
        may arise from the reporting or use of any information submitted by UWM or used in any way by UWM.

7.26.   Authorization Release. Broker hereby consents to a review and confirmation of any and all documents,
        records and other information related to its officers, directors, principals, and similarly situated persons
        with strategic decision making authority in Broker and Broker as to their and its business professional
        and financial reputation and standing, personal financial standing, fitness as a mortgage broker, a
        concurrent funding broker and/or wholesale correspondent, and such other information as may be
        received during the review and confirmation to be provided to UWM. Every firm, company, governmental
        agency, court, association or institution having control of any documents, records and other information
        pertaining to Broker or any of its officers, directors, principals, and similarly situated persons with
        strategic decision making authority in Broker is hereby authorized and requested to furnish, allow to be
        copied or otherwise provide, information of the kind described above to UWM or its representatives,
        conducting the review and confirmation. This authorization and request includes, but is not limited to,
        documents, records or files regarding any charges or complaints filed against any of the aforementioned
        individuals, including any complaints erased by law, whether formal or informal, pending or closed, and
        information from Interthinx, Inc. database. Broker specifically authorizes and requests consumer credit
        reporting agencies to provide personal credit history on any owner of Broker, executive officer of Broker,
        or similarly situated person with strategic decision making authority in Broker to UWM. In consideration
        of the time and expense incurred in reviewing and evaluating the application and qualifications of Broker
        and its officers, directors, principals and similarly situated persons with strategic decision making
        authority in Broker as to its and their fitness as a broker for UWM, and to facilitate the providing of
        information for the review and confirmation by UWM, on behalf of the aforementioned persons and Broker,
        on behalf of itself and its officers, directors, principals, and similarly situated persons with strategic
        decision making authority in Broker, hereby releases, discharges, exonerates and covenants not to sue
        any person, company or governmental organization providing information in the review and confirmation,
        any recipient of information, including UWM, its representative, its parent, sister and affiliate companies
        and its and their officers, agents, employees and independent contractors, from any and all liability of
        every nature and kind arising from or in connection with the furnishing of information, the inspection of
        documents, records and other information, and the preparation of the review and confirmation of the
        information provided to UWM.

7.27.   Loan Prospector/Intended Beneficiary. Freddie Mac offers its automated underwriting service, Loan
        Prospector, to organizations which are licensed originators of mortgage loans but do not have a seller
        agreement or seller number with Freddie Mac (“Third Party Originators”). For Third-Party Originators
        to access Loan Prospector, the Third-Party Originators must obtain a Third-Party Originator Number from
        Freddie Mac. Broker represents and warrants to UWM that it shall comply with any rules, guidelines or
        other requirements established by Freddie Mac in connection with Broker’s use of Loan Prospector.
        Broker and UWM acknowledge and agree that Freddie Mac is an express, intended third-party
        beneficiary of this Agreement solely for the purpose of enforcing Freddie Mac’s rights under this
        Agreement, including but not limited to under this Section 7.27.

7.28    Blink Application System. While Broker is registered to do business with UWM, UWM grants to Broker
        a non-exclusive, revocable, non-sublicensable, non-transferable license to use the mark, name or logo
        of its Blink application system (“Blink Mark”) in association or in connection with the operation of
        Broker’s services or business within the United States. It is understood and agreed that this license shall
        pertain only to the Blink Mark. Broker acknowledges that Broker shall not acquire any right, title or
        interest in the Blink Mark by virtue of this license. Broker shall not by any act or omission use the Blink
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        Mark in any manner that disparages or reflects adversely on UWM or its business reputation and shall
        indemnify, defend and hold harmless UWM in connection with any act or omission of Broker, its
        employees or agents associated with the license granted hereunder. UWM may terminate this license
        at any time and for any reason. Upon either the termination of the license or if Broker is no longer
        registered to do business with UWM, the Broker shall immediately discontinue all use of the Blink Mark.
        Further, Broker shall not use any other mark, name or logo of UWM or any related entity of UWM without
        UWM’s prior written approval. Further, in connection with the Blink application system, Broker may be
        provided with certain information, including but not limited to loan documentation and/or disclosures,
        from third party providers or otherwise enter into certain agreements with such third party providers
        (“Blink Relationships”). Broker waives, releases and forever discharges UWM from and against any
        and all responsibility, liability, demands, damages, claims and actions of every name and nature that
        may arise from the Blink Relationships.

7.29    UWM Programs. From time to time, certain programs may be offered by UWM, or on behalf of UWM,
        to Broker, or through Broker to the Borrowers, in connection with the Mortgage Loans or Broker’s
        business relationship with UWM (collectively, the “UWM Programs”). Broker waives, releases and
        forever discharges UWM from and against any and all responsibility, liability, demands, damages, claims
        and actions of every name and nature that may arise from the UWM Programs.

7.30.   Liquidated Damages. Broker and UWM agree that the measure of damages in the event of a breach
        of Broker’s representation and warranty under Section 3.03(x) may be difficult, if not impossible, to
        ascertain. Accordingly, in the event of a violation of Section 3.03(x), Broker shall immediately pay to
        UWM the greater of: (i) Five Thousand Dollars ($5,000.00) per loan closed with UWM, or (ii) Fifty
        Thousand Dollars ($50,000.00), as liquidated damages for such breach without the need for proof of
        damages by UWM. UWM’s right to liquidated damages are in addition to (not in lieu of) any other
        monetary or other remedies UWM may have under this Agreement and/or applicable law.




         WHEREFORE, the parties hereto have executed the above and foregoing Agreement as of the day
         and year first above written.

        UWM                                                                BROKER

        United Wholesale Mortgage, LLC                                     _______________________________



        By: ____________________________                                   By: ____________________________

        Name: _________________________                                    Name: _________________________

        Its: ____________________________                                  Its: ____________________________




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